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CLINTON & CLINTON                                           ATTORNEY FOR PLAINTIFF,
BY: JOHN F. MCDEVITT, JR., ESQ.                             AG-EIP 1 GEOFFREY DRIVE, LLC
Identification No.: 18695
JFM@ClintonLaw.com
CLINTON & CLINTON
1315 WALNUT STREET
SUITE 601
PHILADELPHIA, PA 19107
(267) 800-2097

                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
AG-EIP 1 GEOFFREY DRIVE, LLC,        :
                  Plaintiff          : CASE NO.:
                                     :
v.                                   :
                                     :
ZURICH AMERICAN INSURANCE CO.; :
AMAZON.COM, INC.,                    :
                  Defendants         :
____________________________________:

                                           COMPLAINT

       AG-EIP 1 Geoffrey Drive, LLC, by and through its attorneys, Clinton & Clinton, requests that

the Court grant the following relief in its favor and against Defendants, Zurich American Insurance

Company and Amazon.com, Inc., or either Defendant, based upon the following:

                                          JURISDICTION

       1.      At all times relevant hereto, Plaintiff, AG-EIP 1 Geoffrey Drive, LLC (hereinafter “AG-

EIP”), was and is a corporate entity organized and existing under the laws of the State of Delaware and

maintaining its principal place of business at 245 Park Avenue, 25th Floor, New York, NY 10167.

       2.      At all times material hereto, AG-EIP was the owner of a commercial property situated

at 1 Geoffrey Drive, Falls Township, Bucks County, Pennsylvania.
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       3.      Defendant, Zurich American Insurance Company (hereinafter “Zurich American”), is

an insurance company organized and existing under the laws of the State of New York and at all times

material hereto, maintained business headquarters at 1299 Zurich Way, 5th Floor, Schaumberg, IL

60196-1056.

       4.      At all times material hereto, Defendant, Amazon.com, Inc. (hereinafter “Amazon”), was

and is a corporate entity organized and existing under the laws of the State of Delaware and at all times

material hereto, maintained business headquarters at 410 Terry Avenue, N., Seattle, WA 98109.

       5.      At all times material hereto, Amazon was the lessee of the building and commercial

property situated at 1 Geoffrey Drive, Falls Township, Bucks County, Pennsylvania.

       6.      The present action is within the jurisdiction of this Court pursuant to 28 U.S.C. §1332

and 28 U.S.C. § 2201.

                               ZURICH AMERICAN CGL POLICY

       7.      Defendant, Zurich American, issued a commercial general liability insurance policy to

Amazon (hereinafter “the Zurich American CGL Policy”). The Zurich American CGL Policy is

identified by Policy No. GLO-7367714-01, with effective dates of April 1, 2020 to April 1, 2021. The

said Policy was issued to the named insured, Amazon.com, Inc. at its mailing address at 2121 7th

Avenue, Seattle, WA 98121. A true and correct copy of the Zurich American CGL Policy is appended

as Exhibit “A”.

       8.      The Zurich American CGL Policy affords coverage in SECTION I – COVERAGE A

for bodily injury and property damage liability. Under that Section of the Policy, Zurich is obligated

to pay those sums that the insured becomes legally obligated to pay as damages because of “bodily

injury” or “property damage” to which the insurance applies. Zurich is further obligated under that

coverage section to defend the insured against any “suit” seeking those damages.
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       9.      Under SECTION I – COVERAGE B of the Policy, Zurich American is obligated to

pay those sums that the insured becomes legally obligated to pay as damages because of “personal and

advertising injury” to which the insurance applies (Exh.“A”) Additionally, Zurich American is

obligated under SECTION I – COVERAGE B to defend the insured against any “suit” seeking those

damages. (Exhibit “A”)

       10.     The Zurich American CGL Policy includes an Endorsement titled ADDITIONAL

INSURED – MANAGERS OR LESSORS OF PREMISES that affords coverage to any person or

organization to whom or to which Amazon is required to provide additional insured status in a written

contract or written agreement executed prior to loss, except where such contract or agreement is

prohibited by law. The additional insured Endorsement pertains to “all leased premises”. (Exh. “A”).

                                   UNDERLYING CONTRACTS

       11.     On or about September 24, 2020, AG-EIP and Amazon entered into a Lease Agreement

for Amazon’s occupancy of the commercial building and property situated at 1 Geoffrey Drive, Falls

Township, Bucks County, Pennsylvania. A true and correct copy of the said Lease Agreement is

appended as Exhibit “B”.

       12.      The Lease Agreement between AG-EIP and Amazon for occupancy of the commercial

property and warehouse at 1 Geoffrey Drive, Falls Township, Bucks County, Pennsylvania had a lease

commencement date of October 1, 2020 ( Exh. “A”, Notice of Lease Terms).

       13.     Section 9 of the Lease Agreement (Exh. “B”), titled Insurance, provides in

subparagraph (b) the following:

               (b) Tenant’s insurance. From and after the Commencement date or any other earlier

               date upon which Tenant enters or occupies the Premises or any portion thereof, Tenant

               will maintain, at its expense, all risk (or “special form”) property insurance covering the
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               full replacement of all initial improvements, Tenant-Made Alterations and Tenant’s

               Property installed or placed in the Premises by Tenant at Tenant’s expense; workers

               compensation insurance with no less than the minimum limits required by law;

               employer’s liability insurance with limits of $1,000,000 each accident; and commercial

               general liability insurance covering the Premises and Tenant’s use thereof against

               claims for bodily injury or death and property damage, which commercial general

               liability insurance will include the Landlord and mortgage lienholder as an additional

               insured. Landlord may from time to time require reasonable increases in any such limits

               consistent with the insurance being required by institutional owners of similar projects

               in the area.

       14.     Section 9.(c) of the Lease Agreement (Exh. “B”) provides the following with respect to

the coverage afforded under the commercial general liability policy(ies):

               Tenant may meet all insurance requirements in this Lease through any combination of

               primary, excess or self-insurance coverage (subject to and in accordance with subsection

               (e) below). All insurance policies will be issued by insurers authorized to do business

               in the jurisdiction in which the Premises are located and have a Best’s Rating of not less

               than A-. Each party will endeavor to give the other party thirty (30) days’ prior notice

               before any cancellation or lapse of such coverage. Landlord will deliver a certificate

               evidencing such policies to Tenant upon Tenant’s request, at the commencement of the

               Lease Term or at each renewal of said insurance. For evidence of Tenant’s policies and

               the required inclusions, if applicable, of Landlord and mortgage lienholder as loss payee

               and/or additional insured, Tenant’s memorandum of insurance can be located at

               www.amazon.com/moi.
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       15.     Additionally, on or about August 31, 2020, Amazon and AG-EIP entered into an Early

Access Letter Agreement under which Amazon was granted early access by AG-EIP to the leased

property for the purpose of performing onsite work, surveys, studies and due diligence. A true and

correct copy of the Early Access Lease Agreement between Amazon and AG-EIP is appended hereto

as Exhibit “C”.

       16.     The Early Access Letter Agreement imposes the following obligations upon Amazon

with respect to procurement and maintenance of insurance:

              Amazon will maintain worker’s compensation, employer’s liability and commercial

              general liability insurance coverage with limits not less than the minimum amounts

              required by law. Amazon’s commercial general liability insurance policy will cover

              claims for bodily injury, death and property damage and will include Landlord as an

              additional insured and such policy shall be considered primary and non-contributory to

              insurance     coverage    or     self-insurance   maintained   by    Landlord.     Visit

              www.amazon.com/moi to view a memorandum of insurance as proof of Amazon’s

              insurance coverage and limits.

       17.    The Zurich American CGL policy (Exh. “A”), the Lease Agreement (Exh. “B”) and the

Early Access Letter Agreement (Exh. “C”) are confidential documents in the related Civil Action titled

Greta Roubert v. Amazon, AG-EIP, et al.; U.S.D.C., Eastern District, PA, Case No. 2:21-CV-03091-

CMR ( hereinafter referred to as “the Roubert Lawsuit”). Accordingly, Exhibits “A”, “B”, and “C”

shall be deemed Confidential Documents in this Declaratory Judgment Lawsuit and will receive the

same treatment as documents that are protected under a Confidentiality Agreement and Protective

Order approved by the Court in that Lawsuit.
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                                     THE ROUBERT LAWSUIT

       18.     On June 1, 2021, Plaintiff, Greta Roubert, instituted a civil action against Defendants,

Amazon, Equity Industrial Partners, Gilbane Building Company and Kellermeyers Bergenson

Services, LLC. The Lawsuit filed in the Philadelphia Common Pleas Court was thereafter removed to

the United States District Court for the Eastern District of Pennsylvania and is currently pending in this

Court under Case No. 2:21-CV-03091-CMR.

       19.     Following removal of the Roubert Lawsuit to this Court, Plaintiff, Roubert, filed an

Amended Complaint, a true and correct copy of which is appended hereto as Exhibit “D”.

       20.     The Amended Complaint filed by and on behalf of Plaintiff, Greta Roubert, alleges that

on October 2, 2020, she was an employee of an independent contractor invited upon the premises of

the Defendants when she slipped, tripped, stumbled, and fell as a result of a defective and dangerous

condition on the property in the form of a cut-off lag bolt left haphazardly and inconspicuously on

Defendants’ walking surface which caused Plaintiff to suffer serious and permanent injuries, the extent

of which will be described more fully hereinafter.

       21.The Amended Complaint filed in the Roubert Lawsuit alleges separate claims against each

Defendant based upon the allegation that the particular Defendant owned, maintained, controlled,

leased, operated and/or was contractually obligated to clean, repair and/or make safe the property

located at 1 Geoffrey Drive, Fairless Hills, PA 19030.

       22.     The Amended Complaint filed in the Roubert Lawsuit recites separate Counts of

negligence against each Defendant for failing to maintain the property located at 1 Geoffrey Drive,

Fairless Hills, PA 19030 in a safe condition, failing to properly inspect for unsafe conditions, failing to

erect and maintain barriers or safeguards around the defective condition, failing to properly train

employees to recognize dangerous and defective conditions, negligent selection of employees,
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workmen and/or supervisors, failing to set forth adequate, proper and reasonable safety standards,

failing to properly supervise employees’ actions, conduct and job performance.

        23.     The Amended Complaint alleges that Plaintiff has suffered injuries, loss of wages, and

suffering and future disability as a result of the slip and fall accident.



COUNT I – DECLARATORY JUDGMENT AGAINST ZURICH AMERICAN INSURANCE
                            COMPANY

        24.     Preceding paragraphs 1-23 are incorporated by reference herein and made a part hereof.

        25.     AG-EIP qualifies as an additional insured under the Zurich American CGL Policy by

virtue of the provisions of the additional insured Endorsement titled ADDITIONAL INSURED –

MANAGERS OR LESSORS OF PREMISES.

        26.     As an additional insured under the Zurich American CGL Policy, AG-EIP is entitled to

defense and indemnification from Zurich American for the causes of action asserted against it in the

Amended Complaint filed in the Roubert Lawsuit.

        27.     The Zurich American CGL Policy imposes upon the insurer the obligation to defend

any “suit” against the additional insured and to provide indemnification for any verdict award entered

against AG-EIP or any settlement paid on behalf of AG-EIP up to the Zurich American CGL Policy

limits of the Policy’s per occurrence limit of $8,000,000.

        28.     Additionally, Zurich American is obligated under the terms of the Policy to pay for any

legal expenses, defense costs, expert fees, consulting fees, and legal costs incurred by Plaintiff in

connection with the defense of the Roubert Lawsuit.

        29.     AG-EIP is entitled to an order from the Court declaring that the Zurich American CGL

Policy affords coverage to AG-EIP as an additional insured for the liability claims asserted against AG-
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EIP in the Roubert Lawsuit and that Zurich American is obligated under the terms of its CGL Policy

to immediately assume all obligations for the defense and indemnification of AG-EIP in the Roubert

Lawsuit.

       30.     On October 14, 2022, counsel for AG-EIP in the Roubert Lawsuit issued a letter to

Zurich American tendering all obligations for defense and indemnification of AG-EIP to Zurich

American under the terms of the Zurich American CGL Policy and, in particular, the additional insured

Endorsement included in that Policy. A true and correct copy of the tender letter is appended hereto

as Exhibit “E”.

       31.     Zurich American has not to date issued any response to the October 14, 2022 tender

letter sent by counsel for AG-EIP (Exh. “E”).

               WHEREFORE, Plaintiff, AG-EIP 1 Geoffrey Drive, LLC, requests that this Court

enter a declaratory judgment in its favor and against Defendant, Zurich American Insurance Company,

declaring (1) that the Zurich American CGL Policy affords coverage to AG-EIP as an additional insured

for defense and indemnification of the liability claims brought against AG-EIP in the Roubert Lawsuit;

(2) that Zurich American shall immediately assume all responsibility for defense of AG-EIP in the

Roubert Lawsuit and for indemnification for any verdict, award rendered against AG-EIP or any

settlement entered into by AG-EIP, in the Roubert Lawsuit; (3) that Zurich American Insurance

Company is obligated to reimburse AG-EIP and/or its liability insurer, for all amounts paid by AG-

EIP, or on behalf of AG-EIP, to date for defense of the causes of action asserted against AG-EIP in the

Roubert Lawsuit; and (4) all other relief that this Court deems just and proper.
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              COUNT II – DECLARATORY JUDGMENT AGAINST AMAZON

       32.     Preceding paragraphs 1-23 are incorporated by reference herein and made a part hereof.

       33.     Under the terms of the Lease Agreement (Exh. “B”) and the Early Access Letter

Agreement (Exh. “C”), Amazon was obligated to procure and maintain commercial general liability

insurance covering the premises and Tenant’s use thereof against claims for bodily injury and to include

AG-EIP as an additional insured.

       34.     Amazon attempted to satisfy its obligations under the Lease Agreement (Exh. “B”) and

the Early Access Letter Agreement (Exh. “C”) by procuring the Zurich American CGL Policy which

includes an Endorsement adding Lessors as additional insureds.

       35.     The Zurich American Policy includes an Endorsement that is titled Self Insured

Retention – with Qualifying Deductible Amount which modifies the commercial general liability

coverage part by placing responsibility upon Amazon for payment of a $2,000,000 self-insured

retention and all defense costs incurred both within and excess of the self-insured retention amount.

       36.     The requirements set forth in the self-insured retention Endorsement included in Zurich

American CGL Policy apply to the named insured, Amazon, and not to an additional insured.

       37.     Plaintiff asserts that the obligations contained in the self-insured retention Endorsement

are between the named insured and the insurer and do not impact Zurich American’s obligations to

defend and indemnify AG-EIP as an additional insured.

       38.     However, if this Court determines that the Self-Insured Retention Endorsement

obligates Amazon to defend AG-EIP in the Roubert Lawsuit and to pay for any verdict award or award

of damages entered against AG-EIP in that litigation, or any settlement made by AG-EIP to resolve

that litigation, up to Amazon’s SIR retention limit of $2,000,000, then AG-EIP is entitled to an Order

declaring that Amazon is obligated under the terms of the Lease Agreement, Early Access Agreement
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and the Self-Insured Retention Endorsement in the Zurich American Policy, to defend AG-EIP with

respect to the causes of action asserted in the Amended Complaint filed in the Roubert Lawsuit, and to

indemnify for any judgment or award entered against AG-EIP in the Roubert Lawsuit, or any settlement

paid to resolve the Roubert Lawsuit.

39. AG-EIP sent letters to Amazon’s attorneys under dates of October 4, 2021, November 22, 2021

and October 11, 2022, tendering to Amazon all obligations for defense and indemnity for the causes of

action asserted against AG-EIP in the Roubert Lawsuit. Opies of all three tender letters are appended

hereto as Exhibit “E”.

40. Amazon has to date failed to submit a reply to any of the tender letters sent by AG-EIP ( Exh. “E”)



          WHEREFORE, Plaintiff, AG-EIP 1 Geoffrey Drive, LLC, requests that this Court enter a

declaratory judgment in its favor and against Amazon declaring (1) that Amazon is obligated under

the terms of its contracts with AG-EIP and the Self-Insured Retention Endorsement included in the

Zurich American CGL Policy to indemnify and to afford a defense to AG-EIP with respect to the claims

asserted against AG-EIP in the Amended Complaint filed in the Roubert Lawsuit; (2) that Amazon

shall immediately assume all responsibility for defense of AG-EIP in the Roubert Lawsuit and for

indemnification for any verdict, award rendered against AG-EIP, or any settlement paid out to resolve

the causes of action asserted against AG-EIP up to the Self-Insured limit set forth in the Endorsement;

(3) that Amazon is obligated to reimburse AG-EIP, and its liability insurer, for all past and future

defense fees, legal costs, expert fees, consultant fees, and investigation expenses incurred to date for

the defense of AG-EIP in the Roubert Lawsuit; and (4) all other relief that this Court deems just and

proper.
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                                        Respectfully submitted,

       11/18/22
Date: _______________                   CLINTON & CLINTON

                                  BY:   John F. McDevitt, Jr.
                                        John F. McDevitt, Jr., Esq.
                                        Attorney for Plaintiff,
                                        AG-EIP 1 Geoffrey Drive, LLC
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                                   CERTIFICATE OF SERVICE

       I, John F. McDevitt, Jr., Esq., attorney for Plaintiff, AG-EIP 1 Geoffrey Drive, LLC, hereby

                                                                      11/18/22
certifies that a true and correct copy of the Complaint was sent on ________________ by certified

mail, return receipt requested to the following:


Amazon.com, Inc.
251 Little Falls Drive
Wilmington, DE 19808

Zurich American Insurance Company
4 World Trade Center
150 Greenwich Street
New York, NY 10007

Zurich American Insurance Company
1299 Zurich Way
5th Floor
Schaumberg, IL 60196-1056


                                                   Submitted by: John F. McDevitt, Jr.
                                                   John F. McDevitt, Jr., Esq.
                                                   Attorney for Plaintiff,
                                                   AG-EIP 1 Geoffrey Drive, LLC
                                                   Attorney No. 18695
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                  Exhibit “A”
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    AMAZON_00328




Disclosure Statement

                NOTICE OF DISCLOSURE FOR AGENT & BROKER COMPENSATION


             If you want to learn more about the compensation Zurich pays agents and brokers visit:

                               http: / / www.zurichnaproducercompensation.com

                              or call the following toll-free number: (866) 903-1192.



                   This Notice is provided on behalf of Zurich American Insurance Company

                                        and its underwriting subsidiaries.




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                                                                                        AMAZON_00328
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       AMAZON_00329


COMMERCIAL INSURANCE
                                                                                                  COMMON POLICY DECLARATIONS
Policy Number        GLO 7367714-01                                     Renewal of Number           GLO 7367714-00
Named Insured and Mailing Address                                    Producer and Mailing Address
AMAZON.COM, INC.                                                     MARSH USA INC.
2121 7TH AVE                                                         1301 FIFTH AVE
SEATTLE WA 98121                                                     SUITE 1900
                                                                     SEATTLE WA 98101

                                                Producer Code      73797-000
Policy Period: Coverage begins 04-01-2020 at 12:01 A.M.; Coverage ends 04-01-2021 at 12:01 A.M.
The name insured is      Individual      Partnership         X Corporation
                               Other:

This insurance is provided by one or more of the stock insurance companies which are members of the Zurich-American Insurance Group. The company that
provides coverage is designated on each Coverage Part Common Declarations. The company or companies providing this insurance may be referred to in
this policy as "The Company", we, us, or our. The address of the companies of the Zurich-American Insurance Group are provided on the next page.

  THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE(S):
GENERAL LIABILITY COVERAGE                                                                                 PREMIUM     $
 issued by ZURICH AMERICAN INSURANCE COMPANY

KY SURCHARGE                                                                                                           $
NJ PROP LIAB INS GUAR ASSOC SURCHARGE                                                                                  $
                                                                                                                       $
WV SURCHARGE                                                                                                           $




  THIS PREMIUM MAY BE SUBJECT TO AUDIT.                                             TOTAL              $
  This premium does not include Taxes and Surcharges.
                                                                                               SEE INSTALLMENT SCHEDULE
  Taxes and Surcharges                                                              TOTAL              $
                                                                                               SEE INSTALLMENT SCHEDULE
  The Form(s) and Endorsement(s) made a part of this policy at the time of issue are listed on the SCHEDULE of
  FORMS and ENDORSEMENTS.
  Countersigned this                  day of
                                                                                               Authorized Representative

 THESE DECLARATIONS TOGETHER WITH THE COMMON POLICY CONDITIONS, COVERAGE PART DECLARATIONS, COVERAGE PART FORM(S),
         FORMS AND ENDORSEMENTS, IF ANY, ISSUED TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

                                                                                                                           U-GU-D-310-A (01/ 93)
                                                                                                                AMAZON_00329
                                                                                                                          Page 1 of 1
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        AMAZON_00330




 Important Notice – In Witness Clause

In return for the payment of premium, and subject to the terms of this policy, coverage is provided as stated in this policy.
IN WITNESS WHEREOF, this Company has executed and attested these presents and, where required by law, has
caused this policy to be countersigned by its duly Authorized Representative(s).




                            President                                                Corporate Secretary




QUESTIONS ABOUT YOUR INSURANCE? Your agent or broker is best equipped to provide information about your
insurance. Should you require additional information or assistance in resolving a complaint, call or write to the following
(please have your policy or claim number ready):
                                                 Zurich in North America
                                                Customer Inquiry Center
                                                    1299 Zurich Way
                                           Schaumburg, Illinois 60196-1056
                                   1-800-382-2150 (Business Hours: 8am - 4pm [CT])
                                           Email: info.source@zurichna.com




                                                                                                              U-GU-319-F (01/09)
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                                                                                                      AMAZON_00330
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      AMAZON_00331


                        COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

                                                                   Policy Number:     GLO 7367714-01
                          ZURICH AMERICAN INSURANCE COMPANY

  Named Insured    AMAZON.COM, INC.


  Policy Period: Coverage begins     04-01-2020         at 12:01 A.M.; Coverage ends         04-01-2021                at 12:01 A.M.

  Producer Name:    MARSH USA INC.                                                  Producer No. 73797-000

Item 1. Business Description: ONLINE      RETAIL AND GROCERY STORES
Item 2. Limits of Insurance


GENERAL AGGREGATE LIMIT                                                $ 16,000,000

PRODUCTS-COMPLETED OPERATIONS AGGREGATE LIMIT                          $ 16,000,000

EACH OCCURRENCE LIMIT                                   $    8,000,000
      DAMAGE TO PREMISES
      RENTED TO YOU LIMIT                               $    8,000,000               Any one premises

      MEDICAL EXPENSE LIMIT                             NOT COVERED                  Any one person

PERSONAL AND ADVERTISING INJURY LIMIT                   $    8,000,000               Any one person or
                                                                                     organization




Item 3. Retroactive Date (CG 00 02 ONLY)
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury" offense
which occurs before the Retroactive Date, if any, shown here:      NONE
                                                                    (Enter Date or "None" if no Retroactive Date applies)

Item 4. Form of Business and Location Premises
Form of Business: CORPORATION
Location of All Premises You Own, Rent or Occupy: See Schedule of Locations
Item 5. Schedule of Forms and Endorsements
Form(s) and Endorsement(s) made a part of this Policy at time of issue:
See Schedule of Forms and Endorsements
Item 6. Premiums
Coverage Part Premium:
Other Premium:
Total Premium:




                                                                                                       AMAZON_00331
                                                                                                          U-GL-D-1115-B CW (9/ 04)
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      AMAZON_00332
                                                             Policy Number
                                                             GLO 7367714-01
                                       ENDORSEMENT

               ZURICH AMERICAN INSURANCE COMPANY

 Named Insured     AMAZON.COM, INC.                          Effective Date:     04-01-20
                                                                       12:01 A.M., Standard Time
 Agent Name        MARSH USA INC.                            Agent No.        73797-000
           ENDT A-BROAD FORM NAMED INSURED - MORE THAN 50% OWNERSHIP
 ANY SUBSIDIARY COMPANY AS NOW FORMED OR CONSTITUTED, AND ANY OTHER
 COMPANY OVER WHICH THE NAMED INSURED HAS ACTIVE CONTROL SO LONG AS
 THE NAMED INSURED OR ANY SUBSIDIARY COMPANY HAS MORE THAN 50%
 OWNERSHIP INTEREST.




U-GL-1114-A CW (10/ 02)                                                   AMAZON_00332
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      AMAZON_00333
                                                             Policy Number
                                                             GLO 7367714-01
                                       ENDORSEMENT

                 ZURICH AMERICAN INSURANCE COMPANY

 Named Insured     AMAZON.COM, INC.                          Effective Date:     04-01-20
                                                                       12:01 A.M., Standard Time
 Agent Name        MARSH USA INC.                            Agent No.        73797-000
            ENDT F -ADDL INSD-AUTOMATIC OWNERS, LESSEES, CONTRACTORS
 THIS ENDORSEMENT MODIFIES INSURANCE PROVIDED UNDER THE:
 COMMERCIAL GENERAL LIABILITY COVERAGE PART
 A.    SECTION II - WHO IS AN INSURED IS AMENDED TO INCLUDE AS AN
       ADDITIONAL INSURED ANY PERSON OR ORGANIZATION WHOM YOU ARE
       REQUIRED TO ADD AS AN ADDITIONAL INSURED ON THIS POLICY UNDER A
       WRITTEN CONTRACT OR WRITTEN AGREEMENT. SUCH PERSON OR
       ORGANIZATION IS AN ADDITIONAL INSURED ONLY WITH RESPECT TO
       LIABILITY FOR "BODILY INJURY", "PROPERTY DAMAGE" OR "PERSONAL AND
       ADVERTISING INJURY" CAUSED, IN WHOLE OR IN PART, BY:
       1.     YOUR ACTS OR OMISSIONS; OR
       2. THE ACTS OR OMISSIONS OF THOSE ACTING ON YOUR BEHALF, IN THE
           PERFORMANCE OF YOUR ONGOING OPERATIONS OR "YOUR WORK" AS
           INCLUDED IN THE "PRODUCTS-COMPLETED OPERATIONS HAZARD", WHICH
           IS THE SUBJECT OF THE WRITTEN CONTRACT OR WRITTEN AGREEMENT.
           HOWEVER, THE INSURANCE AFFORDED TO SUCH ADDITIONAL INSURED
           ONLY APPLIES TO THE EXTENT PERMITTED BY LAW.
 B.    WITH RESPECT TO THE INSURANCE AFFORDED TO THESE ADDITIONAL
       INSUREDS, THE FOLLOWING ADDITIONAL EXCLUSION APPLIES:
       THIS INSURANCE DOES NOT APPLY TO:
            "BODILY INJURY", "PROPERTY DAMAGE" OR "PERSONAL AND ADVERTISING
            INJURY" ARISING OUT OF THE RENDERING OF, OR FAILURE TO RENDER,
            ANY PROFESSIONAL ARCHITECTURAL, ENGINEERING OR SURVEYING
            SERVICES INCLUDING:
            A.    THE PREPARING, APPROVING OR FAILING TO PREPARE OR APPROVE
                  MAPS, SHOP DRAWINGS, OPINIONS, REPORTS, SURVEYS, FIELD
                  ORDERS, CHANGE ORDERS OR DRAWINGS AND SPECIFICATIONS; OR
            B.    SUPERVISORY, INSPECTION, ARCHITECTURAL OR ENGINEERING
                  ACTIVITIES.
       THIS EXCLUSION APPLIES EVEN IF THE CLAIMS AGAINST ANY INSURED
       ALLEGE NEGLIGENCE OR OTHER WRONGDOING IN THE SUPERVISION, HIRING,
       EMPLOYMENT, TRAINING OR MONITORING OF OTHERS BY THAT INSURED, IF
       THE "OCCURRENCE" WHICH CAUSED THE "BODILY INJURY" OR "PROPERTY
       DAMAGE", OR THE OFFENSE WHICH CAUSED THE "PERSONAL AND
       ADVERTISING INJURY", INVOLVED THE RENDERING OF OR THE FAILURE TO
       RENDER ANY PROFESSIONAL ARCHITECTURAL, ENGINEERING OR SURVEYING
       SERVICES.
 C.    THE FOLLOWING IS ADDED TO PARAGRAPH 2. DUTIES IN THE EVENT OF
       OCCURRENCE, OFFENSE, CLAIM OR SUIT OF SECTION IV - COMMERCIAL
       GENERAL LIABILITY CONDITIONS:
       THE ADDITIONAL INSURED MUST SEE TO IT THAT:
       1. WE ARE NOTIFIED AS SOON AS PRACTICABLE OF AN "OCCURRENCE" OR
          OFFENSE THAT MAY RESULT IN A CLAIM;

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      AMAZON_00334
                                                             Policy Number
                                                             GLO 7367714-01
                                       ENDORSEMENT

               ZURICH AMERICAN INSURANCE COMPANY

 Named Insured     AMAZON.COM, INC.                          Effective Date:     04-01-20
                                                                       12:01 A.M., Standard Time
 Agent Name        MARSH USA INC.                            Agent No.        73797-000
            ENDT F -ADDL INSD-AUTOMATIC OWNERS, LESSEES, CONTRACTORS
       2.     WE RECEIVE WRITTEN NOTICE OF A CLAIM OR "SUIT" AS SOON AS
              PRACTICABLE; AND
       3.     A REQUEST FOR DEFENSE AND INDEMNITY OF THE CLAIM OR "SUIT"
              WILL PROMPTLY BE BROUGHT AGAINST ANY POLICY ISSUED BY ANOTHER
              INSURER UNDER WHICH THE ADDITIONAL INSURED MAY BE AN INSURED
              IN ANY CAPACITY. THIS PROVISION DOES NOT APPLY TO INSURANCE
              ON WHICH THE ADDITIONAL INSURED IS A NAMED INSURED IF THE
              WRITTEN CONTRACT OR WRITTEN AGREEMENT REQUIRES THAT THIS
              COVERAGE BE PRIMARY AND NON-CONTRIBUTORY.
 D.    FOR THE PURPOSES OF THE COVERAGE PROVIDED BY THIS ENDORSEMENT:
       1. THE FOLLOWING IS ADDED TO THE OTHER INSURANCE CONDITION OF
           SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS:
           PRIMARY AND NON CONTRIBUTORY INSURANCE
           THIS INSURANCE IS PRIMARY TO AND WILL NOT SEEK CONTRIBUTION
           FROM ANY OTHER INSURANCE AVAILABLE TO AN ADDITIONAL INSURED
           PROVIDED THAT:
              A.   THE ADDITIONAL INSURED IS A NAMED INSURED UNDER SUCH
                   OTHER INSURANCE; AND
              B.   YOU ARE REQUIRED BY WRITTEN CONTRACT OR WRITTEN AGREEMENT
                   THAT THIS INSURANCE BE PRIMARY AND NOT SEEK CONTRIBUTION
                   FROM ANY OTHER INSURANCE AVAILABLE TO THE ADDITIONAL
                   INSURED.
        2. THE FOLLOWING PARAGRAPH IS ADDED TO PARAGRAPH 4.B. OF THE
           OTHER INSURANCE CONDITION OF SECTION IV - COMMERCIAL GENERAL
           LIABILITY CONDITIONS:
              THIS INSURANCE IS EXCESS OVER:
              ANY OF THE OTHER INSURANCE, WHETHER PRIMARY, EXCESS,
              CONTINGENT OR ON ANY OTHER BASIS, AVAILABLE TO AN ADDITIONAL
              INSURED, IN WHICH THE ADDITIONAL INSURED ON OUR POLICY IS
              ALSO COVERED AS AN ADDITIONAL INSURED ON ANOTHER POLICY
              PROVIDING COVERAGE FOR THE SAME "OCCURRENCE", OFFENSE, CLAIM
              OR "SUIT". THIS PROVISION DOES NOT APPLY TO ANY POLICY IN
              WHICH THE ADDITIONAL INSURED IS A NAMED INSURED ON SUCH OTHER
              POLICY AND WHERE OUR POLICY IS REQUIRED BY A WRITTEN CONTRACT
              OR WRITTEN AGREEMENT TO PROVIDE COVERAGE TO THE ADDITIONAL
              INSURED ON A PRIMARY AND NON-CONTRIBUTORY BASIS.
 E.    THIS ENDORSEMENT DOES NOT APPLY TO AN ADDITIONAL INSURED WHICH
       HAS BEEN ADDED TO THIS POLICY BY AN ENDORSEMENT SHOWING THE
       ADDITIONAL INSURED IN A SCHEDULE OF ADDITIONAL INSUREDS, AND
       WHICH ENDORSEMENT APPLIES SPECIFICALLY TO THAT IDENTIFIED
       ADDITIONAL INSURED.
 F.    WITH RESPECT TO THE INSURANCE AFFORDED TO THE ADDITIONAL INSUREDS
       UNDER THIS ENDORSEMENT, THE FOLLOWING IS ADDED TO SECTION III -
       LIMITS OF INSURANCE:

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                                                             GLO 7367714-01
                                       ENDORSEMENT

               ZURICH AMERICAN INSURANCE COMPANY

 Named Insured     AMAZON.COM, INC.                          Effective Date:     04-01-20
                                                                       12:01 A.M., Standard Time
 Agent Name        MARSH USA INC.                            Agent No.        73797-000
            ENDT F -ADDL INSD-AUTOMATIC OWNERS, LESSEES, CONTRACTORS

       THE MOST WE WILL PAY ON BEHALF OF THE ADDITIONAL INSURED IS THE
       AMOUNT OF INSURANCE:
       1. REQUIRED BY THE WRITTEN CONTRACT OR WRITTEN AGREEMENT
           REFERENCED IN PARAGRAPH A. OF THIS ENDORSEMENT; OR
       2. AVAILABLE UNDER THE APPLICABLE LIMITS OF INSURANCE SHOWN IN
           THE DECLARATIONS, WHICHEVER IS LESS.
 THIS ENDORSEMENT SHALL NOT INCREASE THE APPLICABLE LIMITS OF
 INSURANCE SHOWN IN THE DECLARATIONS.
 ALL OTHER TERMS AND CONDITIONS OF THIS POLICY REMAIN UNCHANGED.




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Endorsement G

Additional Insured – Owners, Lessees Or Contractors –
Scheduled Person Or Organization

    Policy No.     Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.       Producer No.          Add’l. Prem      Return Prem.




                   THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured:                           AMAZON.COM, INC.
Address (including ZIP Code):            P.O. Box 81226
                                         Seattle, WA 98108


This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Part

                                                               SCHEDULE

          Name Of Additional Insured Person(s)
                                                                            Location And Description Of Covered Operations
                  Or Organization(s)

 ONLY THOSE WHERE REQUIRED BY WRITTEN                                   ONLY THOSE WHERE REQUIRED BY WRITTEN
 CONTRACT                                                               CONTRACT




A. Section II – Who Is An Insured is amended to include as an additional insured the person or organization shown in
   the Schedule above, whom you are required to add as an additional insured on this policy under a written contract or
   written agreement. Such person or organization is an additional insured only with respect to liability for "bodily injury",
   "property damage" or "personal and advertising injury" caused, in whole or in part, by:
    1. Your acts or omissions; or
    2. The acts or omissions of those acting on your behalf,
    in the performance of your ongoing operations or "your work" as included in the "products-completed operations
    hazard", which is the subject of the written contract or written agreement at the Location designated and described in
    the Schedule above.
    However, the insurance afforded to such additional insured only applies to the extent permitted by law.
B. With respect to the insurance afforded to these additional insureds, the following additional exclusion applies:
    This insurance does not apply to:
        "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering or failure to
        render any professional architectural, engineering or surveying services including:
        a. The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
           field orders, change orders or drawings and specifications; or
        b. Supervisory, inspection, architectural or engineering activities.



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    This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
    supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused the
    "bodily injury" or "property damage", or the offense which caused the "personal and advertising injury", involved, the
    rendering of or the failure to render any professional architectural, engineering or surveying services.
C. The following is added to Paragraph 2. Duties In The Event Of Occurrence, Offense, Claim Or Suit of Section IV –
   Commercial General Liability Conditions:
    The additional insured must see to it that:
    1. We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
    2. We receive written notice of a claim or "suit" as soon as practicable; and
    3. A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
       another insurer under which the additional insured may be an insured in any capacity. This provision does not
       apply to insurance on which the additional insured is a Named Insured, if the written contract or written agreement
       requires that this coverage be primary and non-contributory.
D. For the purpose of the coverage provided by this endorsement:
    1. The following is added to the Other Insurance Condition of Section IV – Commercial General Liability
       Conditions:
        Primary and Noncontributory insurance
        This Insurance is primary to and will not seek contribution from any other insurance available to an additional
        insured provided that:
        a. The additional insured is a Named Insured under such other insurance; and
        b. You are required by written contract or written agreement that this insurance be primary and not seek
           contribution from any other insurance available to the additional insured.
    2. The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition of Section IV – Commercial
       General Liability Conditions:
        This insurance is excess over:
        Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
        insured, in which the additional insured on our policy is also covered as an additional insured on another policy
        providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any policy
        in which the additional insured is a Named Insured on such other policy and where our policy is required by
        written contract or written agreement to provide coverage to the additional insured on a primary and non-
        contributory basis.
E. With respect to the insurance afforded to the additional insureds under this endorsement, the following is added to
   Section III – Limits Of Insurance:
    The most we will pay on behalf of the additional insured is the amount of insurance:
    1. Required by the contract or agreement referenced in Paragraph A. of this endorsement; or
    2. Available under the applicable Limits of Insurance shown in the Declarations,
    whichever is less.
    This endorsement shall not increase the applicable Limits of Insurance shown in the Declarations.
All other terms and conditions of this policy remain unchanged.




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                                                                                COMMERCIAL GENERAL LIABILITY
                                                                                               CG 00 01 04 13

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.            (2) The "bodily injury" or "property damage"
Read the entire policy carefully to determine rights,               occurs during the policy period; and
duties and what is and is not covered.
                                                                (3) Prior to the policy period, no insured listed
Throughout this policy the words "you" and "your" refer              under Paragraph 1. of Section II ---- Who Is An
to the Named Insured shown in the Declarations, and                  Insured and no "employee" authorized by you
any other person or organization qualifying as a Named               to give or receive notice of an "occurrence" or
Insured under this policy. The words "we", "us" and                  claim, knew that the "bodily injury" or
"our" refer to the company providing this insurance.                 "property damage" had occurred, in whole or
The word "insured" means any person or organization                  in part. If such a listed insured or authorized
qualifying as such under Section II ---- Who Is An                   "employee" knew, prior to the policy period,
Insured.                                                             that the "bodily injury" or "property damage"
                                                                     occurred, then any continuation, change or
Other words and phrases that appear in quotation                     resumption of such "bodily injury" or
marks have special meaning. Refer to Section V ----                  "property damage" during or after the policy
Definitions.                                                         period will be deemed to have been known
SECTION I ---- COVERAGES                                             prior to the policy period.
COVERAGE A ---- BODILY INJURY AND PROPERTY                   c. "Bodily injury" or "property damage" which
DAMAGE LIABILITY                                                 occurs during the policy period and was not,
                                                                 prior to the policy period, known to have
1. Insuring Agreement
                                                                 occurred by any insured listed under Paragraph
   a. We will pay those sums that the insured becomes            1. of Section II ---- Who Is An Insured or any
       legally obligated to pay as damages because of            "employee" authorized by you to give or receive
       "bodily injury" or "property damage" to which this        notice of an "occurrence" or claim, includes any
       insurance applies. We will have the right and             continuation, change or resumption of that
       duty to defend the insured against any "suit"             "bodily injury" or "property damage" after the end
       seeking those damages. However, we will have              of the policy period.
       no duty to defend the insured against any "suit"
       seeking damages for "bodily injury" or "property      d. "Bodily injury" or "property damage" will be
       damage" to which this insurance does not apply.           deemed to have been known to have occurred at
       We may, at our discretion, investigate any                the earliest time when any insured listed under
       "occurrence" and settle any claim or "suit" that          Paragraph 1. of Section II ---- Who Is An Insured
       may result. But:                                          or any "employee" authorized by you to give or
                                                                 receive notice of an "occurrence" or claim:
      (1) The amount we will pay for damages is limited
          as described in Section III ---- Limits Of            (1) Reports all, or any part, of the "bodily injury"
          Insurance; and                                             or "property damage" to us or any other
                                                                     insurer;
      (2) Our right and duty to defend ends when we
          have used up the applicable limit of insurance        (2) Receives a written or verbal demand or claim
          in the payment of judgments or settlements                 for damages because of the "bodily injury" or
                                                                     "property damage"; or
          under Coverages A or B or medical expenses
          under Coverage C.                                     (3) Becomes aware by any other means that
                                                                     "bodily injury" or "property damage" has
       No other obligation or liability to pay sums or
                                                                     occurred or has begun to occur.
       perform acts or services is covered unless
       explicitly provided for under Supplementary           e. Damages because of "bodily injury" include
       Payments ---- Coverages A and B.                         damages claimed by any person or organization
   b. This insurance applies to "bodily injury" and             for    care, loss       of services      or death
       "property damage" only if:                               resulting at any time from the "bodily injury".
      (1) The "bodily injury" or "property damage" is
          caused by an "occurrence" that takes place
          in the "coverage territory";




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2. Exclusions                                                    This exclusion applies even if the claims
   This insurance does not apply to:                             against any insured allege negligence or other
                                                                 wrongdoing in:
   a. Expected Or Intended Injury
                                                                    (a) The supervision, hiring, employment,
       "Bodily injury" or "property damage" expected                     training or monitoring of others by that
       or intended from the standpoint of the insured.                   insured; or
       This exclusion does not apply to "bodily injury"
       resulting from the use of reasonable force to                (b) Providing      or   failing   to     provide
       protect persons or property.                                      transportation with respect to any person
                                                                         that may be under the influence of alcohol;
   b. Contractual Liability
                                                                 if the "occurrence" which caused the "bodily
       "Bodily injury" or "property damage" for which the        injury" or "property damage", involved that which
       insured is obligated to pay damages by reason of          is described in Paragraph (1), (2) or (3) above.
       the assumption of liability in a contract or
       agreement. This exclusion does not apply to               However, this exclusion applies only if you are in
       liability for damages:                                    the business of manufacturing, distributing,
                                                                 selling,    serving   or     furnishing   alcoholic
      (1) That the insured would have in the absence             beverages. For the purposes of this exclusion,
           of the contract or agreement; or                      permitting a person to bring alcoholic beverages
      (2) Assumed in a contract or agreement that is             on your premises, for consumption on your
           an "insured contract", provided the "bodily           premises, whether or not a fee is charged or a
           injury" or "property         damage" occurs           license is required for such activity, is not by
           subsequent to the execution of the contract           itself considered the business of selling, serving
           or agreement. Solely for the purposes of              or furnishing alcoholic beverages.
           liability assumed in an "insured contract",        d. Workers Compensation And Similar Laws
           reasonable attorneys fees and necessary
           litigation expenses incurred by or for a party        Any obligation of the insured under a workers
           other than an insured are deemed to be                compensation,        disability     benefits    or
           damages because of "bodily injury" or                 unemployment compensation law or any similar
           "property damage", provided:                          law.
          (a) Liability to such party for, or for the cost    e. Employer s Liability
                of, that party s defense has also been           "Bodily injury" to:
                assumed in the same "insured contract";          (1) An "employee" of the insured arising out of
                and                                                   and in the course of:
          (b) Such attorneys fees and litigation                     (a) Employment by the insured; or
                expenses are for defense of that party
                against a civil or alternative dispute              (b) Performing duties related to the conduct
                resolution proceeding in which damages                    of the insured s business; or
                to which this insurance applies are              (2) The spouse, child, parent, brother or sister of
                alleged.                                              that "employee" as a consequence of
   c. Liquor Liability                                                Paragraph (1) above.
       "Bodily injury" or "property damage" for which             This exclusion applies whether the insured may
       any insured may be held liable by reason of:               be liable as an employer or in any other capacity
                                                                  and to any obligation to share damages with or
      (1) Causing or contributing to the intoxication of          repay someone else who must pay damages
           any person;                                            because of the injury.
      (2) The furnishing of alcoholic beverages to a
                                                                 This exclusion does not apply to liability
           person under the legal drinking age or under
                                                                 assumed by the insured under an "insured
           the influence of alcohol; or                          contract".
      (3) Any statute, ordinance or regulation relating
           to the sale, gift, distribution or use of
           alcoholic beverages.




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   f. Pollution                                                      (d) At or from any premises, site or location
      (1) "Bodily injury" or "property damage" arising                    on which any insured or any contractors
           out of the actual, alleged or threatened                       or subcontractors working directly or
           discharge, dispersal, seepage, migration,                      indirectly on any insured s behalf are
           release or escape of "pollutants":                             performing operations if the "pollutants"
                                                                          are brought on or to the premises, site or
          (a) At or from any premises, site or location                   location in connection with such
                which is or was at any time owned or                      operations by such insured, contractor or
                occupied by, or rented or loaned to, any                  subcontractor.           However,        this
                insured. However, this subparagraph                       subparagraph does not apply to:
                does not apply to:
                                                                          (i) "Bodily injury" or "property damage"
                (i) "Bodily injury" if sustained within a                     arising out of the escape of fuels,
                    building and caused by smoke, fumes,                      lubricants or other operating fluids
                    vapor or soot produced by or                              which are needed to perform the
                    originating from equipment that is used                   normal      electrical,   hydraulic    or
                    to heat, cool or dehumidify the                           mechanical functions necessary for the
                    building, or equipment that is used to                    operation of "mobile equipment" or its
                    heat water for personal use, by the                       parts, if such fuels, lubricants or other
                    building s occupants or their guests;                     operating fluids escape from a vehicle
               (ii) "Bodily injury" or "property damage" for                  part designed to hold, store or receive
                    which you may be held liable, if you                      them. This exception does not apply if
                    are a contractor and the owner or                         the "bodily injury" or "property damage"
                    lessee of such premises, site or                          arises out of the intentional discharge,
                    location has been added to your policy                    dispersal or release of the fuels,
                    as an additional insured with respect to                  lubricants or other operating fluids, or
                    your ongoing operations performed for                     if such fuels, lubricants or other
                    that additional insured at that                           operating fluids are brought on or to
                    premises, site or location and such                       the premises, site or location with the
                    premises, site or location is not and                     intent that they be discharged,
                    never was owned or occupied by, or                        dispersed or released as part of the
                    rented or loaned to, any insured, other                   operations being performed by such
                    than that additional insured; or                          insured, contractor or subcontractor;
              (iii) "Bodily injury" or "property damage"                 (ii) "Bodily injury" or "property damage"
                    arising out of heat, smoke or fumes                       sustained within a building and caused
                    from a "hostile fire";                                    by the release of gases, fumes or
                                                                              vapors from materials brought into that
        (b) At or from any premises, site or location
                                                                              building in connection with operations
             which is or was at any time used by or for
                                                                              being performed by you or on your
             any insured or others for the handling,
                                                                              behalf      by     a     contractor    or
             storage, disposal, processing or treatment
                                                                              subcontractor; or
             of waste;
        (c) Which are or were at any time transported,                  (iii) "Bodily injury" or "property damage"
             handled, stored, treated, disposed of, or                        arising out of heat, smoke or fumes
             processed as waste by or for:                                    from a "hostile fire".
             (i) Any insured; or                                     (e) At or from any premises, site or location
                                                                         on which any insured or any contractors
           (ii) Any person or organization for whom                      or subcontractors working directly or
                 you may be legally responsible; or                      indirectly on any insured s behalf are
                                                                          performing operations if the operations
                                                                         are to test for,          monitor, clean up,
                                                                         remove, contain, treat, detoxify or
                                                                         neutralize, or in any way respond to, or
                                                                         assess the effects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                (5) "Bodily injury" or "property damage" arising
          any:                                                        out of:
         (a) Request, demand, order or statutory or                  (a) The operation of machinery or equipment
             regulatory requirement that any insured or                  that is attached to, or part of, a land
             others test for, monitor, clean up, remove,                 vehicle that would qualify under the
             contain, treat, detoxify or neutralize, or in               definition of "mobile equipment" if it were
             any way respond to, or assess the effects                   not subject to a compulsory or financial
             of, "pollutants"; or                                        responsibility law or other motor vehicle
        (b) Claim or suit by or on behalf of a                           insurance law where it is licensed or
             governmental authority for damages                          principally garaged; or
             because of testing for, monitoring,                    (b) The operation of any of the machinery or
             cleaning up, removing,           containing,                equipment listed in Paragraph f.(2) or f.(3)
             treating, detoxifying or neutralizing, or in                of the definition of "mobile equipment".
             any way responding to, or assessing the          h. Mobile Equipment
             effects of, "pollutants".
                                                                   "Bodily injury" or "property damage" arising out
           However, this paragraph does not apply to               of:
           liability for damages because of "property
           damage" that the insured would have in the             (1) The transportation of "mobile equipment" by
           absence of such request, demand, order or                   an "auto" owned or operated by or rented or
           statutory or regulatory requirement, or such                loaned to any insured; or
           claim or "suit" by or on behalf of a                   (2) The use of "mobile equipment" in, or while in
           governmental authority.                                     practice for, or while being prepared for, any
   g. Aircraft, Auto Or Watercraft                                     prearranged racing, speed, demolition, or
                                                                       stunting activity.
       "Bodily injury" or "property damage" arising out of
       the ownership, maintenance, use or entrustment          i. War
       to others of any aircraft, "auto" or watercraft             "Bodily injury" or "property damage", however
       owned or operated by or rented or loaned to any             caused, arising, directly or indirectly, out of:
       insured. Use includes operation and "loading or
                                                                  (1) War, including undeclared or civil war;
       unloading".
       This exclusion applies even if the claims against         (2) Warlike action by a military force, including
       any insured allege negligence or other                        action in hindering or defending against an
       wrongdoing        in   the   supervision,    hiring,          actual    or expected attack, by any
       employment, training or monitoring of others by               government, sovereign or other authority
                                                                     using military personnel or other agents; or
       that insured, if the "occurrence" which caused
       the "bodily injury" or "property damage" involved         (3) Insurrection, rebellion, revolution, usurped
       the ownership, maintenance, use or entrustment                power, or action taken by governmental
       to others of any aircraft, "auto" or watercraft that          authority in hindering or defending against
       is owned or operated by or rented or loaned to                any of these.
       any insured.                                            j. Damage To Property
       This exclusion does not apply to:                           "Property damage" to:
      (1) A watercraft while ashore on premises you               (1) Property you own, rent, or occupy, including
           own or rent;                                               any costs or expenses incurred by you, or
      (2) A watercraft you do not own that is:                        any other person, organization or entity, for
                                                                      repair, replacement, enhancement, restoration
          (a) Less than 26 feet long; and
                                                                      or maintenance of such property for any
          (b) Not being used to carry persons or                      reason, including prevention of injury to a
               property for a charge;                                 person or damage to another s property;
     (3) Parking an "auto" on, or on the ways next to,            (2) Premises you sell, give away or abandon, if
         premises you own or rent, provided the "auto"                the "property damage" arises out of any part
         is not owned by or rented or loaned to you or                of those premises;
         the insured;
                                                                  (3) Property loaned to you;
     (4) Liability assumed under any "insured
         contract" for the ownership, maintenance or
         use of aircraft or watercraft; or



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     (4) Personal property in the care, custody or               This exclusion does not apply to the loss of use
             control of the insured;                             of other property arising out of sudden and
     (5) That particular part of real property on which          accidental physical injury to "your product" or
             you or any contractors or subcontractors            "your work" after it has been put to its intended
             working directly or indirectly on your behalf       use.
             are performing operations, if the "property     n. Recall Of Products, Work Or Impaired Property
             damage" arises out of those operations; or          Damages claimed for any loss, cost or expense
     (6) That particular part of any property that must          incurred by you or others for the loss of use,
             be restored, repaired or replaced because           withdrawal,     recall,    inspection,      repair,
             "your work" was incorrectly performed on it.        replacement, adjustment, removal or disposal of:
      Paragraphs (1), (3) and (4) of this exclusion do          (1) "Your product";
      not apply to "property damage" (other than                (2) "Your work"; or
      damage by fire) to premises, including the
      contents of such premises, rented to you for a            (3) "Impaired property";
      period of seven or fewer consecutive days. A               if such product, work, or property is withdrawn
      separate limit of insurance applies to Damage To           or recalled from the market or from use by any
      Premises Rented To You as described in Section             person or organization because of a known or
      III ---- Limits Of Insurance.                              suspected defect, deficiency, inadequacy or
      Paragraph (2) of this exclusion does not apply if          dangerous condition in it.
      the premises are "your work" and were never            o. Personal And Advertising Injury
      occupied, rented or held for rental by you.
                                                                 "Bodily injury" arising out of "personal and
      Paragraphs (3), (4), (5) and (6) of this exclusion         advertising injury".
      do not apply to liability assumed under a
                                                             p. Electronic Data
      sidetrack agreement.
                                                                 Damages arising out of the loss of, loss of use
      Paragraph (6) of this exclusion does not apply to
                                                                 of, damage to, corruption of, inability to access,
      "property damage" included in the "products-
                                                                 or inability to manipulate electronic data.
      completed operations hazard".
  k. Damage To Your Product                                     However, this exclusion does not apply to liability
                                                                for damages because of "bodily injury".
      "Property damage" to "your product" arising out
                                                                As used in this exclusion, electronic data means
      of it or any part of it.
                                                                information, facts or programs stored as or on,
   l. Damage To Your Work                                       created or used on, or transmitted to or from
      "Property damage" to "your work" arising out of it        computer software, including systems and
      or any part of it and included in the "products-          applications software, hard or floppy disks, CD-
      completed operations hazard".                             ROMs, tapes, drives, cells, data processing
                                                                devices or any other media which are used with
      This exclusion does not apply if the damaged              electronically controlled equipment.
      work or the work out of which the damage arises
      was performed on your behalf by a                      q. Recording And Distribution Of Material Or
      subcontractor.                                            Information In Violation Of Law
  m. Damage To Impaired Property Or Property Not                "Bodily injury" or "property damage" arising
      Physically Injured                                        directly or indirectly out of any action or
                                                                omission that violates or is alleged to violate:
      "Property damage" to "impaired property" or
      property that has not been physically injured,            (1) The Telephone Consumer Protection Act
      arising out of:                                               (TCPA), including any amendment of or
                                                                    addition to such law;
     (1) A    defect, deficiency,     inadequacy     or
         dangerous condition in "your product" or               (2) The CAN-SPAM Act of 2003, including any
         "your work"; or                                            amendment of or addition to such law;
     (2) A delay or failure by you or anyone acting on          (3) The Fair Credit Reporting Act (FCRA), and
         your behalf to perform a contract or                       any amendment of or addition to such law,
         agreement in accordance with its terms.                    including the Fair and Accurate Credit
                                                                    Transactions Act (FACTA); or




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       (4) Any      federal, state or local statute, 2. Exclusions
            ordinance or regulation, other than the TCPA,     This insurance does not apply to:
            CAN-SPAM Act of 2003 or FCRA and their
            amendments and additions, that addresses,         a. Knowing Violation Of Rights Of Another
            prohibits, or limits the printing, dissemination,     "Personal and advertising injury" caused by or
            disposal, collecting, recording, sending,             at the direction of the insured with the knowledge
            transmitting, communicating or distribution of        that the act would violate the rights of another
            material or information.                              and would inflict "personal and advertising
   Exclusions c. through n. do not apply to damage by             injury".
   fire to premises while rented to you or temporarily        b. Material Published With Knowledge Of Falsity
   occupied by you with permission of the owner. A
                                                                  "Personal and advertising injury" arising out of
   separate limit of insurance applies to this coverage
   as described in Section III ---- Limits Of Insurance.          oral or written publication, in any manner, of
                                                                  material, if done by or at the direction of the
COVERAGE B ---- PERSONAL AND ADVERTISING                          insured with knowledge of its falsity.
INJURY LIABILITY
                                                              c. Material Published Prior To Policy Period
1. Insuring Agreement
                                                                  "Personal and advertising injury" arising out of
   a. We will pay those sums that the insured becomes             oral or written publication, in any manner, of
        legally obligated to pay as damages because of            material whose first publication took place before
        "personal and advertising injury" to which this           the beginning of the policy period.
        insurance applies. We will have the right and
                                                              d. Criminal Acts
        duty to defend the insured against any "suit"
        seeking those damages. However, we will have              "Personal and advertising injury" arising out of a
        no duty to defend the insured against any "suit"          criminal act committed by or at the direction of
        seeking damages for "personal and advertising             the insured.
        injury" to which this insurance does not apply.       e. Contractual Liability
        We may, at our discretion, investigate any
        offense and settle any claim or "suit" that may           "Personal and advertising injury" for which the
        result. But:                                              insured has assumed liability in a contract or
                                                                  agreement. This exclusion does not apply to
       (1) The amount we will pay for damages is limited          liability for damages that the insured would have
            as described in Section III ---- Limits Of            in the absence of the contract or agreement.
            Insurance; and
                                                               f. Breach Of Contract
       (2) Our right and duty to defend end when we
            have used up the applicable limit of insurance        "Personal and advertising injury" arising out of a
            in the payment of judgments or settlements            breach of contract, except an implied contract to
            under Coverages A or B or medical expenses            use another s advertising idea in your
            under Coverage C.                                     "advertisement".
        No other obligation or liability to pay sums or       g. Quality Or Performance Of Goods ---- Failure To
        perform acts or services is covered unless                Conform To Statements
      explicitly provided for under Supplementary                "Personal and advertising injury" arising out of
      Payments ---- Coverages A and B.                           the failure of goods, products or services to
   b. This insurance applies to "personal and                    conform with any statement of quality or
      advertising injury" caused by an offense arising           performance made in your "advertisement".
      out of your business but only if the offense was        h. Wrong Description Of Prices
      committed in the "coverage territory" during the           "Personal and advertising injury" arising out of
      policy period.                                             the wrong description of the price of goods,
                                                                 products    or services      stated    in  your
                                                                 "advertisement".




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   i. Infringement Of Copyright, Patent,                      n. Pollution-related
      Trademark Or Trade Secret                                   Any loss, cost or expense arising out of any:
      "Personal and advertising injury" arising out of           (1) Request, demand, order or statutory or
      the infringement of copyright, patent, trademark,              regulatory requirement that any insured or
      trade secret or other intellectual property rights.            others test for, monitor, clean up, remove,
      Under this exclusion, such other intellectual                  contain, treat, detoxify or neutralize, or in any
      property rights do not include the use of                      way respond to, or assess the effects of,
      another s     advertising      idea    in     your             "pollutants"; or
      "advertisement".
                                                                 (2) Claim or suit by or on behalf of a
      However, this exclusion does not apply to                      governmental authority for damages because
      infringement, in your "advertisement", of                      of testing for, monitoring, cleaning up,
      copyright, trade dress or slogan.                              removing, containing, treating, detoxifying or
   j. Insureds In Media And Internet Type Businesses                 neutralizing, or in any way responding to, or
       "Personal and advertising injury" committed by                assessing the effects of, "pollutants".
       an insured whose business is:                          o. War
      (1) Advertising, broadcasting, publishing or                "Personal and advertising injury", however
           telecasting;                                           caused, arising, directly or indirectly, out of:
      (2) Designing or determining content of web                (1) War, including undeclared or civil war;
           sites for others; or                                  (2) Warlike action by a military force, including
      (3) An Internet search, access, content or service             action in hindering or defending against an
           provider.                                                 actual    or expected attack, by any
       However, this exclusion does not apply to                     government, sovereign or other authority
       Paragraphs 14.a., b. and c. of "personal and                  using military personnel or other agents; or
       advertising injury" under the Definitions section.        (3) Insurrection, rebellion, revolution, usurped
       For the purposes of this exclusion, the placing of            power, or action taken by governmental
       frames, borders or links, or advertising, for you             authority in hindering or defending against
       or others anywhere on the Internet, is not by                 any of these.
       itself, considered the business of advertising,        p. Recording And Distribution Of Material Or
       broadcasting, publishing or telecasting.                   Information In Violation Of Law
  k. Electronic Chatrooms Or Bulletin Boards                      "Personal and advertising injury" arising directly
       "Personal and advertising injury" arising out of an        or indirectly out of any action or omission that
       electronic chatroom or bulletin board the insured          violates or is alleged to violate:
       hosts, owns, or over which the insured exercises          (1) The Telephone Consumer Protection Act
       control.                                                       (TCPA), including any amendment of or
   l. Unauthorized Use Of Another s Name Or                           addition to such law;
       Product                                                   (2) The CAN-SPAM Act of 2003, including any
       "Personal and advertising injury" arising out of               amendment of or addition to such law;
       the unauthorized use of another s name or                 (3) The Fair Credit Reporting Act (FCRA), and
       product in your e-mail address, domain name or                any amendment of or addition to such law,
       metatag, or any other similar tactics to mislead              including the Fair and Accurate Credit
       another s potential customers.                                Transactions Act (FACTA); or
  m. Pollution                                                   (4) Any federal, state or local statute, ordinance
      "Personal and advertising injury" arising out of               or regulation, other than the TCPA, CAN-
      the actual, alleged or threatened discharge,                   SPAM Act of 2003 or FCRA and their
      dispersal, seepage, migration, release or                      amendments        and      additions,       that
      escape of "pollutants" at any time.                            addresses, prohibits, or limits the printing,
                                                                     dissemination,        disposal,      collecting,
                                                                     recording,        sending,        transmitting,
                                                                     communicating or distribution of material or
                                                                     information.




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COVERAGE C ---- MEDICAL PAYMENTS                              d. Workers Compensation And Similar Laws
1. Insuring Agreement                                             To a person, whether or not an "employee" of
   a. We will pay medical expenses as described                   any insured, if benefits for the "bodily injury" are
       below for "bodily injury" caused by an accident:           payable or must be provided under a workers
                                                                  compensation or disability benefits law or a
      (1) On premises you own or rent;                            similar law.
      (2) On ways next to premises you own or rent;           e. Athletics Activities
          or
                                                                  To a person injured while practicing, instructing
      (3) Because of your operations;                             or participating in any physical exercises or
       provided that:                                             games, sports, or athletic contests.
          (a) The accident takes place in the "coverage        f. Products-Completed Operations Hazard
              territory" and during the policy period;           Included      within    the    "products-completed
          (b) The expenses are incurred and reported             operations hazard".
              to us within one year of the date of the       g. Coverage A Exclusions
              accident; and
                                                                 Excluded under Coverage A.
          (c) The      injured    person     submits   to
              examination, at        our expense, by SUPPLEMENTARY PAYMENTS ---- COVERAGES A AND
              physicians of our choice as often as we B
              reasonably require.                         1. We will pay, with respect to any claim we investigate
   b. We will make these payments regardless of fault.       or settle, or any "suit" against an insured we defend:
       These payments will not exceed the applicable         a. All expenses we incur.
       limit of insurance. We will pay reasonable            b. Up to $250 for cost of bail bonds required
       expenses for:                                             because of accidents or traffic law violations
      (1) First aid administered at the time of an               arising out of the use of any vehicle to which the
           accident;                                             Bodily Injury Liability Coverage applies. We do
      (2) Necessary medical, surgical, X-ray and dental          not have to furnish these bonds.
           services, including prosthetic devices; and       c. The cost of bonds to release attachments, but
      (3) Necessary ambulance, hospital, professional            only for bond amounts within the applicable limit
           nursing and funeral services.                         of insurance. We do not have to furnish these
                                                                 bonds.
2. Exclusions
                                                             d. All reasonable expenses incurred by the insured
   We will not pay expenses for "bodily injury":                 at our request to assist us in the investigation or
   a. Any Insured                                                defense of the claim or "suit", including actual
       To any insured, except "volunteer workers".               loss   of earnings up to $250 a day because of
                                                                 time off from work.
   b. Hired Person
                                                             e. All court costs taxed against the insured in the
       To a person hired to do work for or on behalf of          "suit". However, these payments do not include
       any insured or a tenant of any insured.                   attorneys fees or attorneys expenses taxed
   c. Injury On Normally Occupied Premises                       against the insured.
       To a person injured on that part of premises you       f. Prejudgment interest awarded against the
       own or rent that the person normally                      insured on that part of the judgment we pay. If
       occupies.                                                 we   make an offer to pay the applicable limit of
                                                                 insurance, we will not pay any prejudgment
                                                                 interest based on that period of time after the
                                                                 offer.




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   g. All interest on the full amount of any judgment        So long as the above conditions are met,
        that accrues after entry of the judgment and         attorneys fees incurred by us in the defense of that
        before we have paid, offered to pay, or deposited    indemnitee, necessary litigation expenses incurred
        in court the part of the judgment that is within the by us and necessary litigation expenses incurred by
        applicable limit of insurance.                       the indemnitee at our request will be paid as
   These payments will not reduce the limits of              Supplementary Payments. Notwithstanding the
   insurance.                                                provisions of Paragraph 2.b.(2) of Section I ----
                                                             Coverage A ---- Bodily Injury And Property Damage
2. If we defend an insured against a "suit" and an           Liability, such payments will not be deemed to be
   indemnitee of the insured is also named as a party to     damages for "bodily injury" and "property damage"
   the "suit", we will defend that indemnitee if all of the  and will not reduce the limits of insurance.
   following conditions are met:
                                                             Our obligation to defend an insured s indemnitee
   a. The "suit" against the indemnitee seeks damages        and to pay for attorneys fees and necessary
        for which the insured has assumed the liability of   litigation expenses as Supplementary Payments
        the indemnitee in a contract or agreement that is    ends when we have used up the applicable limit of
        an "insured contract";                               insurance in the payment of judgments or
   b. This insurance applies to such liability assumed       settlements or the conditions set forth above, or the
        by the insured;                                      terms of the agreement described in Paragraph f.
   c. The obligation to defend, or the cost of the           above,   are no longer met.
        defense of, that indemnitee, has also been SECTION II ---- WHO IS AN INSURED
        assumed by the insured in the same "insured 1. If you are designated in the Declarations as:
        contract";
                                                             a. An individual, you and your spouse are insureds,
   d. The allegations in the "suit" and the information           but only with respect to the conduct of a
        we know about the "occurrence" are such that no           business of which you are the sole owner.
        conflict appears to exist between the interests of
        the insured and the interests of the indemnitee;     b. A partnership or joint venture, you are an
                                                                  insured. Your members, your partners, and their
   e. The indemnitee and the insured ask us to                    spouses are also insureds, but only with respect
        conduct and control the defense of that                   to the conduct of your business.
        indemnitee against such "suit" and agree that we
        can assign the same counsel to defend the            c. A limited liability company, you are an insured.
        insured and the indemnitee; and                           Your members are also insureds, but only with
                                                                  respect to the conduct of your business. Your
    f. The indemnitee:                                            managers are insureds, but only with respect to
       (1) Agrees in writing to:                                  their duties as your managers.
         (a) Cooperate with us in the investigation,         d. An organization other than a partnership, joint
             settlement or defense of the "suit";               venture or limited liability company, you are an
         (b) Immediately send us copies of any                  insured. Your "executive officers" and directors
             demands, notices, summonses or legal               are insureds, but only with respect to their duties
             papers received in connection with the             as your officers or directors. Your stockholders
             "suit";                                            are also insureds, but only with respect to their
                                                                liability as stockholders.
         (c) Notify any other insurer whose coverage
             is available to the indemnitee; and             e. A trust, you are an insured. Your trustees are
                                                                also insureds, but only with respect to their
         (d) Cooperate with us with respect to                  duties as trustees.
             coordinating other applicable insurance
             available to the indemnitee; and
     (2) Provides us with written authorization to:
         (a) Obtain records and other information
             related to the "suit"; and
        (b) Conduct and control the defense of the
             indemnitee in such "suit".




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2. Each of the following is also an insured:                    c. Any person or organization having proper
   a. Your "volunteer workers" only while performing                temporary custody of your property if you die,
       duties related to the conduct of your business,              but only:
       or your "employees", other than either your                 (1) With respect to liability arising out of the
       "executive officers" (if you are an organization                 maintenance or use of that property; and
       other than a partnership, joint venture or limited          (2) Until your legal representative has been
       liability company) or your managers (if you are a                appointed.
       limited liability company), but only for acts within
       the scope of their employment by you or while            d. Your legal representative if you die, but only with
       performing duties related to the conduct of your             respect to duties as such. That representative will
       business. However, none of these "employees"                 have all your rights and duties under this
       or "volunteer workers" are insureds for:                     Coverage Part.
      (1) "Bodily injury" or "personal and advertising 3. Any organization you newly acquire or form, other
           injury":                                             than a partnership, joint venture or limited liability
                                                                company, and over which you maintain ownership
          (a) To you, to your partners or members (if           or majority interest, will qualify as a Named Insured if
                you are a partnership or joint venture), to     there is no other similar insurance available to that
                your members (if you are a limited liability    organization. However:
                company), to a co-"employee" while in the
                course of his or her employment or              a. Coverage under this provision is afforded only
                performing duties related to the conduct            until the 90th day after you acquire or form the
                of your business, or to your other                  organization or the end of the policy period,
                "volunteer workers" while performing                whichever is earlier;
                duties related to the conduct of your           b. Coverage A does not apply to "bodily injury" or
                business;                                           "property damage" that occurred before you
          (b) To the spouse, child, parent, brother or              acquired  or formed the organization; and
                sister of that co-"employee" or "volunteer      c. Coverage B does not apply to "personal and
                worker" as a consequence of Paragraph               advertising injury" arising out of an offense
                (1)(a) above;                                       committed before you acquired or formed the
          (c) For which there is any obligation to share            organization.
                damages with or repay someone else who No person or organization is an insured with respect to
                must pay damages because of the injury the conduct of any current or past partnership, joint
                described in Paragraph (1)(a) or (b) venture or limited liability company that is not shown as
                above; or                                    a Named Insured in the Declarations.
          (d) Arising out of his or her providing or SECTION III ---- LIMITS OF INSURANCE
                failing to provide professional health care
                                                             1. The Limits of Insurance shown in the Declarations
                services.
                                                                and the rules below fix the most we will pay
      (2) "Property damage" to property:                        regardless of the number of:
          (a) Owned, occupied or used by;                       a. Insureds;
          (b) Rented to, in the care, custody or control        b. Claims made or "suits" brought; or
                of, or over which physical control is being
                                                                c. Persons or organizations making claims or
                exercised for any purpose by;
                                                                    bringing "suits".
           you, any of your "employees", "volunteer
                                                             2. The General Aggregate Limit is the most we will pay
           workers", any partner or member (if you are a
                                                                for the sum of:
           partnership or joint venture), or any member
           (if you are a limited liability company).            a. Medical expenses under Coverage C;
   b. Any person (other than your "employee" or                 b.  Damages under Coverage A, except damages
       "volunteer worker"), or any organization while               because of "bodily injury" or "property damage"
       acting as your real estate manager.                          included in the "products-completed operations
                                                                    hazard"; and
                                                                c. Damages under Coverage B.




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3. The Products-Completed Operations Aggregate                  (3) The nature and location of any injury or
   Limit is the most we will pay under Coverage A for               damage arising out of the "occurrence" or
   damages because of "bodily injury" and "property                 offense.
   damage" included in the "products-completed               b. If a claim is made or "suit" is brought against any
   operations hazard".                                           insured, you must:
4. Subject to Paragraph 2. above, the Personal And              (1) Immediately record the specifics of the claim
   Advertising Injury Limit is the most we will pay under           or "suit" and the date received; and
   Coverage B for the sum of all damages because of
   all "personal and advertising injury" sustained by any       (2) Notify us as soon as practicable.
   one person or organization.                                  You must see to it that we receive written notice
5. Subject to Paragraph 2. or 3. above, whichever               of the claim or "suit" as soon as practicable.
   applies, the Each Occurrence Limit is the most we        c. You and any other involved insured must:
   will pay for the sum of:
                                                               (1) Immediately send us copies of any demands,
    a. Damages under Coverage A; and                                notices, summonses or legal papers received
    b. Medical expenses under Coverage C                            in connection with the claim or "suit";
    because of all "bodily injury" and "property damage"       (2) Authorize us to obtain records and other
    arising out of any one "occurrence".                            information;
6. Subject to Paragraph 5. above, the Damage To                (3) Cooperate with us in the investigation or
    Premises Rented To You Limit is the most we will                settlement of the claim or defense against the
    pay under Coverage A for damages because of                     "suit"; and
    "property damage" to any one premises, while rented        (4) Assist us, upon our request, in the
    to you, or in the case of damage by fire, while rented          enforcement of any right against any person
    to you or temporarily occupied by you with                       or organization which may be liable to the
    permission of the owner.                                        insured because of injury or damage to which
7. Subject to Paragraph 5. above, the Medical Expense               this insurance may also apply.
    Limit is the most we will pay under Coverage C for      d. No insured will, except at that insured s own
    all medical expenses because of "bodily injury"             cost, voluntarily make a payment, assume any
    sustained by any one person.                                obligation, or incur any expense, other than for
The Limits of Insurance of this Coverage Part apply             first aid, without our consent.
separately to each consecutive annual period and to 3. Legal Action Against Us
any remaining period of less than 12 months, starting
                                                            No person or organization has a right under this
with the beginning of the policy period shown in the
                                                            Coverage Part:
Declarations, unless the policy period is extended after
issuance for an additional period of less than 12           a. To join us as a party or otherwise bring us into a
months. In that case, the additional period will be             "suit" asking for damages from an insured; or
deemed part of the last preceding period for purposes       b. To sue us on this Coverage Part unless all of its
of determining the Limits of Insurance.                         terms have been fully complied with.
SECTION IV ---- COMMERCIAL GENERAL LIABILITY                A person or organization may sue us to recover on
CONDITIONS                                                  an agreed settlement or on a final judgment
1. Bankruptcy                                               against an insured; but we will not be liable for
                                                            damages that are not payable under the terms of
    Bankruptcy or insolvency of the insured or of the
                                                            this Coverage Part or that are in excess of the
    insured s estate will not relieve us of our obligations
    under this Coverage Part.                               applicable    limit of insurance. An agreed settlement
                                                            means a settlement and release of liability signed
2. Duties In The Event Of Occurrence, Offense, Claim        by us, the insured and the claimant or the
    Or Suit                                                 claimant s legal representative.
    a. You must see to it that we are notified as soon as
        practicable of an "occurrence" or an offense
        which may result in a claim. To the extent
        possible, notice should include:
       (1) How, when and where the "occurrence" or
            offense took place;
      (2) The names and addresses of any injured
          persons and witnesses; and


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4. Other Insurance                                               (3) When this insurance is excess over other
   If other valid and collectible insurance is available              insurance, we will pay only our share of the
   to the insured for a loss we cover under Coverages                 amount of the loss, if any, that exceeds the
   A or B of this Coverage Part, our obligations are                  sum of:
   limited as follows:                                               (a) The total amount that all such other
   a. Primary Insurance                                                    insurance would pay for the loss in the
                                                                          absence of this insurance; and
       This insurance is primary except when
       Paragraph b. below applies. If this insurance is              (b) The total of all deductible and self-insured
       primary, our obligations are not affected unless                   amounts under all that other insurance.
       any of the other insurance is also primary. Then,         (4) We will share the remaining loss, if any, with
       we will share with all that other insurance by the             any other insurance that is not described in
       method described in Paragraph c. below.                        this Excess Insurance provision and was not
   b. Excess Insurance                                                bought specifically to apply in excess of the
                                                                      Limits of Insurance shown in the Declarations
      (1) This insurance is excess over:                              of this Coverage Part.
          (a) Any of the other insurance, whether              c. Method Of Sharing
               primary, excess, contingent or on any
               other basis:                                       If all of the other insurance permits contribution
                                                                  by equal shares, we will follow this method also.
               (i) That is Fire, Extended Coverage,               Under this approach each insurer contributes
                   Builder s Risk, Installation Risk or           equal amounts until it has paid its applicable limit
                   similar coverage for "your work";              of insurance or none of the loss remains,
              (ii) That is Fire insurance for premises            whichever comes first.
                   rented to you or temporarily occupied          If any of the other insurance does not permit
                   by you with permission of the owner;           contribution by equal shares, we will contribute
             (iii) That is insurance purchased by you to          by limits. Under this method, each insurer s
                   cover your liability as a tenant for           share is based on the ratio of its applicable limit
                   "property damage" to premises rented           of insurance to the total applicable limits of
                   to you or temporarily occupied by you          insurance of all insurers.
                   with permission of the owner; or         5. Premium Audit
             (iv) If the loss arises out of the                  a. We will compute all premiums for this Coverage
                   maintenance or use of aircraft, "autos"          Part in accordance with our rules and rates.
                   or watercraft to the extent not subject
                   to Exclusion g. of Section I ----             b. Premium shown in this Coverage Part as
                   Coverage A ---- Bodily Injury And                advance premium is a deposit premium only. At
                   Property Damage Liability.                       the close of each audit period we will compute
                                                                    the earned premium for that period and send
         (b) Any other primary insurance available to               notice to the first Named Insured. The due date
               you covering liability for damages arising           for audit and retrospective premiums is the date
               out of the premises or operations, or the            shown as the due date on the bill. If the sum of
               products and completed operations, for               the advance and audit premiums paid for the
               which you have been added as an                      policy period is greater than the earned premium,
               additional insured.                                  we will return the excess to the first Named
      (2) When this insurance is excess, we will have               Insured.
           no duty under Coverages A or B to defend              c. The first Named Insured must keep records of
           the insured against any "suit" if any other              the information we need for premium
           insurer has a duty to defend the insured                 computation, and send us copies at such times
           against that "suit". If no other insurer defends,        as we may request.
           we will undertake to do so, but we will be
           entitled      to     the      insured s     rights 6. Representations
           against all those other insurers.                     By accepting this policy, you agree:
                                                                 a. The statements in the Declarations are
                                                                    accurate and complete;




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   b. Those        statements      are     based      upon      However, "auto" does not include "mobile
        representations you made to us; and                     equipment".
    c. We have issued this policy in reliance upon your 3. "Bodily injury" means bodily injury, sickness or
        representations.                                        disease sustained by a person, including death
7. Separation Of Insureds                                       resulting from any of these at any time.
   Except with respect to the Limits of Insurance, and 4. "Coverage territory" means:
   any rights or duties specifically assigned in this            a. The United States of America (including its
   Coverage Part to the first Named Insured, this                    territories and possessions), Puerto Rico and
   insurance applies:                                                Canada;
    a. As if each Named Insured were the only Named             b. International waters or airspace, but only if the
        Insured; and                                                 injury or damage occurs in the course of travel
   b. Separately to each insured against whom claim is               or transportation between any places included in
        made or "suit" is brought.                                   Paragraph    a. above; or
8. Transfer Of Rights Of Recovery Against Others To              c.  All  other   parts  of the world if the injury or
   Us                                                                damage    arises out of:
   If the insured has rights to recover all or part of any          (1) Goods or products made or sold by you in
   payment we have made under this Coverage Part,                        the territory described in Paragraph a. above;
   those rights are transferred to us. The insured must             (2) The activities of a person whose home is in
   do nothing after loss to impair them. At our request,                 the territory described in Paragraph a. above,
   the insured will bring "suit" or transfer those rights to             but is away for a short time on your business;
   us and help us enforce them.                                          or
9. When We Do Not Renew                                             (3) "Personal and advertising injury" offenses that
   If we decide not to renew this Coverage Part, we will                 take place through the Internet or similar
   mail or deliver to the first Named Insured shown in                   electronic  means of communication;
   the Declarations written notice of the nonrenewal not        provided the insured s responsibility to pay
   less than 30 days before the expiration date.                damages is determined in a "suit" on the merits, in
   If notice is mailed, proof of mailing will be sufficient     the territory described in Paragraph a. above or in a
   proof of notice.                                             settlement we agree to.
SECTION V ---- DEFINITIONS                                   5. "Employee" includes a "leased worker". "Employee"
                                                                does not include a "temporary worker".
1. "Advertisement" means a notice that is broadcast or
   published to the general public or specific market        6. "Executive officer" means a person holding any of
   segments about your goods, products or services              the officer positions created by your charter,
   for the purpose of attracting customers or                   constitution, bylaws or any other similar governing
   supporters. For the purposes of this definition:             document.
    a. Notices that are published include material           7. "Hostile fire" means one which becomes
        placed on the Internet or on similar electronic         uncontrollable or breaks out from where it was
        means of communication; and                             intended to be.
   b. Regarding web sites, only that part of a web site 8. "Impaired property" means tangible property, other
        that is about your goods, products or services          than "your product" or "your work", that cannot be
        for the purposes of attracting customers or             used or is less useful because:
        supporters is considered an advertisement.               a. It incorporates "your product" or "your work" that
2. "Auto" means:                                                     is known or thought to be defective, deficient,
                                                                     inadequate or dangerous; or
    a. A land motor vehicle, trailer or semitrailer
        designed for travel on public roads, including          b.   You have failed to fulfill the terms of a contract or
        any attached machinery or equipment; or                      agreement;
   b. Any other land vehicle that is subject to a               if such property can be restored to use by the
        compulsory or financial responsibility law or           repair, replacement, adjustment or removal of "your
        other motor vehicle insurance law where it is           product" or "your work" or your fulfilling the
        licensed or principally garaged.                        terms    of the contract or agreement.




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9. "Insured contract" means:                             10. "Leased worker" means a person leased to you by
   a. A contract for a lease of premises. However,           a labor leasing firm under an agreement between
       that portion of the contract for a lease of           you   and the labor leasing firm, to perform duties
       premises that indemnifies any person or               related  to the conduct of your business. "Leased
       organization for damage by fire to premises while     worker" does not include a "temporary worker".
       rented to you or temporarily occupied by you 11. "Loading or unloading" means the handling of
       with permission of the owner is not an "insured       property:
       contract";                                            a. After it is moved from the place where it is
   b. A sidetrack agreement;                                     accepted for movement into or onto an aircraft,
   c. Any easement or license agreement, except in               watercraft or "auto";
       connection with construction or demolition            b. While it is in or on an aircraft, watercraft or
       operations on or within 50 feet of a railroad;            "auto"; or
   d. An obligation, as required by ordinance, to              c. While it is being moved from an aircraft,
        indemnify a municipality, except in connection              watercraft or "auto" to the place where it is finally
        with work for a municipality;                               delivered;
   e. An elevator maintenance agreement;                       but "loading or unloading" does not include the
    f. That part of any other contract or agreement            movement of property by means of a mechanical
        pertaining to your business (including an              device, other than a hand truck, that is not attached
        indemnification of a municipality in connection        to the aircraft, watercraft or "auto".
        with work performed for a municipality) under 12. "Mobile equipment" means any of the following types
        which you assume the tort liability of another         of land vehicles, including any attached machinery
        party to pay for "bodily injury" or "property          or equipment:
        damage" to a third person or organization. Tort        a. Bulldozers, farm machinery, forklifts and other
        liability means a liability that would be imposed           vehicles designed for use principally off public
        by law in the absence of any contract or                    roads;
        agreement.
                                                               b. Vehicles maintained for use solely on or next to
        Paragraph f. does not include that part of any              premises you own or rent;
        contract or agreement:
                                                               c. Vehicles that travel on crawler treads;
       (1) That indemnifies a railroad for "bodily injury"
            or "property damage" arising out of                d. Vehicles,        whether   self-propelled or not,
            construction or demolition operations, within           maintained primarily to provide mobility to
            50 feet of any railroad property and affecting          permanently mounted:
            any railroad bridge or trestle, tracks, road-          (1) Power cranes, shovels, loaders, diggers or
            beds, tunnel, underpass or crossing;                        drills; or
       (2) That indemnifies an architect, engineer or              (2) Road construction or resurfacing equipment
            surveyor for injury or damage arising out of:               such as graders, scrapers or rollers;
           (a) Preparing, approving, or failing to prepare     e. Vehicles not described in Paragraph a., b., c. or
                 or approve, maps, shop drawings,                   d. above that are not self-propelled and are
                 opinions, reports, surveys, field orders,          maintained primarily to provide mobility to
                 change      orders or        drawings and          permanently attached equipment of the following
                 specifications; or                                 types:
           (b) Giving directions or instructions, or failing       (1) Air compressors, pumps and generators,
                 to give them, if that is the primary cause of          including     spraying,     welding,   building
                 the injury or damage; or                               cleaning, geophysical exploration, lighting
       (3) Under which the insured, if an architect,                    and well servicing equipment; or
            engineer or surveyor, assumes liability for an         (2) Cherry pickers and similar devices used to
            injury or damage arising out of the                         raise or lower workers;
            insured s rendering or failure to render
                                                                f. Vehicles not described in Paragraph a., b., c. or
            professional services, including those listed
                                                                    d. above maintained primarily for purposes other
            in (2) above and supervisory, inspection,
                                                                    than the transportation of persons or
            architectural or engineering activities.
                                                                    cargo.




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         However, self-propelled vehicles with the 16. "Products-completed operations hazard":
         following types of permanently attached                   a. Includes all "bodily injury" and             "property
         equipment are not "mobile equipment" but will be              damage" occurring away from premises you own
         considered "autos":                                           or rent and arising out of "your product" or "your
        (1) Equipment designed primarily for:                          work" except:
             (a) Snow removal;                                        (1) Products that are still in your physical
            (b) Road maintenance, but not construction                     possession; or
                  or resurfacing; or                                  (2) Work that has not yet been completed or
             (c) Street cleaning;                                          abandoned. However, "your work" will be
                                                                           deemed completed at the earliest of the
        (2) Cherry pickers and similar devices mounted                     following times:
              on automobile or truck chassis and used to
              raise or lower workers; and                                 (a) When all of the work called for in your
                                                                               contract has been completed.
        (3) Air compressors, pumps and generators,
              including     spraying,   welding,      building            (b)  When    all of the work to be done at the job
              cleaning, geophysical exploration, lighting                      site  has   been completed if your contract
              and well servicing equipment.                                    calls for  work  at more than one job site.
    However, "mobile equipment" does not include any                      (c) When that part of the work done at a job
    land vehicles that are subject to a compulsory or                          site has been put to its intended use by
    financial responsibility law or other motor vehicle                        any    person or organization other than
    insurance law where it is licensed or principally                          another      contractor or subcontractor
    garaged. Land vehicles subject to a compulsory or                          working    on  the same project.
    financial responsibility law or other motor vehicle                    Work that may need service, maintenance,
    insurance law are considered "autos".                                  correction, repair or replacement, but which
13. "Occurrence" means an accident, including                              is otherwise complete, will be treated as
    continuous or repeated exposure to substantially the                   completed.
    same general harmful conditions.                               b. Does not include "bodily injury" or "property
14. "Personal and advertising injury" means injury,                    damage" arising out of:
    including consequential "bodily injury", arising out of           (1) The transportation of property, unless the
    one or more of the following offenses:                                 injury or damage arises out of a condition in
     a. False arrest, detention or imprisonment;                           or on a vehicle not owned or operated by
                                                                           you, and that condition was created by the
    b. Malicious prosecution;                                              "loading or unloading" of that vehicle by any
     c. The wrongful eviction from, wrongful entry into,                   insured;
         or invasion of the right of private occupancy of a           (2) The existence of tools, uninstalled equipment
         room, dwelling or premises that a person                          or abandoned or unused materials; or
         occupies, committed by or on behalf of its
         owner, landlord or lessor;                                   (3) Products or operations for which the
                                                                           classification, listed in the Declarations or in a
    d. Oral or written publication, in any manner, of                      policy Schedule, states that products-
         material that slanders or libels a person or                      completed operations are subject to the
         organization or disparages a person s or                          General Aggregate Limit.
         organization s goods, products or services;
                                                               17. "Property damage" means:
    e. Oral or written publication, in any manner, of
         material that violates a person s right of privacy;       a. Physical injury to tangible property, including all
                                                                       resulting loss of use of that property. All such
     f. The use of another s advertising idea in your                  loss of use shall be deemed to occur at the time
         "advertisement"; or                                           of the physical injury that caused it; or
    g. Infringing upon another s copyright, trade dress            b. Loss of use of tangible property that is not
         or slogan in your "advertisement".                            physically injured. All such loss of use shall be
15. "Pollutants" mean any solid, liquid, gaseous or                    deemed to occur at the time of the "occurrence"
    thermal irritant or contaminant, including smoke,                  that caused it.
    vapor, soot, fumes, acids, alkalis, chemicals and              For the purposes of this insurance, electronic data
    waste. Waste includes materials to be recycled,                is not tangible property.
    reconditioned or reclaimed.




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    As used in this definition, electronic data means       b. Includes:
    information, facts or programs stored as or on,            (1) Warranties or representations made at any
    created or used on, or transmitted to or from                  time with respect to the fitness, quality,
    computer      software, including systems and                  durability, performance or use of "your
    applications software, hard or floppy disks, CD-               product"; and
    ROMs, tapes, drives, cells, data processing devices
    or any other media which are used with                     (2) The providing of or failure to provide
    electronically controlled equipment.                           warnings or instructions.
18. "Suit" means a civil proceeding in which damages        c. Does not include vending machines or other
    because of "bodily injury", "property damage" or            property rented to or located for the use of
    "personal and advertising injury" to which this             others but not sold.
    insurance applies are alleged. "Suit" includes:     22. "Your work":
    a. An arbitration proceeding in which such              a. Means:
        damages are claimed and to which the insured
        must submit or does submit with our consent; or        (1) Work or operations performed by you or on
                                                                   your behalf; and
    b. Any other alternative dispute resolution
                                                               (2) Materials, parts or equipment furnished in
        proceeding in which such damages are claimed
                                                                   connection with such work or operations.
        and to which the insured submits with our
        consent.                                            b. Includes:
19. "Temporary worker" means a person who is                   (1) Warranties or representations made at any
    furnished to you to substitute for a permanent                 time with respect to the fitness, quality,
    "employee" on leave or to meet seasonal or short-              durability, performance or use of "your work";
    term workload conditions.                                      and
20. "Volunteer worker" means a person who is not your          (2) The providing of or failure to provide
    "employee", and who donates his or her work and                warnings or instructions.
    acts at the direction of and within the scope of
    duties determined by you, and is not paid a fee,
    salary or other compensation by you or anyone else
    for their work performed for you.
21. "Your product":
    a. Means:
      (1) Any goods or products, other than real
           property, manufactured, sold, handled,
           distributed or disposed of by:
          (a) You;
         (b) Others trading under your name; or
          (c) A person or organization whose business
               or assets you have acquired; and
      (2) Containers (other than vehicles), materials,
           parts or equipment furnished in connection
           with such goods or products.




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Bodily Injury Redefined


     Policy No.        Eff. Date of Pol.   Exp. Date of Pol.   Eff. Date of End.    Producer        Add’l Prem.        Return Prem.
  GLO 7367714-01         04/01/2020          04/01/2021                            73797000     $                  $




                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.



This endorsement modifies insurance provided under the:
Commercial General Liability Coverage Form


The definition of "bodily injury" in SECTION V – DEFINITIONS is replaced by the following:


3. "Bodily injury" means bodily injury, sickness or disease sustained by a person. This includes mental anguish, mental injury,
shock, fright or death resulting from bodily injury, sickness or disease.




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Broad Form Additional Insured Coverage – Owners,
Lessees Or Contractors – Scheduled Person or
Organization

    Policy No.       Eff. Date of Pol.     Exp. Date of Pol.       Eff. Date of End.       Producer No.          Add’l. Prem      Return Prem.

  GLO 7367714-01        04/01/2020            04/01/2021                                    73797000



                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

This endorsement modifies insurance provided under the:
   Commercial General Liability Coverage Part


          Name Of Additional Insured Person(s)
                  Or Organization(s):                                         Location And Description Of Covered Operations
          ONLY THOSE WEHRE REQUIRED BY                                              ONLY THOSE WHERE REQUIRED BY
                WRITTEN CONTRACT                                                          WRITTEN CONTRACT




A. Section II – Who Is An Insured is amended to include as an additional insured the person(s) or organization(s)
   shown in the Schedule of this endorsement.
B. The insurance provided to the additional insured shown in the Schedule of this endorsement applies only to "bodily
   injury", "property damage" or "personal and advertising injury" covered under Section I – Coverage A – Bodily Injury
   And Property Damage Liability and Section I – Coverage B – Personal And Advertising Injury Liability, but only
   with respect to liability for "bodily injury", "property damage" or "personal and advertising injury" caused:
   1. In whole or in part by your acts or omissions or the acts omissions of those acting on your behalf; or
   2. Unless prohibited by law, solely by acts or omissions of such additional insured, if coverage for sole acts or
      omissions of the additional insured is required by written contract or written agreement,
   and resulting from:
        a. Your ongoing operations; or
        b. "Your work" completed as included in the "products-completed operations hazard",
   performed for the additional insured at the location designated and described in the Schedule of this endorsement.
   However,
   1.    The Insurance afforded to such additional insured:


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          Only applies to the extent permitted by law; and
         a.    Will not apply to any insurance coverage that is not provided to you in this policy; and
     2. If coverage provided to the additional insured is required by a written contract or written agreement, the insurance
        afforded to such additional insured will not be broader than that which you are required by the written contract or
        written agreement to provide for such additional insured.
C. With respect to the insurance afforded to the additional insured shown in the Schedule of this endorsement the
   following additional exclusion applies:
     This insurance does not apply to:
         "Bodily injury", "property damage" or "personal and advertising injury" arising out of the rendering or failure to
         render any professional architectural, engineering or surveying services including:
         a.     The preparing, approving or failing to prepare or approve maps, shop drawings, opinions, reports, surveys,
              field orders, change orders or drawings and specifications; and
         b.    Supervisory, inspection, architectural or engineering activities.
     This exclusion applies even if the claims against any insured allege negligence or other wrongdoing in the
     supervision, hiring, employment, training or monitoring of others by that insured, if the "occurrence" which caused the
     "bodily injury" or "property damage", or the offense which caused the "personal and advertising injury", involved the
     rendering of or the failure to render any professional architectural, engineering or surveying services.
D. The additional insured shown in the Schedule of this endorsement must see to it that:
     1. We are notified as soon as practicable of an "occurrence" or offense that may result in a claim;
     2. We receive written notice of a claim or "suit" as soon as practicable; and
     3. A request for defense and indemnity of the claim or "suit" will promptly be brought against any policy issued by
        another insurer under which such additional insured may be an insured in any capacity. This provision does not
        apply to insurance on which the additional insured is a Named Insured, if the written contract or written agreement
        requires that this insurance be primary and non-contributory.
E. For purposes of the coverage provided by this endorsement:
     1. The following is added to the Other Insurance Condition under Section IV – Commercial General Liability
        Conditions:
         Primary and Noncontributory insurance
         This Insurance is primary to and will not seek contribution from any other insurance available to an additional
         insured under this endorsement provided that:
         a.      The additional insured is a Named Insured under such other insurance; and
         b.    You are required by a written contract or written agreement that this insurance be primary and not seek
              contribution from any other insurance available to the additional insured.
     2. The following paragraph is added to Paragraph 4.b. of the Other Insurance Condition under Section IV –
        Commercial General Liability Conditions:
         This insurance is excess over:
         Any of the other insurance, whether primary, excess, contingent or on any other basis, available to an additional
         insured, in which the additional insured on our policy is also covered as an additional insured on another policy
         providing coverage for the same "occurrence", offense, claim or "suit". This provision does not apply to any policy
         in which the additional insured is a Named Insured on such other policy and where our policy is required by a
         written contract or written agreement to provide coverage to the additional insured on a primary and non-
         contributory basis.
F.    With respect to the insurance afforded to the additional insured(s) under this endorsement, the following is added to
     Section III – Limits Of Insurance:

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    If coverage provided to the additional insured is required by a written contract or written agreement, the most we will
    pay on behalf of the additional insured is the amount of insurance:
    1.    Required by the written contract or written agreement; or
    2.   Available under the applicable Limits of Insurance shown in the Declarations,
    whichever is less.


    This endorsement shall not increase the applicable Limits of Insurance shown in the Declarations.


All other terms and conditions of this policy remain unchanged.




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  POLICY NUMBER: GLO        7367714-01                                          COMMERCIAL GENERAL LIABILITY
                                                                                               CG 20 11 04 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 ADDITIONAL INSURED – MANAGERS OR
                        LESSORS OF PREMISES
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                                   SCHEDULE

  Designation Of Premises (Part Leased To You):
  ALL LEASED PREMISES




  Name of Person(s) Or Organization(s) (Additional Insured):
  ANY PERSON OR ORGANIZATION TO WHOM OR TO WHICH YOU ARE REQUIRED TO
  PROVIDE ADDITIONAL INSURED STATUS IN A WRITTEN CONTRACT OR WRITTEN
  AGREEMENT EXECUTED PRIOR TO LOSS, EXCEPT WHERE SUCH CONTRACT OR
  AGREEMENT IS PROHIBITED BY LAW.




  Additional Premium:         INCL.
  Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

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 A. Section II – Who Is An Insured is amended to              2. If coverage provided to the additional insured is
    include as an additional insured the person(s) or            required by a contract or agreement, the
    organization(s) shown in the Schedule, but only              insurance afforded to such additional insured will
    with respect to liability arising out of the                 not be broader than that which you are required
    ownership, maintenance or use of that part of the            by the contract or agreement to provide for such
    premises leased to you and shown in the                      additional insured.
    Schedule and subject to the following additional      B. With respect to the insurance afforded to these
    exclusions:                                              additional insureds, the following is added to
    This insurance does not apply to:                        Section III – Limits Of Insurance:
    1. Any "occurrence" which takes place after you          If coverage provided to the additional insured is
        cease to be a tenant in that premises.               required by a contract or agreement, the most we
    2. Structural alterations, new construction or           will pay on behalf of the additional insured is the
        demolition operations performed by or on             amount of insurance:
        behalf of the person(s) or organization(s)           1. Required by the contract or agreement; or
        shown in the Schedule.                               2. Available under the applicable Limits of
    However:                                                     Insurance shown in the Declarations;
    1. The insurance afforded to such additional             whichever is less.
        insured only applies to the extent permitted         This endorsement shall not increase the applicable
        by law; and                                          Limits of Insurance shown in the Declarations.




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Self Insured Retention – With Qualifying Deductible Amount

                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      Policy No. GLO 7367714-01                                                             Effective Date: 04/01/2020


                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
dditional – Return Premium



This endorsement modifies insurance provided under the:

Commercial General Liability Coverage Part
Employee Benefits Liability Coverage Part
Liquor Liability Coverage Part
Stop Gap Employers Liability Coverage Part


Under the provisions of this endorsement, you are responsible for payment of all or part of "defense costs" and
"self insured retention".


                                                      SCHEDULE – SELF INSURED RETENTION AMOUNTS

      You may select only one choice of Option 1, 2, 3 or 4 below. In addition, Option 5 may or may not be selected.


      Ƒ Option 1                            $                        Per Incident – You Pay Defense Costs Within SIR

      Ƒ; Option 2                       $ 2,000,000                  Per Incident – You Pay All Defense Costs

      Ƒ Option 3                            $
                                                                     Per Incident – All Incidents Other Than Products-Completed Operations –
                                                                     You Pay Defense Costs Within SIR
                                                                     Per Incident – Products-Completed Operations Incidents Only – You Pay
                                            $
                                                                     Defense Costs Within SIR
                                   If only one amount is shown, that same amount also applies as respects the Option 3 Self Insured
                                   Retention Amount not shown.

      Ƒ Option 4                            $
                                                                     Per Incident – All Incidents Other Than Products-Completed Operations –
                                                                     You Pay All Defense Costs
                                                                     Per Incident – Products-Completed Operations Incidents Only – You Pay
                                            $
                                                                     All Defense Costs
                                   If only one amount is shown, that same amount also applies as respects the Option 4 Self Insured
                                   Retention Amount not shown.
      If no Self Insured Retention Amount(s) is shown above for Option 1, 2, 3 or 4, Option 1 – Per Incident – You Pay
      Defense Costs Within SIR for an amount of $1,000,000 is deemed to be selected.




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     ƑOption 5             $                        Aggregate – Adjustable
                                                     Based on a rate of $                per           (units) of          (exposure)
                                                     Example: based on a rate of $3.00 per $100 of WC Payroll
                            $                        Minimum Aggregate
                                                     OR
     ƑOption 5             $                        Aggregate – Flat

                                                     Periodic Reporting Requirement
                                                     (If no information is provided at left, the reporting requirement is quarterly.)
                                                     Level of Notification of Potential Penetration as a % of the Self Insured
                     50 %
                                                     Retention (If no percentage information is provided at left, 25% applies.)
        SEDGWICK CSM & GALLAGHER
                                                     Authorized Claim Service Provider
                BASSETT


The insurance provided by this policy is subject to the following additional provisions, which in the event of conflict with any
other provisions elsewhere in the policy, shall control the application of the insurance to which this endorsement applies:
I.     Your Obligations – Self Insured Retention
       A. The Self Insured Retention (SIR) Amount(s) shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS
          of this endorsement apply as follows:
          1. Option 1 Per Incident – You Pay Defense Costs Within SIR
              If Option 1 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
              retention" and "defense costs" for each "incident", until you have paid "self insured retention" and "defense
              costs" equal to the Per Incident – You Pay Defense Costs Within SIR amount, subject to the provisions of
              Paragraph A.5. below.
              The Per Incident – You Pay Defense Costs Within SIR amount is the most you will pay for "self insured
              retention" and "defense costs" arising out of each "incident", regardless of:
              a. The number of persons or organizations making claims or bringing "suits" because of the "incident"; or
              b. The number of coverages applicable to the "incident" under this policy,
              except for any "defense costs" we may elect to pay.
              If any final judgment or settlement and "defense costs" are less than such Self Insured Retention Amount(s),
              we shall have no obligation to pay "self insured retention" or "defense costs" under this policy.
          2. Option 2 Per Incident – You Pay All Defense Costs
              If Option 2 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
              retention" for each "incident", until you have paid "self insured retention" equal to the Per Incident – You Pay
              All Defense Costs amount, subject to the provisions of Paragraph A.5. below.
              The Per Incident – You Pay All Defense Costs amount is the most you will pay for "self insured retention"
              arising out of each "incident", regardless of:
              a. The number of persons or organizations making claims or bringing "suits" because of the "incident"; or
              b. The number of coverages applicable to the "incident".
              Under this Option 2, you are also obligated to pay all "defense costs", both within and excess of the Self Insured
              Retention Amount, except for any "defense costs" we may elect to pay.




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3. Option 3 Per Incident – You Pay Defense Costs Within SIR
   If Option 3 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
   retention" and "defense costs" for each "incident", until you have paid "self insured retention" and "defense
   costs" equal to the:
   a. Per Incident – All Incidents Other Than Products-Completed Operations – You Pay Defense Costs
      Within SIR amount; or
   b. Per Incident – Products-Completed Operations Incidents Only – You Pay Defense Costs Within SIR
      amount,
   subject to the provisions of Paragraph A.5. below.
   The Per Incident – All Incidents Other Than Products-Completed Operations – You Pay Defense Costs
   Within SIR amount is the most you will pay for "self insured retention" and "defense costs" arising out of each
   "incident", regardless of the number of persons or organizations making claims or bringing "suits" because of
   the "incident" or the number of coverages, other than "products-completed operations hazard" coverage,
   applicable to the "incident", except for any "defense costs" we may elect to pay.
   The Per Incident – Products-Completed Operations Incidents Only – You Pay Defense Costs Within SIR
   amount is the most you will pay for "self insured retention" and "defense costs" arising out of each "products-
   completed operations hazard" "incident", regardless of the number of persons or organizations making claims
   or bringing "suits" because of the "incident", except for any "defense costs" we may elect to pay.
   If any final judgment or settlement and "defense costs" are less than such Self Insured Retention Amount(s),
   we shall have no obligation to pay "self insured retention" or "defense costs" under this policy.
4. Option 4 Per Incident – You Pay All Defense Costs
   If Option 4 is selected, it is a condition precedent to our liability that you make actual payment of "self insured
   retention" for each "incident", until you have paid "self insured retention" equal to the:
   a. Per Incident – All Incidents Other Than Products-Completed Operations – You Pay All Defense
      Costs amount; or
   b. Per Incident – Products-Completed Operations Incidents Only– You Pay All Defense Costs amount,
   subject to the provisions of Paragraph A.5. below.
   The Per Incident – All Incidents Other Than Products-Completed Operations – You Pay All Defense
   Costs amount is the most you will pay for "self insured retention" arising out of each "incident", regardless of
   the number of persons or organizations making claims or bringing "suits" because of the "incident" or the
   number of coverages, other than "products-completed operations hazard" coverage, applicable to the
   "incident".
   The Per Incident – Products-Completed Operations Incidents Only– You Pay All Defense Costs amount
   is the most you will pay for "self insured retention" arising out of each "products-completed operations hazard"
   "incident", regardless of the number of persons or organizations making claims or bringing "suits" because of
   the "incident".
   Under this Option 4, you are also obligated to pay all "defense costs", both within and excess of the Self Insured
   Retention Amount, except for any "defense costs" we may elect to pay.
5. Aggregate Amount
   a. If Option 5 is selected as respects Paragraphs A.1. or A.3. above, it is a condition precedent to our liability
      that you make actual payment of "self insured retention" and "defense costs" equal to the aggregate
      amount. When you have paid "self insured retention" and "defense costs" equal to the aggregate amount,
      we will pay any further "self insured retention" and "defense costs" incurred during the remainder of the
      policy period. Such aggregate amount is the most you will pay for all "self insured retention" and "defense
      costs" incurred under this policy, subject to Paragraphs c.(1) or (2) below, whichever is applicable.
   b. If Option 5 is selected as respects Paragraphs A.2. or A.4. above, it is a condition precedent to our liability
      that you make actual payment of "self insured retention" equal to the aggregate amount. When you have
      paid "self insured retention" equal to the aggregate amount, we will pay any further "self insured retention"


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           incurred during the remainder of the policy period. This aggregate amount, however, applies only to your
           total incurred "self insured retention" during the policy period and does not apply to your continued obligation
           for payment of "defense costs". Such aggregate amount is the most you will pay for all "self insured
           retention" incurred under this policy, subject to Paragraphs c.(1) or (2) below, whichever is applicable.
       c. (1) If an Aggregate – Adjustable amount is shown, the final aggregate amount will be determined at the
              end of the policy period by an audit of your records. Such audit will be based on the rate shown under
              the Aggregate – Adjustable amount multiplied by the final audited exposure. The amount shown as
              the Aggregate – Adjustable amount is an estimated amount that will be finalized based on what the
              audit of your records will develop.
               In no event will the final audited aggregate amount be less than the Aggregate – Adjustable amount,
               shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS, unless a Minimum Aggregate
               amount is shown. If a Minimum Aggregate amount is shown, the final audited Aggregate –
               Adjustable amount will not be less than the Minimum Aggregate amount.
           (2) If an Aggregate – Flat amount is shown, such amount is the final applicable aggregate amount, which
               will not be adjusted.
       If no entry appears in the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement as an
       aggregate amount, then your obligation for payment of "self insured retention" and "defense costs" applies only
       in accordance with the selected Paragraph A.1., A.2., A.3. or A.4. above.
B. Payments By Others
   Payments by others, including but not limited to additional insureds or insurers, do not serve to satisfy your "self
   insured retention" obligations or your obligations for payment of "defense costs". However, the foregoing does not
   apply to any “qualifying deductible amount.”
C. Deductible Provisions
   Deductible provisions apply in addition to, but do not serve to satisfy the "self insured retention" requirements of
   this endorsement. You must satisfy the "self insured retention" requirements of this endorsement prior to the
   application of any separate deductible provisions provided under this policy.
D. Other Self Insured Retention Provisions
   1. The Self Insured Retention Amount(s) shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS
      of this endorsement apply separately to each consecutive annual period and to any remaining period of less
      than 12 months, starting with the beginning of the policy period shown in the Declarations, unless the policy
      period is extended after issuance for an additional period of less than 12 months. In that case, the additional
      period will be deemed part of the last preceding period for purposes of determining the applicable Self Insured
      Retention Amount(s).
   2. Your obligation to pay the Self Insured Retention Amount(s) is not fulfilled by:
       a. The payment of "self insured retention" under any other policy; or
       b. Any payment made by us or another insurance company,
       even if the payments described under Paragraph 2.a. or 2.b. apply to the same "incident" associated with the
       "self insured retention" amount due under this policy. However, this Paragraph 2. does not apply to any
       “qualifying deductible amount.”
   3. If more than one policy issued by us provides sums payable because of covered damages sustained from a
      single continuous covered "incident", it is a condition precedent to our liability for payment of these covered
      damages that you first shall pay all applicable "self insured retention" of each policy for which coverage applies
      to the continuous "incident".
E. Your Insolvency or Bankruptcy
   To the fullest extent allowable by law, your satisfaction of the "self insured retention" and any applicable "defense
   costs", as a condition precedent to our liability, applies regardless of your insolvency or bankruptcy.




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F. Settlement of Claim
   You may not settle any claim or "suit" which exceeds the Self Insured Retention Amount(s) shown in the
   SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement without our written permission to do
   so. If you fail to obtain such written permission, we shall have no obligation to provide coverage for that claim or
   "suit" under this policy.
G. Authorized Claim Service Provider
   1. You shall employ a claim service provider acceptable to us, as shown in the Authorized Claim Service
      Provider of the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement for the purpose
      of providing claim services for settlement of losses. You shall pay all fees, charges and costs of the claim
      service provider in addition to "self insured retention" and applicable "defense costs", without any
      reimbursement from us.
   2. In the event of cancellation, expiration or revision of the claims service contract between you and the claim
      service provider, you shall notify us within 10 days of such change and shall replace the claim service provider
      with another claim service provider that is acceptable to us.
   3. You shall allow us to audit the claim service provider and provide supervisory claim service, at our expense.
H. Notification of Potential Penetration
   1. You shall see to it that we are notified promptly of an "incident" which may result in a claim under this policy.
      Notice must include:
       a. How, when and where the "incident" took place;
       b. The names and addresses of any injured persons and witnesses; and
       c. The nature and location of any injury or damage arising out of the "incident".
   2. You shall notify us promptly, per Paragraph H.1. above, in the event of any "incident", without regard to liability,
      which results in any of the following injuries or damages:
       a. (1) Death;
           (2) Brain damage;
           (3) Paraplegic or quadriplegic impairment;
           (4) Amputation or serious functional impairment of any major limb;
           (5) Severe burns involving more than 25% of the body or causing serious disfigurement;
           (6) Sensory impairment (sight, hearing, taste or smell);
           (7) Severe internal body organ damage or loss;
           (8) Multiple fractures involving more than one body part;
           (9) Permanent and total disability;
           (10)Sexual abuse or molestation;
           (11)Significant psychological / neurological involvement;
           (12)Occupational disease; or
       b. Any construction defect damages arising from attached housing such as condominiums, townhomes or
          from multiple structures.
   3. You must notify us promptly of any:
       a. (1) Potential exposure;
           (2) Loss reserve established; or
           (3) Potential judgment, without regard to liability,




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                which equals or exceeds the Level of Notification of Potential Penetration as a % of the Self Insured
                Retention percentage amount shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS of
                this endorsement; or
            b. "Suit", in the event a "suit" is filed, even if the amount claimed in the "suit" is unspecified or less than the
               Self Insured Retention Amount(s).
   I.   Reporting - Self Insured Retention
        1. You must report claims or "suits" per the following:
            You must monitor the cumulative "self insured retention" and "defense costs" sustained and report those total
            amounts to us in accordance with the frequency of report indicated in the Periodic Reporting Requirement of
            the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement. However, if the total of all
            "self insured retention" and "defense costs" under Options 1 or 3 or the total of all "self insured retention" under
            Options 2 or 4 should at any time during the policy period attain an amount equal to 75% of the Aggregate –
            Adjustable amount or Aggregate – Flat amount, if applicable, you are required in that event to make an
            immediate report to us as to total "self insured retention" and "defense costs" sustained at that time.
            The periodic report that you send to us must be in a format that is acceptable to us, and include an accounting
            of all individual losses and "defense costs" incurred as of the date of the report.
        2. Within 45 days after the end of the policy term, you must give us a listing of all existing claims or "suits" within
           the Self Insured Retention Amounts. At a minimum, such listing will include the following for each claim or
           "suit":
            a. A description of each claim or "suit";
            b. The date of the "incident";
            c. The amounts paid and reserved for future payments for loss and "defense costs"; and
            d. The current status of the claim or "suit".
        3. Quarterly thereafter, you are required to give us an updated listing of the status of all new and existing claims
           or "suits", both paid and reserved, until all claims and "suits" for the policy period are closed or settled.
        4. Compliance with the reporting requirements set forth in this endorsement is a condition precedent to coverage.
   J. Representations
        By acceptance of this policy you agree that you will not procure insurance for all or any part of the Self Insured
        Retention Amounts shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement. If
        such insurance is procured, there will be no coverage under this policy as respects those Self Insured Retention
        Amounts.
II. Our Rights and Obligations Excess of the Self Insured Retention
   A. Self Insured Retention – Your Failure to Respond
        In the event of your refusal to respond to your obligations for the payment of "self insured retention" or "defense
        costs" for any reason, we shall not make payments for you, nor in any event shall we be required to substitute for
        you as respects your responsibility for payment of these "self insured retention" or "defense costs".
   B. Damages/Defense Costs Excess of the Self Insured Retention – Per Incident
        We shall be liable only for the amount of covered damages and if applicable, "defense costs" in excess of the Self
        Insured Retention Amount(s) shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this
        endorsement, subject to the Limits of Insurance and other applicable provisions of our policy. We shall have no
        obligations under this policy unless you have satisfied your "self insured retention" obligations.




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   C. Damages/Defense Costs Excess of the Self Insured Retention - Aggregate
       If an Aggregate – Adjustable amount or Aggregate – Flat amount is shown in the SCHEDULE – SELF INSURED
       RETENTION AMOUNTS of this endorsement, we shall be liable for the amount of covered damages and if
       applicable, "defense costs" excess of such aggregate amount, subject to the Limits of Insurance and other
       applicable provisions of our policy. We shall have no obligations under this policy unless you have satisfied your
       "self insured retention" obligations.
   D. Settlement of Claims
       1. When your liability is reasonably anticipated to exceed the remaining Self Insured Retention Amount(s), we
          shall have, at our option, the right to ask you to tender the remaining Self Insured Retention Amount(s) and
          have the right to negotiate the settlement of any claim. We shall obtain your consent prior to entering into any
          settlement of any claim which is equal to or less than the Self Insured Retention Amount(s).
           If, however, you refuse to consent to any settlement recommended by us within the "self insured retention" and
           elect to contest the claim or continue with any legal proceedings in connection with such claim, our liability for
           that claim shall not exceed the amount determined by subtracting the "self insured retention" from the amount
           for which the claim could have been settled on the date you refused to consent. We shall have no liability with
           respect to such claim if this difference is zero or a negative number.
           For Paragraphs A.1. and A.3. under I. Your Obligations – Self Insured Retention, we shall have no
           responsibility for "defense costs" incurred after the date you refused to consent.
       2. With respect to any claim under this insurance which has been tendered to us and which may exceed the Self
          Insured Retention Amount(s), we may pay any or all of the Self Insured Retention Amount(s) on your behalf to
          defend or to effect settlement of such claim. Such amount paid by us shall be reimbursed promptly by you.
       3. At our expense, we shall have the right, but not the duty to associate counsel and you have the duty to cooperate
          with any counsel we associate on a case, regardless of whether the covered damages or "defense costs" for
          which coverage is provided under this policy appear likely to exceed the Self Insured Retention Amount(s)
          shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement.
   E. Application of Recovered Amounts
       We have your rights and the rights of persons entitled to the benefits of this insurance to recover sums that are
       reimbursable under this endorsement and any "self insured retention" and "defense costs" from anyone liable for
       the injury or covered damages. You will do everything necessary to protect those rights for us and to help us
       enforce them.
       If we recover any payment made under this policy from anyone liable for injury or covered damages, the recovered
       amount will first be applied to any payments made by us in excess of the Self Insured Retention Amount(s) shown
       in the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement. The remainder of the
       recovery, if any, will then be applied to reduce the "self insured retention" and "defense costs" reimbursed or
       reimbursable by you as respects that injury or covered damages.
III. Midterm Cancellation
   In the event of a midterm cancellation of this policy, Option 5 – Aggregate – Adjustable amount or Aggregate – Flat
   amount shown in the SCHEDULE – SELF INSURED RETENTION AMOUNTS of this endorsement is not subject to
   any pro rata reduction. Such aggregate amount will apply as if the policy term had not been shortened.
IV. Definitions
   The following words and phrases that appear in quotation marks have special meaning and are additional definitions
   that apply solely to this endorsement:
   A. "Defense Costs" means:
       Expenses directly allocable to specific claims and shall include but not be limited to all Supplementary Payments
       as defined under the policy; all court costs, fees and expenses; costs for all attorneys, witnesses, experts,
       depositions, reported or recorded statements, summonses, service of process, legal transcripts or testimony, copies
       of any public records; alternative dispute resolution; interest; investigative services, medical examinations,
       autopsies, medical costs containment, declaratory judgment, subrogation and any other fees, costs or expenses



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        reasonably chargeable to the investigation, negotiation, settlement or defense of a claim or a loss under the policy.
        However, the fees, charges and costs of a claim service provider are not considered "defense costs".
    B. "Incident" means:
        As defined or used in our policy, an "occurrence", offense, claim, accident, act, error or omission, common cause,
        disease or any other such event that is or is alleged to be the cause or result of a loss involving the:
        1. Liability coverages; or
        2. Medical expenses,
        of our policy and to which a "self insured retention" applies.
    C. “Qualifying deductible amount” means the Deductible Amount for all sums payable sustained by one or more
       persons or organizations, for which coverage is provided under policy no. GLO 6951376 issued to Amazon
       Logistics, Inc., so long as such Deductible Amount or Deductible Amounts relate to any "occurrence", offense,
       claim, accident, act, error or omission, common cause, disease or any other event, as defined or used in such
       policy.
    D. "Self insured retention" means:
        1. The amount or amounts which:
            a. You must pay for all covered damages which you or any insured shall become legally obligated to pay; and
            b. You pay for medical expenses,
            for which coverage is provided under this policy, sustained by one or more persons or organizations; or
        2. Any “qualifying deductible amount”.


All other terms and conditions of this policy remain unchanged.




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                  Exhibit “B”
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         CONFIDENTIAL
         DPL4

                                                      LEASE AGREEMENT (“Lease”)
                                        (1 Geoffrey Drive, Falls Township, Bucks County, Pennsylvania)




                                                                                                             !
                                                   CERTAIN TERMS AND DEFINITIONS
          “Landlord”:                             AG-EIP 1 Geoffrey Drive, L.L.C., a Delaware limited liability
                                                                                                         bility
                                                                                                            ity com
                                                                                                                company.




                                                 AL
          “Tenant”:                               Amazon.com Services LLC, a Delaware limited liability
                                                                                                    ity company.
          “Effective Date”:                       Defined on the signature page.
          “Building”:                             The building consisting of approximately 415,000
                                                                                                 00 square
                                                                                                        are feet and commonly
                                                                                                                     commo
                                                                                                                     comm       known
                                                  as 1 Geoffrey Drive, Falls Township, Pennsylvania
                                                                                             ylvania
                                                                                               lvan as depicted on Exhibit
                                                                                                                       Ex      A. Any
                                                  mezzanine or floors added to the Building will not be included in the square footage
                                                  of the Premises.




                                               TI
          “Land”:                                 The land described on Exhibit A-1.
          “Premises”:                             The Land and the Building, as depicted
                                                                                   icted
                                                                                    cted on Exhibit
                                                                                            Exhib A.A.
          “Tenant’s Proportionate Share”:         100% of the Premises.
          “Lease Term”:                           From the Commencement Date   ate (defined
                                                                                      fined below)
                                                                                            be       throu
                                                                                                     through February 28, 2022, subject
                                                  to the extension and termination
                                                                            nation rights set forth in th
                                                                                                       this Lease.

          “Base Rent”:
                                            EN    See Base Rent and Operating
          “Initial Annual Estimated Operating $1.15 per square foot
          Expense Payments”:

          “Brokers”:
                                                                oot
                                                                     perating Expense
                                                                              Exp
                                                                 ot of the Building


                                                  Jones Lang LaSalle
                                                                           Building..
                                                                                      Exclusions,
                                                                                      Exclu       Addendum 1.




                                                                 lle for Landlord and Avison Young and KBC Advisors for Tenant.
          “Work”; “Initial Improvements”:         Defined in
                                                           n Work Letter, Addend
                                                                          Addendum 5.
          “Lender”:                               Bank of Amer
                                                          Am
                                                          America,
                                                               ica, N.A.
                                          ID
          “Tenant Guarantor”:                     Amazon.com,
                                                   mazon.com,
                                                    azon.co Inc.
          “Permitted Exceptions”:                 The encumbrances affec
                                                                     affecting the Land identified on Exhibit B, and any additional
                                                  matters
                                                   atters permitted under
                                                                    unde Section 1(a).
          Addenda (incorporated into this           1       Base
                                                            Base Rent
                                                                 R and Operating Expense Exclusions
          Lease by this reference):                 2       Extension
                                                            Extensio
                                                               ensio Options
                                                    3       Additional Terms and Conditions
                                                            Additi
                      NF


                                                    4       Notice Addresses
                                                            Noti
                                                    5       Work Letter
                                                            W

                              ed into this Lease A
          Exhibits (incorporated                            Site Plan for Premises
          by this reference):                    A-1
                                                 A -1       Legal Description of Land
                                                 B          Permitted Exceptions
                                                 C          Form of Notice of Lease Term Dates
                                                 D          Maintenance Obligations
                                                 E          Form of Estoppel Certificate
                                                 F          Intentionally Deleted
CO




                                                 G          Intentionally Deleted
                                                 H          Form of Limited Parent Guaranty
                                                 I          Form of Visitor NDA

         1..      Grant; Per
                         Permitte
                         Permitted Exceptions; Commencement Date; Notice of Lease Term Dates; Cooperation.
                    (a)     Gra Permitted Exceptions. Landlord leases to Tenant, for the Lease Term, the Premises. Landlord will
                            Gran
                            Grant;
         promptly
           omptly
            mptly provide copies
                            co      of all notices it receives of potential or actual default under the Permitted Exceptions, except for
         noticess from Land
                        Landlord’s lenders. Landlord will not voluntarily encumber or permit the Premises to be encumbered, or modify
                        Landl



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         any Permitted Exceptions, in a manner that would materially affect Tenant’s use or operations or increase     se Tenant’s
                                                                                                                          Tenant costs,
                                                                                                                          Tenan
         without Tenant’s prior consent (provided no Tenant consent is required with respect to Landlord’s financing,inancing,  subject to
                                                                                                                             g, subje
         Section 27). If Tenant does not respond to such request within twenty (20) days, then Landlord may sendd Tenant an additional
                                                                                                                                additiona
                                                                                                                                 dditiona




                                                                                                                   !
         copy of the notice stating “FAILURE TO RESPOND WITHIN 5 BUSINESS DAYS WILL CONSTITUTE                  NSTITUTE DEEMED
         APPROVAL,” and, if Tenant does not respond within five (5) Business Days, the request will be deemed approved. Upon        Up




                                                                                              L
         request of Landlord, Tenant shall enter into a written agreement confirming that this Lease is subordinate
                                                                                                           ordinatee to any encumbrance
                                                                                                                            encumbran
                                                                                                                            encumbra
         entered into by Landlord after the Effective Date pursuant to this Section 1(a), provided, however,
                                                                                                         ver, that Tenant’s  obligation to
                                                                                                                       ant’s obligati
         enter into a subordination agreement relating to any mortgage shall be governed by Section 27).
                                                                                                       7).
                  (b)      Commencement Date; Notice of Lease Term Dates. The “Commencement               Date”
                                                                                                            ate”” is the earlier of (i)
                                                                                                       nt Date                      ( the date




                                                                                           IA
         Tenant occupies any portion of the Premises for the purpose of conducting business or (ii)ii)
                                                                                                    i) the later of (1) Octo
                                                                                                                          O
                                                                                                                          October
                                                                                                                              ber 1, 2020 (the
         “Anticipated Commencement Date”), and (2) the actual date of Substantial Completion     n of the Work (def(defined in Work Letter,
         Addendum 5) or the date Substantial Completion would have occurred but for a Tenant Delay       Dela (defined
                                                                                                                   define iin Work Letter,
         Addendum 5). Following the Commencement Date, Landlord and Tenant will execute      xecute a Notice of Lease Term Dates in the
         form attached as Exhibit C. The term of this Lease for purposes of 11 U.S.C. § 365(h)(1)(A)(ii) or any similarsi      federal or state
         bankruptcy laws will commence on the Effective Date, but measurement off its duration and the ti           tim
                                                                                                                    time for performance of




                                                                      NT
         obligations hereunder will be governed by the other provisions of this Lease.. For the avoidanc
                                                                                                avoidance of doubt,
                                                                                                                dou the following actions
         by Tenant shall not be construed as “conducting business”: i) testing equipment,                  product delivery tests, iii) onsite
                                                                                    ment, ii) conducting pro
                                                                                                           prod
         employee training, or iv) receipt of merchandise related to any of the foregoing
                                                                                     oing Tenant activities.
                                                                                  regoing         activities
                   (c)       Cooperation. At Tenant’s request, Landlord will reasonably cooperate
                                                                                             ooperate with Tenant as may be required for
         Tenant to obtain, maintain, or modify any approvals or Incentives (including
                                                                                including cooperation in Tenant’s filing of applications and
         reports, as well as entering into agreements with Authorities for  orr Incentives),
                                                                                Incentive or to perf
                                                                                                  perform its obligations under this Lease
         (“Cooperation Efforts”). Cooperation Efforts may include execution
                                                                          xecution of documents,
                                                                                        docum       making appearances, and taking other
         actions as Tenant may reasonably request, provided that Landlord shall not be obligatedob         to incur any cost which is not
         reimbursed by Tenant or any liability in connection with    h Cooperation Efforts. IIn any case when Landlord is obligated to
         E
         perform Cooperation Efforts, all reasonable third-party costs
                                                                    osts incurred by Landlo
         will be reimbursed by Tenant within thirty (30) days off receipt
                                                                                       Landlord in connection with its Cooperation Efforts
                                                                       pt of invoice, provided
                                                                                      provid
                                                                                      provi    that Landlord will notify Tenant if Landlord
         anticipates that its third party costs will exceed $    .
         2.       Condition of Premises. Without limiting     ting
                                                               ing aan
                                                                    anyy of Landlord’s obligations,
                                                                                         ob
                                                                                         o            representations, or warranties under this
         Lease, Tenant will accept the Premises in its condition
                                                            ondition as of the CoCommencement Date, provided that Landlord shall cause the
                                                                                 Comm
      ID
         Premises to conform to the delivery obligationsonss in Work
                                                                Wo Lette Letter, Addendum 5, and to be in good order and operating condition
                                                                              r, Adde
                                                                                 Ad
         and in compliance with Legal Requirements    nts as of the Commencem
                                                                      Commencement Date. Landlord represents and warrants to Tenant that
         (a) Landlord has the full right and powerr too execute and perform under this Lease; (b) Landlord is the sole fee simple owner of
         the Building and the Land, subject onlyy to the Permitted Exceptions;
                                                                        Excepti
                                                                        Except       (c) as of the Commencement Date, Landlord has no actual
         knowledge of any newly-enacted, pending,
                                                ending, proposed,        threatened
                                                         proposed, or thre
                                                                         t           land use actions, condemnation proceedings, or litigation
         that would in any way prevent or inhibit
                                             nhibi Tenant’s
                                                        nant use of the Premises as contemplated by this Lease; (d) the Land constitutes a
         single tax lot; (e) the mortgage inn favor of Len
                                                        Lender dated December 14, 2018, and recorded December 24, 2018, in the public
   NF


         records of Bucks County, Pennsylvania,        the only mortgage
                                         nsylvania, is th        mor         encumbering the Building and the Land; and (f) Landlord is not in
         default under such mortgage  ge or any loan document
                                                       docum       rrelated thereto and there is no event or condition that, with the giving of
         notice or the passage of time,                   constitute
                                     me, or both, would consti
                                                          cons         a default by Landlord thereunder. The term “mortgage” as used in this
         Lease will be deemed to  o include deeds
                                                ds of trust, security
                                                             se
                                                             s         assignments, and any other similar encumbrances, and any reference to
         the “lienholder” of a mortgage will be deemed to include the beneficiary under a deed of trust.
         3.       Use.
                    (a)        Permitted Uses.
                                          Uses. Tenant
                                                  Tenan may use the Premises for the purpose of receiving, storing, assembling, shipping,
                                                  Ten
         distributing, preparing, selling, and serving
                                                    s       as pick-up/drop-off location for products, materials, food, grocery, and liquor
CO



         items; parking,
                     king,  storage,, and use (inc
                         g, storage            (including driving into and through the Building for loading, unloading and parking inside of
         the Building)
                   ding)) of automobiles, s, trucks,
                                             tr
                                             tru      machinery, and trailers, including outdoor loading and unloading; outdoor storage of
         Tenant’st’s Property;            making products on demand; warehouse and office use; ancillary and related uses for any of the
                          erty; printing; ma
         foregoing;
              going;; and, so long as the named Tenant as of the Effective Date or any Tenant Affiliate is the tenant hereunder, any other
              going
         usee in compliance with
                               w Legal
                                     Leg Requirements (provided that if the tenant hereunder is an unaffiliated Transferee, then any other
         usee in compliance withw LegalL      Requirements will be allowed, subject to Landlord’s prior consent) (all of the above being
         “Permitted
            erm        Uses”).
                       Uses”).. Subject
                                Sub
                                S        to compliance with the terms of this Lease, Tenant may use the Premises twenty-four (24) hours per
         day,
           ay,
            y, every
               ever day.
                      day. Landlord
                            Land       shall use reasonable efforts to enforce its rights, and shall perform its obligations, under agreements
         affecting       Premises to which Landlord is a party or under the Permitted Exceptions. As Tenant or its affiliate is licensed to
               ting the Premi



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         sell alcohol, certain restrictions apply to contracts with an entity that imports, manufactures, or distributes alcoholic
                                                                                                                           cohol ic bbeverages.
                                                                                                                             holic   be
         During the Lease Term, if Landlord has a direct interest in any business that imports, manufactures, or distributes   utes alcoholic
                                                                                                                                       alcoh
                                                                                                                                       alco
         beverages, Landlord will provide Cooperation Efforts with respect to applicable licensing requirements, specifically tied   tied-house
                                                                                                                                       ed--hous
                                                                                                                                           ho




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         regulations.
                  (b)      Compliance with Legal Requirements. Subject to Landlord’s obligations under this Lease, Tenant’s use of
         the Premises will, at Tenant’s sole cost, comply with all applicable then-current federal, state, county,
                                                                                                             ounty, andd municipal statutes,
                                                                                                                                    stat
                                                                                                                                    statu
         ordinances, codes, rules, regulations, and requirements (“Legal Requirements”). Tenant shall    all                      structural
                                                                                                           ll be responsible for stru
         changes required by Legal Requirements that are applicable only by reason of Tenant’s particular
                                                                                                       icular
                                                                                                          ular use of and operatio
                                                                                                                           operations at the
                                                                                                     andlord
         Premises, or the construction of Initial Improvements or Tenant-Made Alterations, and Landlord     rd shall remain resp
                                                                                                                            respo
                                                                                                                            responsible for




                                                                                           IA
         compliance with Legal Requirements applicable generally to projects in the area, includinging structural changes
                                                                                                                   chan     to the Premises
         (such costs may be included as Operating Expenses to the extent permitted under Sectionction
                                                                                                 tion 6). For exam
                                                                                                                example, TeTenant would be
         responsible for structural changes to the Premises required only because of Tenant’s ant’s food preparation activities,
                                                                                                                         ac         or for a
         Tenant-Made Alteration that includes the addition of an office, whereas Landlord    rd would be required to perform structural
         changes to the Premises at its cost in order to comply with seismic modifications
                                                                                         ations
                                                                                          tions required under Leg Legal Requirements for
                                                                                                                   Le
         buildings located in a certain area. Compliance with Legal Requirements does   oes not obligate Tenant to perform Landlord’s




                                                                      NT
         maintenance obligations as set forth in Section 10.
         4.        Base Rent. Tenant shall pay Base Rent on or before the first (1st)) Business Day of each cca
                                                                                                             calendar month. The first (1st)
         payment of Base Rent is due within thirty (30) days after the later of (a) receipt of an invo  invoice from Landlord; or (b) the
         Commencement Date. Payments of Base Rent for any fractional calendar endar month will be prorated.
                                                                                                    pprora     Tenant shall have no right to
         abate, reduce, or set-off any Rent due hereunder except as may bee expressly provided in thisth Lease. “Rent” means Base Rent
         and all other amounts payable by Tenant under this Lease.
         5.       Intentionally deleted.
         6.       Operating Expenses.
                                                DE
                  (a)       Payment of Operating Expenses. Together     her with Base Rent
                                                                     gether              Rent,, T
                                                                                                Tenant will pay an amount equal to 1/12 of the
         annual estimated cost of Tenant’s Proportionate Share   are of Operating Expenses
                                                                                     Expense (which estimate Landlord may revise not more
         than two (2) times per calendar year for Operating Expenses other than Taxes,  Taxe and by providing at least thirty (30) days’ notice
         before such revision becomes effective). Payments                             year or month will be prorated. Subject to Section 6(b),
                                                              nts for any fractional yea
         “Operating Expenses” means all reasonable costs                        incurred
                                                           osts and expenses incur
                                                                                inc    re by Landlord during the Lease Term with respect to
         operating, maintaining, and managing the Buildinguilding and the Land (including
                                                                                    (i           those items listed on Exhibit D as “Landlord
         Maintenance Obligations – Recoverable”);      ); Taxes and fees payab
                                                                            payable to tax professionals that do not exceed $2,500 in any
         calendar year; insurance; association charges
                                                    arges
                                                       es (if applicable); water and sewer charges; costs and expenses payable by Landlord
                                                              applicable); wate
         or assessed against the Land or Building
                                               ding                     restrictive
                                                 ing pursuant to any restri
                                                                        restr        covenants, declaration of easements or similar operating
         agreement (including, without limitation,
                                              ation, costs and expens
                                                                  expenses relating to the maintenance and repair of common roadways and
     I

         drainage facilities serving the Premises);
                                            mises); and annual
                                                          ann fees     payable to a property manager that do not exceed two percent (2%) of
                                                                    es pa
         annual Base Rent (the “PM Fee Cap”),
                                           Cap”)
                                           Cap ”),, which is Landlord’s
                                                              Landlord sole compensation for management and administrative fees.
  NF


                    (b)       Operating Expense Exclus Exclusions;
                                                       Exclusions; C Controllable Operating Expense Cap. The items on Base Rent and
         Operating Expense Exclusions,  usions,
                                             ns, Addendum 1 are excluded from Operating Expenses. To the extent an Operating Expense
         will be incurred that relateslates solelyy to the Premises,
                                                            Premi       is not covered under an existing contract, and is estimated to exceed
         $          , Landlord shallall obtain at least two ((2)
                                                              2) bids, and provide copies upon Tenant’s request (except in an emergency, when
         no bidding is required).
                                ed)). Landlord will not col
                                                          co
                                                          collect more from Tenant than Tenant’s Proportionate Share of Operating Expense,
         except that Landlordord may collect Excess Op   Operating Expenses as set forth below. Tenant will not pay (i) Operating Expenses in
         the calendar year ar in which the Comm
                                             Commenc
                                             Commencement Date occurs (and the immediately following calendar year if the first calendar
         year of the Lease
                         ase Term is less than ninety
                                                  nine (90) days) to the extent Tenant’s Proportionate Share of Operating Expenses for such
         year(s) exceed(s)
                      eed(s)
                         d(s) (on an annualized
                                      annualiz basis)
                                                   b      one hundred five percent (105%) of the estimated amounts set forth in Initial Annual
CO




         Estimated d Operating
                        perating Expense PaymPayments,
                                             Pa          or (ii) Controllable Operating Expenses in any subsequent year to the extent Tenant’s
         Proportionate
                  ionate Share of Controllable
                                       Controll
                                       Control        Operating Expenses for such year exceeds                                  (   %) of the
         Controllable
               rollable
                ollable Operating Expenses
                                     Expens payable by Tenant for the immediately preceding year (the “Cap”). If Controllable Operating
         Expenses
            penses in any calendar year   y     exceed the Cap (the “Excess Operating Expenses”), then Landlord may bill such Excess
         Operating
         Opera
           perating Expensesnses to Tenant
                                      Te       in each of the subsequent calendar years in the Lease Term; provided, however, the carry
         forwards
           rwards shall only be b applied
                                    ap        in any subsequent calendar year to the extent that the Excess Controllable Operating Expenses
         plus
           us the actual inincrease
                             crease
                              rea in the Controllable Operating Expenses for such year does not exceed the Cap for such year. In order to
         bill any Excess OpeOperating Expenses to Tenant, Landlord will (x) show a calculation of the Excess Operating Expenses in the
         statement
                 ent
                  nt of Oper
                        Opera
                        Operating Expenses for the year in which the expenses are incurred (and Tenant may inspect and audit Landlord’s


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         books and records relating to such amounts); and (y) show any Excess Operating Expenses on the statement   ment      Operating
                                                                                                                       ent of O
         Expenses for the calendar year being charged and any remaining accrued but unbilled Excess Operating Expenses
                                                                                                                   xpensess available
                                                                                                                            availab to
                                                                                                                            availa
         be billed in subsequent calendar years. “Controllable Operating Expenses” means all Operating Expenses,nses, except for
                                                                                                                              or Taxes,
                                                                                                                                 Taxes




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         utility costs, snow removal costs, insurance premiums, insurance deductibles, costs of capital repairs
                                                                                                             rss and replacements, the
         property management fee and any Operating Expenses resulting from Tenant-Made Alterations         ons                    Initial
                                                                                                            ns (including the Initia
                                                                                                                                  Ini
         Improvements). Controllable Operating Expenses for any given year will be determined on an aggregate,     non-cumulative,
                                                                                                         gregate,, non-
                                                                                                                   non  cumulative, and
                                                                                                                       -cumulative
         non-compounded basis.
                   (c)      Reconciliation of Operating Expenses. On or before one hundred twenty (120)     200) days following the end
                                                                                                                                      en of each
         calendar year (the “Reconciliation Deadline”), Landlord shall deliver to Tenant a detailed      tailed reconciliation stat
                                                                                                                                  statement
                                                                                                                                  state      (the




                                                                                             IA
         “Reconciliation”) showing the calculation of Operating Expenses actually paid for the        hee prior calendar yyear (in(including any
         portion of the calendar year that Landlord did not own the Premises if the then-current Landlord
                                                                                                      andlord purchased
                                                                                                                purchase the P   Premises during
         such calendar year), along with reasonable supporting documentation, including a detailed
                                                                                                 etailed
                                                                                                  tailed general ledger.       Landlord does not
                                                                                                                   ledger . If L
         deliver the Reconciliation within one (1) year from the Reconciliation Deadline, then Tenantt will not be rresponsible for any
         increases in Operating Expenses over the estimates paid by Tenant for such          ch
                                                                                              h cale               Landlord may correct any
                                                                                                 calendar year. Landlo
                                                                                                                   Land
         Reconciliation within one hundred eighty (180) days after it is initially issued, but may not further correc
                                                                                                                  correct it thereafter, except if




                                                                       NT
         the correction would result in a credit to Tenant; provided that the Reconciliation
                                                                                        iation
                                                                                         ation of Taxes ma       occur at any time within three
                                                                                                           may occu
         hundred sixty-five (365) days following the final determination of the Taxes.es. If Tenant’s total
                                                                                                       total payments
                                                                                                              paym
                                                                                                              pay        of Operating Expenses
         for any year are less than Tenant’s Proportionate Share of Operating Expenses  es actually
                                                                                   penses  actua paid for such su year, then Tenant shall pay
         the difference within sixty (60) days after demand, and, if more, then  en Landlord rd will retain such
                                                                                                             su excess and credit it against
         Tenant’s next payments or, if Tenant so requests, refund it to Tenant nt within sixty ((60)
                                                                                                 60) days aafter demand.
                  (d)       Right to Audit. Tenant may audit the Reconciliation
                                                                             ciliation
                                                                              iliation by pproviding notice
                                                                                                      not   to Landlord within one hundred
         eighty (180) days following Tenant’s receipt of the Reconciliationliation or any cor
                                                                                            correction thereof. Landlord shall electronically
         provide invoices and other standard Landlord reports for the Reconciliation (as well aas for applicable prior years for purposes of
         evaluating compliance with the limitations on increases in Controllable Operating E     Expenses). Tenant will not use an auditor on
                                               E
         a contingency fee basis unless such auditor provides services
         records will be kept in accordance with generally accepted
                                                                      rvices to Tenant on at lleast a regional basis. Landlord’s books and
                                                                  epted accounting principles,
                                                                                     principle
                                                                                     principl consistently applied (“GAAP”). In the event
         an audit discloses overpayment by Tenant, Landlord    ord
                                                                 rd shall make a correcti
                                                                                    correcting payment within sixty (60) days after Tenant
         provides the audit results to Landlord. In the eventt of any errors on the part of Landlord costing Tenant in excess of      percent
         ( %) of Tenant’s liability for Operating Expenses es actually paid for any ca
                                                                                     calendar
                                                                                     c         year, Landlord shall also reimburse Tenant for
                                            ID
         audit costs reasonably incurred by Tenant up to  o$        per auditt within
                                                                               wi      the above sixty (60)-day period.
                   (e)      Annual Estimates. On orr before each December 1, Landlord shall use commercially reasonable efforts to
         deliver a detailed statement showing the estimated
                                                     timated Operating Exp
                                                                         Expenses for the subsequent calendar year and an explanation of
         any increases. At a minimum, such statement
                                                teme will contain a sep
                                                tement                 separate line item estimate of each general ledger account expected
                                                                       sepa
         to contain Operating Expenses. Tenantant shall continue to ppay the then-current estimate of Operating Expenses until thirty (30)
                                            nant
         days after such estimate is provided
                                           ed to Tenant, and any Reconciliation
                                                                  Rec              will occur pursuant to Section 6(c).
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         7.       Utilities. Tenant pays forr all utilities
                                                  utilitie used on tthe Premises by Tenant directly to the provider of such utility service.
         Any utility incentives or rebates
                                      ates related to Tenant’s
                                                        Te      ooccupancy of the Premises will be payable to Tenant, and, if received by
         Landlord, promptly remitteded too Tenant.
                                           Tenant
                                           Tenan .
         8.         Taxes. Landlord   ord pays all real
                                                     eal estate
                                                         est    taxes,
                                                                ta     assessments, and governmental charges for the Building and the Land
         (collectively, “Taxes”),   ”),
                                     ), and Taxes will be in included in the Operating Expenses. Landlord will pay Taxes in the maximum
         number of installments   ents permitted
                                       permitte by Legal Requirements
                                                            R              (unless otherwise directed by Tenant), and Tenant’s obligation to pay
         such Taxes as part                     Expenses will be limited to each installment or prorated share thereof. Landlord will forward
                              rtt of Operating Exp
         copies of all notices,                   statements relating to taxes. Upon notice to Landlord, which must be provided at least thirty
                          otices, invoices, and state
                                                  statem
         (30) days prioror to the applicable deadline
                                                deadl (but in no event less than ten (10) days after receiving notice of the deadline or of the
CO



         valuation of the Premises, whic   whichever is later), Tenant (acting on behalf of Landlord) may contest the amount, validity, or
                                           whichev
         application                       liens, at Tenant’s sole cost in accordance with applicable Legal Requirements. If Tenant does not
                    on off any Taxes or liens
                                           lien
         exercise         ight, Landlord may
                 se this right,             ma contest such Taxes and shall promptly notify Tenant of any such contest. If Tenant exercises
         this right, Tenant will have ex   exclusive control over the prosecution and conclusion of such contest and Landlord shall provide
         Cooperation
             operation Efforts with T
           ooperation                    Tenant’s prosecution. Tenant’s Proportionate Share of all reductions, refunds, or rebates of Taxes
         paid
          aid or payable by Tenant Tenan
                                   T      as an Operating Expense, whether as a consequence of a Tenant proceeding or otherwise, will be
         refunded
            funded by Landlord to     t Tenant (less reasonable costs or expenses incurred by Landlord). For avoidance of doubt, nothing in
         this              intended
                           intende to cause Tenant to be treated as an agent of Landlord. In no event will Tenant be liable for any estate,
          hiss Section is intend
         inheritance,
                itance, gift, franchise,
                              fra          gross receipts, federal, state or local income taxes of Landlord (or tax in lieu thereof) or any other



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         tax that is or may be imposed against the rents payable under this Lease or upon Landlord’s income or profits,            “roll-back” or
                                                                                                                           fitss , “roll
         similar taxes attributable to periods before the Lease Term, penalties or interest other than those attributablee to Tenant’s
                                                                                                                                    nant’s ffailure
         to comply timely with its obligations under this Lease, or special assessments incurred as a result of the initial construction uction oro




                                                                                                                      !
         subsequent enlargement of the Building or the Land. If any tax for which Tenant is liable hereunder        er is levied or assessed,  sed,
         Tenant will be responsible for such taxes and will pay the same either directly or as part of Operating g Expen
                                                                                                                   Expenses. Landlordd pay    ppays




                                                                                                  AL
         (and such amounts will not be included in Operating Expenses) any transfer taxes or recording         rding fees imposed
                                                                                                                             imposed by any
                                                                                                                             im                 a
         governmental agency or municipality with respect to (a) this Lease, any memorandum of this Lease, any amendment,            amendm
                                                                                                                                     amend
         modification, or extension of this Lease, any transfer occurring with regard to this Lease, any financing
                                                                                                          inancing
                                                                                                           nancing of Landlord’s int   interest in
         the Building or the Land, or the exercise of any options granted under this Lease; or (b) anyy transfer of any interest   inter in the
         Building or the Land or direct or indirect interests in Landlord.
         9.       Insurance.
                  (a)       Landlord’s Insurance. Landlord will maintain all risk (or “special form”) property insurance
                                                                                                                 insuranc covering the full
                                                                                                                 insuran
         replacement cost of the Building and all other structures and improvements on the  he Land (excluding any IIn Initial Improvements




                                                                                    TI
         and any Tenant-Made Alterations) with laws and ordinance endorsement and commercial
                                                                                          ommercial
                                                                                          om                   liability insurance including
                                                                                              mercial general liabili
         Tenant and Tenant Guarantor as additional insureds. All such insurance will be included as part of Op   Operating Expenses to the
         extent permitted by Section 6. The Building and all other structures and improvements on th      the LLand may be included in a
         blanket policy (in which case the cost of such insurance allocable to the Building
                                                                                    uilding and all other structures
                                                                                                          stru         and improvements on
         the Land will be reasonably determined by Landlord based upon the       he insurer’s
                                                                                        urer’s cost
                                                                                               co calculations).
                                                                                                    calcula          Tenant will reimburse
         Landlord for any increased premiums or additional insurance that Landlord
                                                                               ndlord reasonably
                                                                                            nably deems
                                                                                                  de     necessary as a result of Tenant’s


                                                             EN
         use of the Premises for other than the Permitted Uses.
                   (b)       Tenant’s Insurance. From and after the Commencement


         installed or placed in the Premises by Tenant at Tenant’s
         minimum limits required by law; employer’s liability
                                                                           mencement Date or any earlier
         occupies the Premises or any portion thereof, Tenant will maintain, at its exp
         insurance covering the full replacement cost of all Initiall Improvements, Tenant
                                                                                            expense
                                                                                                    ea


                                                                     ’s expense; workers’ compensation
                                                                    t’s                      com
                                                                                             c
                                                                                                           date upon which Tenant enters or
                                                                                            expense, all risk (or “special form”) property
                                                                                          Tenant-Made Alterations and Tenant’s Property
                                                                                                            insurance with no less than the
                                                                     nsurance with limits oof $1,000,000 each accident; and commercial
                                                                  y insurance
         general liability insurance covering the Premises and Tenant’s use thereof agai
                                                                                       against claims for bodily injury or death and property
                                                                                       again
         damage, which commercial general liability insurance  nce will include Landlord and mortgage lienholder as an additional insured.
         Landlord may from time to time require reasonable ble increases in any such llimits consistent with the insurance being required by
         institutional owners of similar projects in the area.
                                                          rea.
                                            ID
                   (c)       Insurance Generally. Thee commercial general liab  liability policies shall provide coverage with a per occurrence
         limit of not less than $5,000,000, which limitimit
                                                        mit may be satisfied by any
                                                                                  a combination of primary and excess or umbrella policies,
                                                   mss-made basis and provide contractual liability coverage. Tenant may meet all insurance
         insure on an occurrence and not a claims-made
         requirements in this Lease through any                     primary, excess or self-insurance coverage (subject to and in accordance
                                                 nyy combination of primary
         with subsection (e) below). All insurance
                                                surance policies will be issued
                                                                          i        by insurers authorized to do business in the jurisdiction in
         which the Premises are located and  nd have a Best’s rating no
                                                                     not less than A-. Each party will endeavor to give the other party thirty
  NF


         (30) days’ prior notice before anyy cancellation
                                                cancellatio or lapse of such coverage. Landlord will deliver a certificate evidencing such
         policies to Tenant upon Tenant’s                       commencement of the Lease Term or at each renewal of said insurance. For
                                         ant’s request, at tthe comm
         evidence of Tenant’s policiescies and the required inclusions,
                                                               in
                                                               incl        if applicable, of Landlord and mortgage lienholder as loss payee
         and/or additional insured,d, Tenant’ss memorandum of insurance can be located at www.amazon.com/moi.
                    (d)        Waiver
                                   aiver
                                     ver of Subrogation.    Notwithstanding any other provision of this Lease, Landlord and Tenant each waives
                                            Subrogation. Notw
                                                            Not
         its right against the otherr party (the
                                               ( “Benefited
                                                    “Benefite Party”) for any loss of, or damage to, any of the waiving party’s property located
         at the Premises to  o the extent the losloss or dam
                                                         damage is or would be covered by the ISO special causes of loss form (CP 10 30) with
         the property in question insured for the full   f replacement cost, whether or not the waiving party actually carries such insurance,
         recovers under  er such insurance, or selfself-insures
                                                   sel           the loss or damage, and whether or not the loss is due to the negligent acts or
CO



         omissions of the Benefited Party Party, or Landlord Party or Tenant Party, as applicable, except the waiver in this sentence shall not
         apply to the extent
                         xtent the loss or damage
                                             dam       arises from the gross negligence or willful misconduct of the Benefited Party or Landlord
         Party or Tenant ant Party, as app applicable. Each party’s waiver in this Section includes a waiver of the right to recover any
                                           appl
         deductibles
               ctibles and self-insured
              uctibles       selff-insured rretentions incurred by such waiving party in connection with a loss to which the waiver in this
                             self-
         Section
            ction applies.
           ection  applies. The
                             Th mutual
                                    mutua waivers in this Section shall be in addition to, and not in limitation or derogation of, any other
           aiver or release contained
         waiver                contain
                               con          in this Lease with respect to any loss of, or damage to, property of the parties hereto. Each party
            all ensure tthat
         shall                    insurance policies required under this Lease permits the waiver in this Section, so that such party’s waiver
                         hat itss in
                                  insu
         shall
            all not invalidate or
          hall                     o impair any of its coverage and shall upon request provide the other party with evidence of such
         arrangements.
                gements.



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                   (e)       Self-Insurance. Notwithstanding anything in this Section 9 or otherwise in this Lease to thee contrary,         long as
                                                                                                                                     ary, so lo
         the originally named Tenant or a permitted Transferee (as defined below) is the tenant-in-possession, the guaranty
                                                                                                                          uaranty of this Lease bby




                                                                                                              L!
         Amazon.com, Inc. remains in effect with no defaults (beyond applicable notice and cure periods) thereunder,   under,
                                                                                                                         nd and Amazon.com,      om,
         Inc. has a tangible net worth of at least Three Hundred Million Dollars ($300,000,000), Tenant may elect               self-insure
                                                                                                                        lect to self         om oor
                                                                                                                                   f-insure some
         all of the risks covered by the insurance that it is otherwise obligated to maintain under the terms of this Lease, and upon such      su
                                                                                                                                                s
         election Tenant will be excused from its obligation to obtain third-party insurance for the self-insuredsured risks. If Tenant elects
                                                                                                                                            ele to
         self-insure, Tenant shall pay all amounts due in lieu of insurance proceeds as if Tenant was a third   third-party
                                                                                                                     -party insurer providing
                                                                                                                third-                provid      the
         insurance coverage required by this Lease and all such amounts paid by Tenant shall be deemed                           proceeds pursuant
                                                                                                           ed too be insurance proceed




                                                                                               IA
         to this Lease. All amounts that are paid or are required to be paid and all loss or damages resulting
                                                                                                          ulting from
                                                                                                                  rom risks for which Tenant has
         elected to self-insure shall be subject to the waiver of subrogation provisions of this Section
                                                                                                       n 9 as to property insurance
                                                                                                                            in         and shall not
         limit Tenant’s indemnification obligations set forth in Section 18. At any time when Tenant elects to self-insureself-insu any required
                                                                                                                          self
         coverage, Tenant shall provide Landlord and Landlord’s lender, if any, with memoranda            self-insurance
                                                                                                  nda of self-
                                                                                                          self             specifying the extent of
                                                                                                             f-insurance spe
                                                                                                                           speci
         self-insurance coverage hereunder.

                   (f)      Insurance during Tenant Alterations. During Tenant’s performance
                                                                                         erformance
                                                                                          rformance of thet Initial Improvements and any




                                                                         NT
         Tenant-Made Alterations, Tenant shall cause its contractors and subcontractorstors
                                                                                        ors to secure and keep
                                                                                                           kee in effect the coverages listed
         below. All such insurance shall be maintained with insurance companies permitted to do business in Pennsylvania with an AM
         Best rating of not less than A-/VII. Said policies shall contain a provision
                                                                                   sion that
                                                                                          at coverage
                                                                                             cover          not be canceled, non-renewed or
                                                                                                       may no
         materially changed without at least 30 days prior written notice to Landlord.        contractors
                                                                                dlord. Such contractor    shall not begin work until they have
                                                                                               ontract s sh
         (1) furnished Certificates of Insurance to Landlord on Accord Form 255 evidencing all terms requ
                                                                                                      required; and (2) executed an indemnity
                                                                                                      req
         agreement in favor of Tenant and Landlord. Notwithstanding the foregoing, as long as the te  tenant under this Lease is Amazon.com
         Services LLC (or a Tenant Affiliate of Amazon.com Services LLC which assumes    assum this Lease pursuant to Section 17(a)), the
         Guaranty remains in place without default and Tenant Guarantor antor has a net worth gr
                                                                                               greater than $300,000,000.00, then the terms
                                                                                               grea
         of this Section 9(f) shall not apply to Tenant.
                                                 DE
                            (i)      Property insurance upon tools,ols, material,            and supplies, whether owned, leased or borrowed
                                                                         aterial, equipment aan
                  by the contractor or its employees to the full replacement cost for all causes
                                                                                          ca     of loss included within “all risk” perils. Policy
                  shall allow for a waiver of subrogation against
                                                             ainst Landlord.

                           (ii)     Workers Compensation ation insurance
                                                       sation  insurance affording
                                                                          ffor       coverage under the laws of the Commonwealth of
                  Pennsylvania and Employers Liability
                                                     ity coverage subject to a limit
                                                    lity                       l     of no less than $1,000,000 each employee, $1,000,000
                  each accident and $1,000,000 policy
                                                   cy limit.
                                                  icy  lim

                           (iii)      Commercial   al General Liability  insurance, including contractual liability, written on an occurrence form
                                                               Liability insura
                  with combined bodily injury
      I

                                                ry and property damage limits
                                                                           lim of not less than $5,000,000 per occurrence, $5,000,000 general
                  aggregate and $5,000,0000 products liability and co  completed operations. Products and completed operations coverage shall
                                                                       com
                  extend for three years beyond
                                             eyond completion
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                                                     compl        of the work. Policy shall not contain exclusions relating to (1) independent
                  contractors, (2) gravity
                                        ity
                                         ty related injuries,    height limitations, or (4) injuries sustained by an employee of an insured or any
                                                    injurie (3) heig
                  insured. Such insurance
                                     surance            primary aand non-contributory, notwithstanding any insurance carried by Landlord or
                                          nce shall be primar
                  Tenant. Policy shall namee Landlord as ad   additional insured utilizing both forms CG2010 and CG2037 or their equivalents.

         10.        Landlord’s
                            ’s Maintenance and Repairs.
                                               Rep
                   (a)        Landlord Obligations
                                          Obliga       Generally.
                                                       G           Subject to Section 15, Landlord shall maintain, repair, and replace, as
         necessary, all portions of the Building and a the Land not required to be maintained by Tenant, including those items listed on
         Exhibit D ass “Landlord Maintenance Obligations – Non-Recoverable” (at Landlord’s sole cost) and “Landlord Maintenance
         Obligationss – Recoverable” (which (w      may be included as Operating Expenses to the extent permitted under Section 6).
CO




         Landlord’s
                  d’s maintenance, repair,
                                       repair, and
                                               an replacement activities will be at a level substantially similar to other similar class buildings
                 rea. Landlord
         in the area.   ndlord warrants th  the operation of the Premises, including all Building systems, including any HVAC existing as of
         the Effective Date (the “HVAC
                                     “HVA Systems”), the Base F/LS System (defined in Exhibit D), electrical, plumbing, and lighting
                                     “HVA
         (but
           ut excluding Tena
                          Tenant’s ProProperty) until the end of the twelfth (12th) full calendar month of the Lease Term. Any maintenance,
         repairs,
           pai , and/or replacemen
         repairs         replacements
                            plac          (other than routine maintenance within the scope of Tenant’s responsibilities in Section 11) during
         such
            ch period
               p       will bee performed
                                pe
                                perf        by Landlord at its sole cost; provided that such warranty will not apply to any damage caused by
            nant Parties. For any Landlord maintenance, repair, or replacement work, Landlord shall use commercially reasonable
         Tenant
         efforts           interfering with Tenant’s operations or access to the Premises, perform the work in a good and workmanlike
              ts to avoid inte



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         manner, in compliance with Legal Requirements and applicable industry-standard safety practices, and diligently
                                                                                                                   ently  prosecute the
                                                                                                                      tly pros
         work to completion (including restoring any portion of the Premises, as well as any Tenant-Made Alterations
                                                                                                                  ations and Tenant’s
                                                                                                                               Te
                                                                                                                               Ten
         Property that were disturbed by Landlord’s work). Landlord will not locate any new ducts, pipes, mains,
                                                                                                              s, wires, or conduits
                                                                                                                               nduit in
                                                                                                                                     i




                                                                                                                     !
         any part of the Premises without Tenant’s prior consent. Additionally, Landlord shall, at its sole cost, correct design and
         structural defects during the first three (3) years of the Lease Term (thereafter, such costs may be included in Operat
                                                                                                                             Operatin
                                                                                                                             Operating




                                                                                                 AL
         Expenses).
                  (b)        Landlord Coordination of Work. If Landlord desires to do any work (for maintenance
                                                                                                             ntenance                  otherwise)
                                                                                                               tenance or repairs or othe
         that would require an interruption of any utility to the Premises (including interruption of anyy fire/life
                                                                                                              ire/life safety systems oor Energy
         and Communications Related Improvements) or interrupt Tenant’s operations or access             ess to the Premises, the following
         requirements apply (except in an emergency that precludes compliance with one or more         ore of the following
                                                                                                                    followi requirements,
                                                                                                                                requ           in
         which case Landlord shall comply to the extent reasonably possible): (i) no such work       ork may occur during
                                                                                                                        du      the
                                                                                                                                th period from
         November 1 to January 15, or June 15 through July 31 (the “Holiday Season”), without      hout Tenant’s
                                                                                                        Tenant’ prior  or consent;
                                                                                                                          co
                                                                                                                          conse     (ii) Landlord
         will give at least ten (10) days’ notice; (iii) such work may only occur during timess reasonably approved by Tenant (and it will




                                                                                  TI
         be reasonable for Tenant to require that such work occur outside of normal business   busi       hours if Tenant
                                                                                                                     Tenan
                                                                                                                     Ten      agrees to pay the
         incremental increase in the cost of such work resulting from such after-hours performance
                                                                                           performance); (iv) any suc such interruption may not
         exceed four (4) hours in length; (v) in the case of a power interruption, if requested
                                                                                         uested
                                                                                          ested by Tenant, Landlord
                                                                                                             L
                                                                                                             Landlor will provide a source of
         back-up power to allow Tenant to continue its normal business operations (and the fuel costs and ot      other related charges may be
         included in Operating Expenses); and (vi) if such work involves access to the   he roof, Landlord’s notice
                                                                                                               no      will identify the portions
         of any Energy and Communications Related Improvements that will be disturbed        bed or removed,
                                                                                                    removed
                                                                                                    r           and Landlord and Tenant will
         reasonably cooperate on a temporary relocation plan (which Tenant      nt will perform
                                                                                         perform at its sol
                                                                                                        ssole cost). It will not be a Landlord

                   (c)                                      EN
         Default if Landlord is unable to perform its obligations under thiss Section 10 due to the Holiday
                             Tenant’s Right to Maintain. Notwithstanding

         any service contract relating to such maintenance obligation
                                                                           ngg anything to the contrar
         “Landlord’s Maintenance Obligations – Recoverable”, upon at least thirty (30) days’

         any obligation to maintain any matters covered by such service contract after th
                                                                                                      Ho

                                                                                              days notice
                                                                        on of Landlord, at Tenant’s
                                                                                                   n
                                                                                                                 Season.
                                                                                               contrary, for any item listed on Exhibit D as
                                                                                                           to Landlord, Tenant may enter into
                                                                                           Tenan sole cost and, (i) Landlord will not have
                                                                                           Tenant
                                                                                             the date set forth in Tenant’s notice; (ii) Tenant
         will be responsible for any breakage costs associated with Landlord’s service contract(s) for such maintenance; (iii) any costs
         incurred by Landlord in connection with any matterss covered by such service contract after the date set forth in Tenant’s notice
         will be excluded from Operating Expenses; and        d (iv) Tenant shall perf
                                                                                    perform such maintenance obligations in a good and
                                                                                    perfo
         workmanlike manner, free and clear of liens, inn a manner consistent w      with the maintenance of other similar buildings in the
                                            ID
         vicinity of the Building and otherwise in accordance
                                                           rdance with the terms of this Lease. Landlord may, from time to time, request a
                                                         ordance
         written list of the scope of services and vendors
                                                       dors providing services ununder such maintenance contracts and if Landlord provides
         Tenant with written notice that it reasonably
                                                    bly                       us of any such vendors (along with a reasonable description of
                                                      y objects to Tenant’s use
         the reasons that Landlord so objects), the parties will discuss the continued use of such vendor. If, after such discussion,
         Landlord continues to object to such vendor,
                                                vendo thenn Tenant
                                                              Tenan shallall terminate and/or replace such vendor within a reasonable period
         of time. Additionally, upon ninetyy (90) days’ notice, Ten  Tenant may self-manage the Premises, in which case the property
                                                                     Te
         management fee will be reduced by fifty percent      (50%);
                                                     percen (50   %); ffurther, Tenant will be responsible for any breakage costs associated
                      NF


         with Landlord’s current management
                                         geme
                                            ment  contrac (provided such contract has a term no longer than one (1) year).
                                               nt contract
         11.       Tenant’s Maintenance nance
                                         ance and Repairs.   Subject to Sections 9, 10, and 15, Tenant will, at its sole cost, maintain, repair,
                                                    Repairs Subje
         and/or replace, as necessary,sary, those
                                             hose items listed oon Exhibit D as “Tenant Maintenance Obligations” and Tenant will be
         responsible for the costt of any repairr or replacem
                                                      replacement to the Premises that results from non-casualty damage caused by Tenant
         Parties. Landlord acknowledges                 within and components of the Building and the Land that Tenant must maintain will
                                 nowledges that items with
                                                        wit
         be subject to reasonable
                              nable wear and
                                          an tear and, su
                                                        subject to Section 9, non-casualty damage caused by Landlord Parties, and Tenant is
         not required to maintain        Premis in a “like new” condition. If Tenant fails to perform any repair or replacement for which
                              intain the Premises
         it is responsible,                      such failure within any applicable cure period, Landlord may, upon ten (10) days’ notice,
                          e, and does not cure suc
         perform suchh work and shall be reimbursed
                                             reimbu      by Tenant for the reasonable cost of such work within thirty (30) days after demand
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         therefor (which
                       ich demand will be acc
                    which                      accompanied by reasonable supporting documentation). Landlord will assign or otherwise
         make available
                   ailable                 benefit of any warranties from contractors, equipment manufacturers, or others that benefit any
                        le to Tenant the bene
                                           be
         portionn of the Premises that Tenant
                                         Ten is required to maintain.
         12.       Tenant-Made
                   Ten
                   Tenant  -Made
                            Made AltAlterations. Except for the Work or as otherwise provided in this Lease, any alterations or
                                    Alte
         improvements
          mprovements made by or on behalf of Tenant to the Building or the Land (“Tenant-Made Alterations”), including any HVAC
         installed
           stalled by Tenant aand aany equipment, systems, and facilities (such as refrigeration equipment) required to obtain or comply
            th any specialized li
         with                  licenses or permits for Tenant’s operation or business at the Premises, will be subject to Landlord’s prior
         consent
           nsent     accordance with the following (the “Plan Approval Process”): (a) Landlord will approve or disapprove of all
             sent in accordan
         requestss for consent
                       cons       to Tenant-Made Alterations within seven (7) days of receipt of a request containing plans and


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         specifications for the proposed Tenant-Made Alteration (pursuant to the email notice procedures in Section                 n 5 of Additional
                                                                                                                                           A
         Terms and Conditions, Addendum 3); (b) if Landlord does not approve or disapprove of such request within                ithin seven
                                                                                                                                        even (7) days,
         then Tenant may send Landlord an additional copy of the notice stating “FAILURE TO APPROVE OR DISAPPROVE                     DISAPPROV
                                                                                                                                              PRO




                                                                                                                          !
         WITHIN 5 DAYS WILL CONSTITUTE DEEMED APPROVAL,” and, if Landlord does not approve                                 ove or disapprove within
         five (5) days, the request will be deemed approved; (c) Tenant will reimburse Landlord for actual third        irdd party costs incurred fo for




                                                                                                    L
         Landlord’s review of each request; (d) Landlord will not unreasonably withhold, condition, or delay its consent            con      iff Tenant
                                                                                                                                                 Ten
         provides reasonable safety and engineering measures; and (e) Tenant will notify Landlord of its          ts proposed general contracontractor,
                                                                                                                                            contr
         and Landlord will notify Tenant of any reasonable objection within the time period for Landlord’s      ord’s approval or disapproval
                                                                                                                                        disappr       of
         the Tenant-Made Alteration. Notwithstanding Section 5 of Additional Terms and Conditions,                ons, Addendum 3,
                                                                                                              ditions,                   3, all
                                                                                                                                            a notices




                                                                                                 IA
         pursuant to this Section may be sent to Landlord via email only to the address set forth in Notice         ce Addresses, Addendum
                                                                                                                                        Ad            4.
         Notwithstanding the foregoing, the Plan Approval Process will not apply (and Landlord’s         ord’s consentnt will not be required) for
         Tenant-Made Alterations that do not adversely affect the Building’s structure or the electrical,
                                                                                                       lectrical, mechanica
                                                                                                                  mechanical, plu  plumbing, heat, air
         conditioning or ventilation systems of the Building or the roof of the Building and       d are not visible from ooutside
                                                                                                                                out       the Building
         (collectively, “Minor Alterations”), including covering or blocking windows in the       he Premises,
                                                                                                     Premises, and
                                                                                                     Pr                drilling
                                                                                                                   nd dril
                                                                                                                       drillingng between floors and
         walls to add ducting or conduit in connection with the HVAC Systems, telecommunications
                                                                                             mmunications
                                                                                               munications lines, and electricity
                                                                                                                            el
                                                                                                                            ele          requirements.
         To the extent any Tenant-Made Alteration voids any warranties, Tenant will replace  eplace the voided
                                                                                                          void warranty
                                                                                                                  warrant at Tenant’s cost. With




                                                                          NT
         respect to any single Minor Alteration in excess of $100,000, Tenant will provide Landlord with        wit notice
                                                                                                                      no        prior to commencing
         construction of such Minor Alteration. Tenant may, without Landlord’s          ’s consent,
                                                                                           cons , erect orr install
                                                                                           consent              inst Tenant’s Property unless
                                                                                                                insta
         consent is otherwise required under Section 26 or 37. In the event that      at Tenant
                                                                                             ant perf
                                                                                                  performs a Te Tenant-Made Alteration without
         Landlord’s consent and it is determined that Landlord’s prior consent    nt was required     unde the terms of this Section, Landlord
                                                                                                  ed under
         will evaluate the completed Tenant-Made Alteration and give orr withhold its consent. If            I Landlord withholds its consent,
         Landlord, as its sole remedy, may require that Tenant commence       ce removal of the Tenant-Made
                                                                                                   Tenant           Alteration within ninety (90)
         days after receipt of Landlord’s disapproval and pursue suchh removal until complete.co           All Tenant-Made Alterations will be
         constructed diligently, in a good and workmanlike manner,, in accordance with all applicable a            Legal Requirements, free and
         clear of liens and in a manner that does not unreasonably    y interfere with any other tenant’s use of, or access to, the Building.
         Landlord will provide Cooperation Efforts to (i) obtain    tain
                                                                      in or comply with an    any licenses, permits, or other governmental
                                                  DE
         permissions required in connection with a Tenant-Made   Made Alteration; and (ii) obtain approvals of Tenant-Made Alterations
         required under Permitted Exceptions. Landlord may,   ayy, at its sole cost,  monitor construction of Tenant-Made Alterations that
                                                                                cost, monit
         require Landlord’s approval. At the completion off any Tenant-
                                                                   Tenant-Made
                                                                   Tenant          Alterations and upon request from Landlord, Tenant will
                                                                            -Made Alter
                                                                                   Altera
         deliver to Landlord final lien waivers from all contractors and subcontractors
                                                                              subcontr
                                                                              subcontra        that provided services or materials that cost in
         excess of $25,000. At the time Landlord approvesves a Tenant-Made
                                                        oves                    Alteration
                                                               Tenant-Madee Alter
                                                                                A           (or, for a Minor Alteration, those identified as part
         of the walk-through as described in Section    21(b)),
                                                      n 21(b) ), Landlord will cconfirm whether Tenant must remove such Tenant-Made
                                                           (b)),
         Alteration at the end of the Lease Term and
                                                   ndd restore the Premises to the condition required under Section 21. For Tenant-Made
         Alterations requiring Landlord consent,, if Landlord fails to notify
                                                                         notif Tenant that such Tenant-Made Alteration must be removed,
         Tenant will remove such Tenant-Made   de Alteration and repair anaany damage caused by such removal pursuant to Section 21.
                                   FI

         13.       Signs. Tenant may (a) place  ace its standard graphics and signage at the entrance to the Premises or the Land, and in a
                                               lace
         prominent location on the exterior rior
                                              ior of the Building
                                                          Bu        subject to the Plan Approval Process; and (b) install temporary and/or
                                                                    subj
         directional signage, at Tenant’s ’s sole cost, all
                                                         al subject to Legal Requirements and Permitted Exceptions. Upon surrender of the
         Premises, Tenant will remove  vee all such signs and   spot-repair, paint, and/or replace the affected Building fascia surface or other
                                                           an spot
         surface areas. Tenant willl obtain                   governmental permits and approvals for sign and exterior treatments. Landlord
                                            n all applicable go
                                                              gov
         will not install signs identifying
                                  entifying Tenant     anywhere on the Building or the Land without Tenant’s prior consent, which Tenant
                                                 nant anywhe
                                                       anywher
   N


         may withhold in its soleole and absolute discretion.
                                                     discret
                                                     discreti     Landlord will not place its graphics or signage on the Building or on any
         monument on the Land without Tenant’s pri      prior consent, which will not be unreasonably withheld, conditioned, or delayed.
         14.     Parking.
                        ngg. From and after the Commencement
                                                Co               Date, Tenant will be entitled to the exclusive use of the parking areas,
         truck courts, and driveways located oon the Land. Landlord will not alter or modify the parking areas, truck courts, and
         driveways which
                      hich Tenant has the excl
                                          exclusive right to use without Tenant’s prior consent.
CO




         15.       Casualty.
                   Casualty
                      ualt .
                    (a)        Termination.
                               Termination If any portion of the Premises is damaged by a fire or other casualty or there is an interruption
         of utility service to the Prem
                                     Premises resulting from any fire or other casualty, Landlord shall notify Tenant within thirty (30) days
         after
           ter such damage as to the amount of time Landlord reasonably estimates it will take to restore the Premises or utility service,
          fter
         as the case may be (th (the ““Initial Reconstruction Notice”). If the restoration time is estimated to exceed three hundred sixty-five
         (365)
           65) days
                d     following
                      followiningg the
                                   th casualty, then Landlord and Tenant each may elect to terminate this Lease, in each case upon notice to
         the other party given no later than thirty (30) days after the Initial Reconstruction Notice. Notwithstanding anything to the
         contrary           Section 15, Landlord may terminate this Lease upon written notice to Tenant, given within forty-five (45) days
                  y in this Se


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         of the date of the casualty, if the casualty is uninsured and the uninsured cost to repair the damage to the    portions of the
                                                                                                                      he portio
                                                                                                                         portion
         Premises Landlord is required to restore exceeds $250,000.00 (and the reason therefor is not Landlord’s failuree to carry
                                                                                                                                carr the
         insurance required to be carried by Landlord under this Lease), provided that Tenant may nullify Landlord’s
                                                                                                                 rd’s termination  notice
                                                                                                                                on notic




                                                                                                                        !
         by agreeing to pay the uninsured cost within thirty (30) days after receipt of Landlord’s termination notice.
                                                                                                               no       Notwithstanding
                                                                                                                                    ding
         the foregoing, Tenant may terminate this Lease if the Premises are damaged during the last year     ar of the Lease Term anda




                                                                                                   AL
         Landlord reasonably estimates that it will take more than sixty (60) days to repair such damage.
                   (b)       Restoration in General. If this Lease is not terminated under Section 15(a),    ), then Landlord will pro
                                                                                                                                    promptly
         restore the Premises, excluding the Initial Improvements and any Tenant-Made Alterations.        s. Al
                                                                                                              Alll construction and/o
                                                                                                                                and/or repairs
         made by Landlord will be made in accordance with Legal Requirements and in a good              od andd workmanlike ma  manner, with
         architecture, facilities and amenities of no less quality than existing prior to the casualty.
                   (c)       Rent Abatement. Base Rent and Operating Expenses will be abated in proportion to the squar
                                                                                                                      square footage of the
         Premises affected by the casualty and related restoration work from the date of suchh casualty to completion oof restoration (and
         for up to an additional sixty (60) days for Tenant’s restoration of any improvements
                                                                                           ements
                                                                                            ment or equipment      installed by Tenant). If
                                                                                                          pment inst




                                                                TI
         restoration is not completed within one hundred twenty (120) days after the date   specifie in the Initial
                                                                                        tee specified               Reconstruction Notice,
                                                                                                               tial R
         subject to extension due to Force Majeure for up to ninety (90) days, Tenantt will have the right to teterminate this Lease upon
         notice to Landlord. Alternatively, Tenant may elect to complete the restoration               Premises
                                                                                    storation of the Premise
                                                                                                       Prem       by delivering notice to
         Landlord, in which event Landlord will assign any unused insurance proceeds
                                                                                   eeds to Tenant.
                                                                                  ceeds
         16.      Condemnation. If all of the Premises are taken for any public              public use under
                                                                                ic or quasi-public      und any Legal Requirement or by
         eminent domain, or by purchase or easement in lieu thereof (a “Taking”),   ”), or if a partial Taking
                                                                               aking”),
                                                                               aking                    Ta      would materially reduce or


                                                             EN
         impair the size, access to, or use of the Premises by Tenant, then

         without termination, Landlord will promptly, at its sole cost,
         Operating Expenses will be reduced to such extent as may
         Legal Requirements, Tenant may separately pursue a claim
         Tenant’s Property or Tenant-Made Alterations; (b) Tenant’s
                                                                            hen
                                                                         xpen
                                                                         xpenses
         effective date of such Taking, and Base Rent and Operating Expenses
                                                                              n upon notice by Tenant
                                                                                  will be apportion

                                                                   y be fair and reasonable under
                                                                 aim against the condem
                                                               nant’s
         leasehold interest, provided such award does not reduce
                                                                                    condemno
                                                                                                u
                                                                                                   Tena this Lease will terminate on the
                                                                                            apportioned as of said date. For partial Takings
                                                                      stt, restore and reconstruct
                                                                                         reconstruc the Premises, and the Base Rent and
                                                                                         recons
                                                                                                       the circumstances. If allowed under

                                                                                 costs;; (c) Tenant’s loss of business; and/or (d) Tenant’s
                                                                  nt’s moving costs
                                                                                    condemnor for (a) the value of Initial Improvements,

                                                                        ndlord’s award. Landlord will promptly notify Tenant of any
                                                             educe Landlord’s
         threatened Taking known to Landlord and allow Tenant
                                                           nant to participate in such negotiations if it is customary in such jurisdiction.
                                                          enant
         17.       Assignment and Subletting.
                                             ID
                    (a)       Transfers. Except as set forth   th below
                                                                  below, w  without
                                                                              ithout Landlord’s
                                                                                      La
                                                                                      Land        prior consent, Tenant will not assign this Lease,
         sublease any portion of the Premises, or grant  rant
                                                          ant any license or right to use any portion of the Premises (each, a “Transfer”) to any
         person or entity (a “Transferee”). Landlord   ordd will approv
                                                                  approvee or disapprove
                                                                                disap       of any Transfer request within ten (10) days following
         receipt of the request and will providee reasons for any disapp   disappr
                                                                           disapproval. If Landlord does not respond within ten (10) days, then
         Tenant may send Landlord an additional   ional                 notice. IIf Landlord does not respond to such additional notice within five
                                                   onal copy of the notice
         (5) Business Days, then Tenant may send a third (3rd) copy         cop of the notice, stating “FAILURE TO RESPOND WITHIN 3
                                                                            co
         BUSINESS DAYS WILL CONSTITUTE         NSTITUTE DEEMED APPROVAL,” and, if Landlord does not approve or disapprove
                                             ONSTITUTE
                       NF


         within five (5) Business Days,    s, the request w will be dee
                                                                      deemed approved. Notwithstanding anything to the contrary, Tenant may
         effect a Transfer, without Landlord’s
                                          ndlord’s consent,
                                        andlord        nsent,, to (i) aany entity controlling, controlled by, or under common control with Tenant
                                                    consent
         (an “Affiliated Entity”); (ii) any entity resulting fr    from the merger or consolidation of or with Tenant or an Affiliated Entity;
         (iii) any person or entity y that acquiress all (or sub
                                                             substantially
                                                             subs            all) of the assets of Tenant or an Affiliated Entity; (iv) any successor
         of Tenant or an Affiliated
                                  iated Entity by reason oof public offering, reorganization, dissolution, or sale of stock, membership, or
                                 liated
         partnership intereststs or assets (each
                                            (e     of the scenarios
                                                           sc           described in clauses (i)–(iv) above, a “Tenant Affiliate”); or (v) any third
         party doing business
                           ness
                             ess with Tenant or any Tenant
                                                       Te        Affiliate at the Premises (provided, however, that Tenant must obtain Landlord
         consent in the event it wishes to sublesublease 50% or more of the Premises (in the aggregate) to one or more third parties doing
                                                subleas
         business withh Tenant or any Tenant A     Affiliate at the Premises) (collectively, “Permitted Transferees”). Section 17(b) does not
CO



         apply to Permitted
                      ermitted
                        mitted Transferees. Se  Section 17(c) does not apply to an assignment to a Permitted Transferee. Upon a Transfer
         (other than
                   an a sublease), and prov
                                         provided
                                         provid that the Guaranty remains in place without default and Tenant Guarantor has a net worth
         greaterr than $300,000,000.00,
                         300,000,000.00, Tenant
                                             T       will be automatically released from all obligations under this Lease occurring after the
         date of such Transfer.
                   (b)       Transfer
                             Tr       Premium. In the event that the rent payable by a Transferee exceeds the Base Rent and Operating
         Expenses
           xpenses payable un unde
                              under this Lease plus all actual and reasonable out-of-pocket costs incurred by Tenant for brokerage
         commissions,    improvement allowances, and legal fees in connection with such Transfer, plus Unamortized Capital Costs
            mmissions, improv
                         improve
         applicable
             licable to the term
            plicable        ter of the sublease or assignment, then Tenant will pay Landlord as additional rent hereunder fifty percent
         (50%) of such excess
                         exc rent within thirty (30) days following receipt thereof by Tenant. If such Transfer is for less than all of the


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         Premises, such excess rent will be calculated on a rentable square foot basis. “Unamortized Capital Costs”     osts”” means
                                                                                                                      Costs     m       the
         unamortized portion of the Tenant Capital Costs remaining after amortization of the Tenant Capital Costs  sts on a straight
                                                                                                                              straigh
                                                                                                                              straight-line
         basis over the Lease Term. “Tenant Capital Costs” means the total costs incurred by Tenant to (i) designsign and construct
                                                                                                                                  ruct an
                                                                                                                                       any




                                                                                                                       !
         improvements, including any Tenant-Made Alterations and any work performed by Landlord at Tenant’s   ’ss cost; and (ii) purchase
                                                                                                                                      hase
         and install furniture, fixtures, and equipment (other than any of such items paid for by Landlord pursuant
                                                                                                            ursuant to Paragraph 3 of    o
         Addendum 2).
                   (c)     Right to Pursue Transferee. If Tenant effects a Transfer, or if the Premises aree occupied in whole or in ppart by
         anyone other than Tenant, then during a Tenant Default, Landlord may collect any rent due     ue under the terms of the relevant
         Transfer from any Transferee or other occupant and apply it to the Rent payable hereunder. No such  uch collection or app
                                                                                                                               application of
         rent will be deemed a release of Tenant from Tenant’s further performance of its obligations
                                                                                                    ions hereunder.
                  (d)      Landlord Transfers. “Landlord” means only the owner, for the time being, of the  t Building
                                                                                                                  uildi and
                                                                                                                          an the Land, and
         if such owner transfers its interest in the Building and the Land to a bona fide third party purchaser that assumes
                                                                                                                     assum
                                                                                                                     assu     all obligations
         of Landlord under this Lease arising after such transfer, such owner will be releasedeased and discharged fro
                                                                                                                     from all obligations of
         Landlord thereafter accruing, but such obligations will be binding during the Leasease Term upon each new owner for the duration
         of such owner’s ownership.
         18.      Indemnification.
                   (a)      Tenant Indemnification Obligation. To the extent        nt permitted
                                                                                              mitted by
                                                                                                      b Legal R    Requirements, but subject to
         Sections 9(d) and 33, and except to the extent resulting from the negligence
                                                                                   egligence or willful miscmisconduct
                                                                                                            m            of a Landlord Party or a
         breach of this Lease by Landlord, Tenant agrees to indemnify, defend,  end
                                                                                 nd,, and hold harmless L    Landlord and its affiliates, as well as
                                                                                                             La
         their respective agents, servants, directors, officers, and employees
                                                                             loyees    (collectively, the “Landlord Indemnitees”), from and
                                                                              oyees (colle
         against any and all losses, liabilities, damages, costs, and expenses
                                                                           nses (including rea reasonable
                                                                                               reasonabl attorneys’ fees) resulting from claims
         by third parties occasioned by (i) death, injuries to any personon or damage to, or thef theft or loss of, property occurring in or about
         the Premises to the extent caused or alleged to be caused by the violation of Legal    egal Requirements, fraud, negligence, or willful
                                                             E
         misconduct of Tenant or of any member, partner, manager,   nager,
         officers, directors, employees, or agents, or any of Tenant’ss Vendors (define
                                                                                         contractor, or subcontractor of Tenant or its or their
                                                                      ager, affiliate, contracto
                                                                                        (defined below) or of any other invitee or licensee of
         Tenant (including Tenant, each, a “Tenant Party,” and  nd collectively, the “Tena
                                                                                      ““Tenant
                                                                                         Tena Parties”); or (ii) any actual or alleged breach of
         this Lease by Tenant. If any proceeding is brought   ht against any Landlord Indemnitee
                                                                                           I             involving a claim from which Tenant is
         obligated to indemnify the Landlord Indemnitees                        Section, Tenant, upon notice from Landlord, will resist and
                                                            es pursuant to this Sectio
         defend such proceeding with respect to that claimim (by counsel
                                                         aim               reasonably
                                                                  counsel reasonab
                                                                             ason         satisfactory to Landlord, except Landlord’s consent is
         not required if such defense is provided by Tenant’s insurer) at Tenant’sT            sole cost. The furnishing of insurance required
         hereunder shall not be deemed to limit Tenant’s
                                                      nant’s obligations under
                                                     enant’s             under this Section 18(a).
                   (b)       Landlord Indemnification   cation Obligation.
                                                       ication  Obligation. To the
                                                                Obligatio        t extent permitted by Legal Requirements, but subject to
         Sections 9(d) and 33, and except to the     he extent resulting from tthe negligence or willful misconduct of a Tenant Party or a breach
                                  FI

         of this Lease by Tenant, Landlord       d agrees to indemnify, defend,
                                                                            dde     and hold harmless Tenant and its affiliates, as well as their
         respective agents, servants, directors,
                                             ectors,
                                                tors, officers         employees (collectively, the “Tenant Indemnitees”), from and against any
                                                        officers, and emplo
         and all losses, liabilities, damages,
                                        mages, costs,
                                                    costs, and
                                                             an expense
                                                                 expenses (including reasonable attorneys’ fees) resulting from claims by third
         parties occasioned by (i) death,
                                        ath, injuries to any person,
                                       eath,                       pers    or damage to, or theft or loss of, property occurring in or about the
         Premises to the extent caused
                                     aused orr alleged to be caused ca
                                                                    c      by the violation of Legal Requirements (which is the obligation of
         Landlord to comply pursuant
                                   rsuant to this Lease),
                                                       Lease) fraud,
                                                               frau negligence, or willful misconduct of Landlord or of any member, partner,
         manager, affiliate, contractor,
                                 ntractor,, or subcontracto
                                 ntractor        subcontractor of Landlord or its or their officers, directors, employees, or agents, or of any
         invitee or licensee of Landlord
                                    andlord ((including
                                                including L   Landlord, each, a “Landlord Party,” and collectively, the “Landlord Parties”); or
         (ii) any actual orr alleged
                             alleged breach oof this Lease by Landlord. If any proceeding is brought against any Tenant Indemnitee
         involving a claim                   Landlord is obligated to indemnify the Tenant Indemnitees pursuant to this Section, Landlord,
                         aim from which Landlor
         upon notice from
                        rom Tenant, will resi
                                            rresist   and defend such proceeding with respect to that claim (by counsel reasonably satisfactory
                                                  st aan
         to Tenant, except
                       xcep Tenant’s consent
                                         ons        is not required if such defense is provided by Landlord’s insurer) at Landlord’s sole cost.
         The furnishingng of insurance required
                  ishing                requir
                                        requ           hereunder shall not be deemed to limit Landlord’s obligations under this Section 18(b).
         19.       Inspection and Access.
                                    Acce A Landlord Party may only enter the Premises during normal business hours on at least one
         (1) Business Day
                       Day’s
                           ’s notice (except
                                     (ex
                                     (e      in an emergency, when no such notice is required) (a) to inspect the Premises and to perform
         its
          ts obligations under this LLease; and (b) to show the Premises to prospective purchasers and, during the last three hundred
         sixty-five
           xty-five (365) days of the Lease Term (but not before all extension rights under this Lease have expired), to prospective
         sixty
C




         tenants.
         tenants            tion with any such entry, (i) Landlord agrees to collect a duly-executed non-disclosure agreement on the form
           nants. In connection
         attached
             ached      hibit I (as may be reasonably updated by Tenant from time to time) prior to permitting any other Landlord Party
              ched as Exhibit
         or any third party to enter; (ii) Tenant may deny access to third parties if Tenant determines, in its reasonable discretion, that


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         allowing such third party potential exposure to Tenant’s Confidential Information within the Premises would be detridetrimental to
         Tenant’s business interests; (iii) except in an emergency where necessary to prevent imminent damage to personss or pro  property,
                                                                                                                                  prop
         Landlord and any other party will enter the Premises only when accompanied by a Tenant representative                 compliance
                                                                                                                    ive and in complianc
                                                                                                                                  mplianc




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         with Tenant’s security programs, confidentiality requirements, and other reasonable rules and regulations;
                                                                                                                 ations
                                                                                                                  tio ; and (iv) Landlord
                                                                                                                                        lord
         will minimize, so far as may be reasonable under the circumstances, any disturbance to Tenant’s operations
                                                                                                               erations           diligently
                                                                                                                 ations and will diligentl
                                                                                                                                  diligen
         prosecute to completion any activities that involve the Premises. Landlord may not erect signs on thee Premises stating the
         Premises are available for lease until the last one hundred eighty (180) days of the Lease Term   m (but not before      extension
                                                                                                                        efore all exte
                                                                                                                                  exten
         rights under this Lease have expired). In addition, if Landlord desires for any of its employees, who need access to the Premises
                                                                                                                                   Pr
                                                                                                                                   P
         on a routine basis, to be able to enter the Premises unescorted by a Tenant representative,   ive, then Landlord will pperform a




                                                                                               IA
         background check on such person with a vendor selected by Tenant, at Tenant’s cost.
         20.       Tenant’s Property; Waiver of Landlord’s Lien. Tenant’s property, racking,             ng,  shelves, wall ddisplay systems, bins,
                                                                                                           g, she
         machinery, fixtures, security devices (including security gates and security cameras),              nergy and Communications
                                                                                                      as),, Energy
                                                                                                      as)                 Comm
                                                                                                                          Commun             Related
         Improvements, Generators, furnishings, equipment, accounts receivable, inventory,         y, and other personal property
                                                                                                                             pro       (collectively,
         “Tenant’s Property”), however installed or located on or about the Premises, will      ill be and remain the property
                                                                                                                          pro
                                                                                                                          prop     of Tenant or its
         lender, service providers, contractors, or vendors (and their respective lenders     rs or contractors)
                                                                                                      contrac       (collectively,
                                                                                                                    ( collec       “Vendors”) and




                                                                         NT
         may be installed, modified, and removed at any time and from time to time during   uring the Lease T    Term wi
                                                                                                                       without Landlord’s consent
         except as provided in Sections 26 and 37, provided that Tenant shall at alll times repair any damage   dama to the Premises caused by
         the removal of Tenant’s Property. In no event (including a Tenant Default)  lt) will Landlord have any lien or other security interest
         in any of Tenant’s Property located in the Premises or elsewhere, and Landlord hereby  ereby expressly
                                                                                                         e          waives and releases any lien or
         other security interest however created or arising. At Tenant’s request st and cost, Landlord will
                                                                                est                          w execute a reasonable lien waiver
                                                                                                             wil
         and access agreement requested by Vendors so long as such party     ty agrees (a((a)
                                                                                           a) to provide Landlord
                                                                                                             L          with at least five (5) days’
         notice before exercising any remedy to remove Tenant’s Property;  ty; ( to
                                                                            y; (b)              representative of Landlord to be present during
                                                                                    o allow a represent
         the exercise of any such remedy; (c) to repair and restore any damage caused by th            removal of Tenant’s Property; (d) to carry
                                                                                                 the rem
         at least the same level of insurance as required of Tenant  ntt during any time that such   su
                                                                                                     s      third party is on the Premises; (e) to
         indemnify, defend, and hold harmless Landlord from anyy claims arising out of oor relatingr          to such party’s exercise of its rights;
         E
         (f) there will be no private or public auctions conductedd at the Premises; and (f) to pay Rent during any period that such third
         party is occupying or accessing the Premises (it beingg understood
                                                                          ood that such th third party shall be entitled to a credit against such
                                                                                           thi
         Rent in the amount of any Rent actually paid by Tenant
                                                             enant with respect to such period).
         21.       Surrender.
      ID
                   (a)      Surrender Obligations Generally. rally.. Upon expiration or
                                                          nerally                    o earlier termination of this Lease, Tenant will surrender
         the Premises to Landlord in good condition,    n, broom clean, except for
                                                                                 fo reasonable wear and tear, casualty loss and condemnation
         covered by Sections 15 and 16, claims covered   ered by the waiver of ssubrogation in Section 9(d), damage caused by any Landlord
         Parties, and replacement, repairs or maintenance for which Tenant  Te      is not responsible under this Lease. Landlord specifically
         acknowledges that reasonable wearr and tear may leave the Premises in need of painting, re-carpeting, and the like. Any
         Tenant’s Property not removed within thin thirty (30) days after notice from Landlord will be deemed abandoned and Tenant waives
         all claims resulting from Landlord’sd’s retention and disposition
                                           ord’s                  dispos      of such property (provided, however, Tenant shall remain liable
   NF


         for removing Tenant’s Property  ty and reimbursing
                                        rty       reimbur        Landlord for any reasonable cost of removal, disposal or storage of Tenant’s
                                                                 Landl
         Property that Landlord might ht incur (it being understood
                                                           understo that Landlord is not obligated to incur any such cost)). Tenant will not
                                                           und
         be obligated to remove the he Work,
                                        Workrk,, any replacement
                                                      replaceme thereof, or any substantially similar improvements. Tenant’s surrender
                                                      replacem
         obligations with respectt to Tenant-Made      Alterations will be governed by Section 12. Tenant will decommission and remove,
                                                Made Alterat
         pursuant to Section 21(b),
                                 1(b), any inoperable po  portion of the HVAC Systems that were installed after the Effective Date (the
         “Inoperable HVAC”)  C”) that  Landlord does not
                                  hat Lan                n elect to repair and retain. Tenant will repair and restore any portions of the
         Premises damaged  ed
                            d or otherwise adversely
                                            adv          affected by Tenant’s removal of improvements.
                   (b)       Walk-Through.
                             W -Through
                             Walk   Throug . With
                                              Within thirty (30) days following (i) the Extension Notice Deadline (defined in Extension
         Options, Addendum
                      ddendum
                        den       2) without
                                        thou Tenant
                                              Ten    exercising its right to extend the Lease Term; or (ii) Landlord’s receipt of Tenant’s
CO




         exercise of the
                       he Operational Extensi
                                       Extension
                                       Exte       Option (as defined in Section 22), Landlord and Tenant will conduct a walk-through of
         the Premises
                 mises to determine the scscope of improvements to be removed by Tenant from the Premises, which may include (x) any
                                          sco
         Tenant-Made
               nt-Made                required to be removed pursuant to Section 12; (y) all or any part of any mezzanine and related
                  Made Alterations requ
         improvements
            provements within the Pr Premises, provided, however, that Tenant will not be required to remove any mezzanine level that
                                     Pre
         provides
           ovides structural ssupport
          rovides              suppor to the Building; and (z) any Inoperable HVAC (collectively, the “Removal Scope”). If Landlord
         fails
           ils to conduct such walk-through
                                  w              with Tenant in the time period provided in this Section 21(b), then Tenant may send
            ndlord its proposed Removal Scope. Landlord will approve of the Removal Scope or schedule a walk-through with Tenant
         Landlord
         within
             hin seven (7) day
                            ddays
                              ay of receipt of the Removal Scope. If Landlord does not approve of the Removal Scope or schedule a
         walk-through
                hrough with Tenant within seven (7) days, then Tenant may send Landlord an additional copy of the notice stating


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         “FAILURE TO APPROVE THE REMOVAL SCOPE OR SCHEDULE A WALK-THROUGH WITHIN                                             THIN 5 DAYS
         WILL CONSTITUTE DEEMED APPROVAL,” and, if Landlord does not approve of the Removal Scope or schedule                      sched
                                                                                                                                   sche       a
         walk-through within five (5) days, the Removal Scope will be deemed approved. Tenant may either remove                improvements
                                                                                                                      ove the improvement
                                                                                                                                m vement




                                                                                                               L!
         included in the Removal Scope at Tenant’s sole cost, or may elect, within thirty (30) days of agreement (or deemed approval) of
         the Removal Scope, for Landlord to remove such improvements. If Tenant elects for Landlord to remove                 improvements,
                                                                                                                   move such improvemen
                                                                                                                              improvement
         then within thirty (30) days of Tenant’s notice to Landlord of such election, Landlord will obtain at leastt three (3) bids for
                                                                                                                                       fo r the
         removal of the Removal Scope and submit such bids to Tenant. Upon approval by Landlord and Tenant of a bid for remov      removal of
                                                                                                                                   remo
         the Removal Scope, Landlord will perform such work (provided any removal of mezzanine             nee or Inoperable HVAC will be
         performed after expiration of the Lease Term), and Tenant will reimburse Landlord for costss incurred                    (30) days of
                                                                                                             curred within thirty (30
                                                                                                                                  (3




                                                                                               IA
         receipt of an invoice, together with reasonable supporting documentation, up to the agreed-upon
                                                                                                       ed-uponn bid amount.
                                                                                                                    amoun If L  Landlord and
                                                                                                                                La
         Tenant are not able to agree upon a bid for the Removal Scope (or if Landlord fails to provide
                                                                                                     rovide such bids to Tenant)
                                                                                                                         Tenan by the date
         that is at least ninety (90) days prior to the expiration of the Lease Term, then Tenant will remove the impro
                                                                                                                   improvements included in
                                                                                                                   improvem
         the Removal Scope.
                   (c)     Removal Period. If Tenant elects to perform the removal of the Remo
                                                                                             Removal Scope itself,
                                                                                                                 tself, an
                                                                                                                        aand the Removal Scope
         includes mezzanine and/or Inoperable HVAC, then, provided that (i) a Tenant      nant Default is not contconti
                                                                                                                  continuing; and (ii) Tenant




                                                                         NT
         delivers a notice to Landlord within thirty (30) days of agreement on thee Removal Scope,    Scope Tenant
                                                                                                               Tenan will have the right of
         non-exclusive access to the Premises for a period of ninety (90) days following
                                                                                    owing expiration or earlier
                                                                                                             earlie
                                                                                                             ear      termination of this Lease
         (the “Removal Period”) to remove the portion of the Removal Scope constitutingstituting the mezzanine
                                                                                                      mezzani or Inoperable HVAC and
         restore the Premises. During the Removal Period, Tenant’s access will ll be subject
                                                                                           ct to the terms aand conditions of this Lease and
         Tenant will continue to pay Base Rent at the rate of    % of the amount
                                                                           mount in effect prior to the th expiration of the Lease and to be
         responsible for Tenant’s Proportionate Share of Operating Expenses
                                                                         nses
                                                                            es and for the utilities applicable
                                                                                                       ap           to the Premises. If Tenant
         has exercised the Operational Extension Option, this Removal Period will commence
                                                                                      com           immediately
                                                                                                    im               following the Operational
         Extension Option. The Removal Period will not be considered  d a holdover for purposes
                                                                                          purp       of this Lease.
         22.       Holding Over. Tenant may remain in the Premises       ses
                                                                           es for a specified time pe
                                                                                                   period (up to one hundred eighty (180) days)
       E following the Lease Term expiration (the “Operational Extension
         Notice Deadline (the “Operational Extension Option”).
                                                                      Extension”)
                                                                        xtensio ”)) by notifying Landlord
                                                                    ). The Operational Extension
                                                                                          Extens
                                                                                                  L         of its intention prior to the Extension
                                                                                                    will be under the same terms and conditions
         in effect during the immediately previous Lease Term,    rm
                                                                   m, except that Base Rent shall be increased by %. In the event a holdover
         possession exceeds the Operational Extension, or in the event of any other holdover (including following an early termination
         by Tenant), such possession will be month-to-month month at a rate of                                         (   %) of Base Rent at the
     ID
         time of the holdover, provided that any annuall increases in Base Rent  Ren will
                                                                                      w continue to occur as contemplated by Base Rent and
         Operating Expense Exclusions, Addendum         um 1, and subject
                                                                    sub      to termin
                                                                                term
                                                                                termination by Landlord or Tenant upon thirty (30) days’ notice
         to the other party at any time. During any holdover possession, all of the other terms of this Lease (excluding any expansion or
         similar option or right) will be applicable
                                                   able
                                                    ble and
                                                          nd aall
                                                               ll other payments
                                                                         paymen will continue. Subject to Section 33, if (a) Tenant has not
         vacated the Premises following the expiration
                                                xpiration of the Lease Term Ter or the Operational Extension, as applicable; and (b) Landlord
         provides at least thirty (30) days’ notice
                                               otice of the amount of any aan of the following damages that Landlord will incur as a result of
         Tenant’s failure to vacate the Premises
                                            mises at the end of such th thirty (30)-day period, then if Tenant fails to vacate before the latest of
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         (i) the expiration of the Lease Term
                                          Term;
                                             rm;; (ii) the expiration of any Operational Extension; or (iii) thirty (30) days after receipt of
         such notice, Tenant will be liable
                                       iable
                                        able to Landlord for the rental
                                                                    r       revenue actually lost by Landlord solely as a result of the holdover
         from an executed lease, and nd any
                                         ny amounts Landlord
                                                        Landlo is required to pay to any new tenant solely as a result of the holdover, but
         Tenant will not be liable for any other
                                             ther indirect or consequential damages. No holding over by Tenant, whether with or without
         consent of Landlord, will operate to extend thisth Lease except as otherwise expressly provided herein.
         23.       Tenant Default.
                           efault
                               lt. Each of the following
                                               follow    events will be an event of default by Tenant (“Tenant Default”) under this
         Lease:
                  (a)        Failure to Pay Rent.
                                            Rent Tenant fails to pay any installment of Rent when due, and such failure continues for a
         period of five
                     vee (5) Business Days after notice that such payment was not made when due.
CO




                    (b)        Bankruptcy.
                               Bankruptcy    y. Tenant
                                                 T
                                                 Te       or any guarantor or surety of Tenant’s obligations hereunder (i) makes a general
         assignment
                  ment forr the benefit of crecr
                                              creditors; (ii) commences any case, proceeding or other action seeking to have an order for relief
         entered                         debtor or to adjudicate it a bankrupt or insolvent, or seeking reorganization, arrangement, adjustment,
               red on its behalf as a debt
         liquidation,
             uidation, dissolution
           quidation,   dissolut      or composition
                                          co             of it or its debts or seeking appointment of a receiver, trustee, custodian or other similar
         official                all or oof any substantial part of its property (collectively, a “proceeding for relief”); (iii) becomes the subject
            ficial for it or for al
         of any proceeding for reliefre      that is not dismissed within sixty (60) days of its filing or entry; or (iv) is dissolved. If a guarantor
         orr surety files a proceeding
                             proce          for relief, Tenant may replace such guarantor or surety within ninety (90) days of such filing with a
         guarantor
                 ntor or surety reasonably satisfactory to Landlord.
               antor



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                   (c)       Other Defaults. Tenant fails to comply with any provision of this Lease other than those specifically
                                                                                                                           cifically referred
                                                                                                                          ecifically
         to above in this Section 23, and, except as otherwise expressly provided herein, such default continues for more than an thirty (30)
         days after Landlord has given Tenant notice of such default, provided that where any such failure cannot   ot reasonably be cure
                                                                                                                                       cured




                                                                                                           L!
         within a thirty (30)-day period, Tenant will not be in default if Tenant commences to cure the failure wit                 (30)-day
                                                                                                                 within the thirty (30)  -day
                                                                                                                                          day
         period, and thereafter diligently pursues all reasonable efforts to complete the cure. Notwithstanding the
                                                                                                                 he fore                thirty
                                                                                                                     foregoing, if the thirt
                                                                                                                                        thi
         (30)-day period occurs during any part of the Holiday Season, Tenant will be deemed to have commenced                   purpose of
                                                                                                              mencedd a cure for purposes
         this Section 23(c) if, (i) during such thirty (30)-day period, Tenant schedules commencement off the cure as soon       reasonably
                                                                                                                          oon as reason
                                                                                                                                 reaso
         practical after the end of that portion of the Holiday Season; and (ii) such delay does not pose an                   bodily injury
                                                                                                           n imminent risk of bodil
         or death or of material damage to the Premises and is not a violation of Legal Requirements..




                                                                                            IA
         24.      Landlord Remedies.
                   (a)      Remedy Options. During the existence of a Tenant Default, Landlord   ord may terminate this
                                                                                                                    th Lease
                                                                                                                         Le     or Tenant’s
         right of possession (but Tenant will remain liable as hereinafter provided); provided that Landlord
                                                                                                        dlord may not ter
                                                                                                                       terminate
                                                                                                                       t         this Lease
         or Tenant’s right of possession unless, after a Tenant Default, Landlord deliverss notice of Landlord’s intent
                                                                                                                     in     to so terminate
         (which notice will be in addition to any notice required under Section 23) and Tenant fails to cure such Tenant Default within
         ten (10) Business Days after receipt of the notice (or, in the case of a Tenant Default
                                                                                         Defau describ        Section 23(c), if Tenant fails
                                                                                                 described in Sect




                                                                      NT
         to commence to cure within ten (10) Business Days after receipt of the notice).
                                                                                      ice).
                   (b)       Termination of Lease. If Landlord terminates this Lease,
                                                                                    ase, Landlord may recove
                                                                                                           recover from Tenant the sum of the
         following: all Base Rent and all other amounts accrued hereunder to the he date of such
                                                                                              uch termination;
                                                                                                   termination
                                                                                                   term          the cost of reletting the whole
         or any part of the Premises, including leasing commissions incurred by Landlord (provided that   tth Tenant will not be liable for any
         portion applicable to the period after the scheduled termination of this Lease);
                                                                                     Lease) ; costs of removing
                                                                                                       re
                                                                                                       rem         and storing Tenant’s or any
         other occupant’s property; costs of putting the Premises into the condition that Tenant
                                                                                           T         wa
                                                                                                     was required to leave it on termination of
         this Lease; all reasonable expenses incurred by Landlord in pursuing its remedie
                                                                                       remedies, including
                                                                                                    in         reasonable attorneys’ fees and
         court costs; and the excess of the then-present value of the Base Rent and Operating E   Expenses Tenant would have been required
         to pay to Landlord during the period following the termination
                                                                     ination measured from the th date of such termination to the expiration
                                                DE
         date stated in this Lease (excluding any extension periods),
                                                                  eriods),
                                                                      ds), over the present value of any net amounts Tenant establishes
         Landlord can reasonably expect to recover by reletting g the Premises
                                                                          mises for such pe
                                                                                         period, taking into consideration the availability of
         acceptable tenants and other market conditions affecting
                                                             fecting leasin
                                                                      leasing. Such pre
                                                                                     present
                                                                                     pres      values will be calculated at a discount rate of
              t percent ( %) per annum.
                   (c)      Termination of Possession.. If Landlord terminates
                                                                           termina       Tenant’s right to possession without terminating this
         Lease, Landlord will use commercially reasonable
                                                       sonable effor
                                                                 efforts to mitigate
                                                                                tiga its damages and relet the Premises; provided that (i) any
         reletting will be on such terms and conditions
                                                      ons as Landlord in its reasonable
                                                    tions                        re           discretion may determine; (ii) Landlord may lease
         any other space controlled by Landlord       first; and (iii)
                                                  rd first;                  proposed tenant must meet Landlord’s then applicable leasing
                                                                  (iii) any pro
         criteria. For the purpose of such reletting,
                                               letting, Landlord is auth authorized to make any repairs and alterations to the Premises as
                                                                         autho
      I

         Landlord deems reasonably necessaryary or desirab
                                                    desirable.. Iff the Premises
                                                    desirable           Pre
                                                                        Pr          are not relet, then Tenant will pay to Landlord as damages a
         sum equal to the amount of the Base Rent and Operating Expenses payable under this Lease for such period, plus the cost of
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         recovering possession of the Premises
                                           mises (including
                                         remises  (includ       reasonable
                                                                reason       attorneys’ fees and court costs). If the Premises are relet and the
         sum realized from such reletting
                                       ing will not satisfy
                                      ting           satis the Base
                                                                  B      Rent and Operating Expenses payable under this Lease, then Tenant
         will pay any such deficiency           thirty
                                    ncy within thir  y (30) days
                                                    ty        day
                                                              d      of demand from Landlord. Notwithstanding any such reletting without
         termination, Landlord may at any time thereafter elect in writing to terminate this Lease for such previous Tenant Default.
         25.      Landlord Default;        Remedies; Interruption of Tenant’s Business.
                            efault; Tenant Remedie
                                           Remedi
                    (a)                    Defau and Tenant
                              Landlordd Default         T        Remedies Generally. Landlord will be in default (“Landlord Default”) if
         Landlord fails to o perform any of its obliobligations hereunder within thirty (30) days after notice from Tenant specifying such
                        ded that where any such failure
         failure; provided                          fa     cannot reasonably be cured within a thirty (30)-day period, Landlord will not be in
         default if Landlord
                         ndlord commences to cure  c     the failure within the thirty (30)-day period and thereafter diligently pursues all
CO




         reasonablee efforts
                        ffor s to complete
                       effort               te the
                                               the cure. Notwithstanding the above, Landlord acknowledges that continuous operation is
         critical to Tenant’s
                        nant’s business and agrees that if Landlord’s failure causes material interference to Tenant’s operations, Landlord
         will commence
                 ommence its cure w    within
                                         ithi such shorter period as is commercially reasonable given the nature of the failure and the
                                       withi
         interference
              rference and willill diligently
                                   diligen prosecute the cure to completion. If Tenant gives notice that Landlord’s act or omission, or a
         condition
          ondition      discovered or develops that, would or is causing a material interference with Tenant’s operations, or would place
            ndition is discover
         Tenant           compliance with, or prevent Tenant from obtaining, any license or permit related to the Permitted Uses, or may
           enant out of complianc
                          compli
         adversely          human health or safety (any event, a “Material Interference”), then Landlord will respond within twenty-four
            versely affect huma
                            hum
         (24)) hours with a statement
                              sta         of Landlord’s plan to address the Material Interference and the estimated time for cure, commence
         the curee as soon as possible (but in any event within forty-eight (48) hours after Tenant’s notice), and diligently pursue and keep


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         Tenant informed of the progress of the cure and Landlord’s failure to comply with this sentence will constitute        stitute
                                                                                                                                  itute a Landlord
         Default. Notices under the preceding sentence may be given by email to the email addresses set forth in Noticee Addre          Addresses,
                                                                                                                                        Addr
         Addendum 4 (promptly followed by notice under Section 5 of Additional Terms and Conditions,                       ns, Addendum    m3 3).
                                                                                                                                               ). If




                                                                                                              L!
         Landlord is in default (including failure to address a default in the shorter time periods provided for in this subsection), Tenant,
         in addition to pursuing any or all other remedies at law or in equity, may take commercially reasonable       onable
                                                                                                                         nable actions to cure ththe
         Landlord Default (or to cure a Material Interference, which Tenant may do without prior noticee if such           uch prior notice is not
         reasonably possible due to an emergency) and, if Landlord fails to reimburse Tenant for the reasonable    asonable costs
                                                                                                                                sts and reasonable
                                                                                                                                         reaso
         attorneys’ fees for such curative actions, or if Landlord fails to pay any other amount owed          wed to Tenant under this  thi Lease
         (including any tenant improvement or construction allowance or any other reimbursement),            ent),, within thirty (30) ddays after
         demand therefor, accompanied by supporting evidence of the expenses incurred by Tenant           enant where
                                                                                                                    here applicable, Tenant
                                                                                                                                       T       may
         (i) offset such amount from up to        percent ( %) of Base Rent each month (provided        d that such amounts
                                                                                                                     amount may bbe accelerated
         in order for Tenant to recover the full amount prior to expiration of the Lease Term); orr (ii) bring an action
                                                                                                                       action for damages
                                                                                                                                  d          against
         Landlord to recover such costs and reasonable attorneys’ fees, together with interest    stt thereon at the rate pro
                                                                                                                           provided
                                                                                                                           provi      in Section 12
         of Additional Terms and Conditions, Addendum 3, and reasonable attorneys’              ys’
                                                                                                 s’ fees incurred by TenaTenant in bringing such
         action for damages. Tenant will deliver a notice (“Tenant’s Offset Notice”) to Landlord prior to exerci     exercising its offset right. If
         Landlord delivers a notice to Tenant within twenty (20) days after receipt of Tenant’s Offset Notice co        contesting either Tenant’s
         right to offset and/or the amounts specified in Tenant’s Offset Notice (with     th an explanation of Lan Landlord’s objections), and if
         Landlord and Tenant are unable to agree as to Tenant’s right of offset and/or   nd/or the amounts specspecified
                                                                                                               speci      within ten (10) days of
         Landlord’s objection notice, then either party may submit the matter to      o the Expedite
                                                                                            Expedited Arbitration
                                                                                                         Arbitrati Process. Each of Landlord
         and Tenant will submit to the arbitrator its respective argument regarding
                                                                                  ding Tenant’ss right to offset,
                                                                                                           offs and if Tenant is found to have
         had the right to offset, the specific amount of the offset. The arbitrator,
                                                                                tor,
                                                                                 or, in good faith, will dec
                                                                                                         de
                                                                                                         decide whether Tenant had the right to
         offset and if so, will select either Landlord’s or Tenant’s proposalal for the amount
                                                                                         am      of the offset.
                                                                                                         of      Tenant will not offset any Base
         Rent payment until the dispute is resolved.
                  (b)       Interruption of Tenant’s Business. If a Material Interference results
                                                                                                re
                                                                                                res    from (x) an interruption of utilities,
         services or access to the Building or the Land; (y) Landlord’s
                                                                    ord’s breach of this Lea
                                                                                           Lease (regardless of whether any cure period has
         elapsed); or (z) the activities of any Landlord Parties on
                                                                  n orr in the Building or the Land, then the following remedies will apply:
                              (i)    if the Material Interference
                                                                ce is an event described iin (y) or (z), or is an event described in (x) and due
                                                              nce
         to the actions, omissions, or negligence of any Landlord
                                                            andlord               beginning
                                                              ndlord Party, then beginn
                                                                                  begin       on the sixth (6th) Business Day after any such
         event and provided Tenant does not use the affected
                                                          ected portion of the Premises,
                                                                                Prem         Base Rent and Operating Expenses will abate in
         proportion to the square footage of the Premises
                                                       mises  affected until the problem
                                                         ses af                  pr         is corrected, provided that, if any such Material
         Interference continues for more than one hundred
                                                      ndred eighty (180) days (which
                                                                                (w      may be extended for Force Majeure up to thirty (30)
         days), then Tenant may terminate this Lease se on thirty (30) days’ notice,
                                                   ase                       no
                                                                             n       provided that such termination will be null and void if
         the Material Interference is cured within                        period; or
                                                 n such thirty (30) day per
                              (ii)   if the Material                  n ddue to the actions, omissions, or negligence of any Landlord Party,
                                               terial Interference is not
         then Base Rent and Operating Expenses                      provided that if any such Material Interference continues for more than
                                            penses will not abate; pro
                                                                    prov
         two hundred seventy (270) dayss (which may be   b extended for Force Majeure up to thirty (30) days), then Tenant may terminate
         this Lease on thirty (30) days’’ notice,
                                          notice, provided
                                                  provid that such
                                                                suc termination will be null and void if the Material Interference is cured
         within such thirty (30)-day period.
                                     period
                                       eriod..
         26.      Generator. At Tenant’s sole costco andnd ssubject to the Plan Approval Process, Tenant may install, operate, test, and
         maintain one or more battery storage systems,
                                                 systems generators, and fuel tanks (collectively, the “Generator”) in or adjacent to the
         Building in a location
                              on acceptable to Landlord
                                               Landlord. The Generator and Generator pads will be constructed in accordance with plans
         and specifications approveded in advance
                                          ad       by Landlord, which plans will include fencing and curbing as is necessary to contain
         any fuel spill. Att Tenant’s sole
                                       ole cost and either prior to the expiration of the Lease Term or during the Removal Period (if
         applicable), Tenant                   Generator but not the Generator pads.
                        enant will remove the Ge
         27.       Subordination.
                     ubordination
                         or            . If there
                                             here is a mortgage encumbering the Premises, concurrently with or following the execution of this
         Lease, Landlord ord will deliver an SNDA executed by Landlord and mortgage lienholder in a form as described below and
         otherwise       eptable to Tenant. Neither Landlord nor such mortgage lienholder will record any SNDA without Tenant’s prior
                ise acceptable
         consent,
              ent, in it
                      its solele and absolute
                                      absolu discretion. This Lease and Tenant’s interest and rights hereunder are and will be subject and
         subordinate
            bordinate at all times
                                 t       to the lien of any mortgage, hereafter created on or against the Premises, and to the lien of all
         amendments,     restatements, renewals, modifications, consolidations, refinancing, assignments, and extensions thereof, provided
          mendments, restatement
                         restatem
         that
           at the mortgage lie   lienholder
                                 lienh         has executed, acknowledged, and delivered to Tenant a subordination, non-disturbance, and
         attornment
            ornment agreement
          ttornment   agreemen (“SNDA”) reasonably acceptable to it and Tenant. In the event that Tenant fails to execute and deliver an
         SNDA A within fifte
                           fifteen (15) days following receipt of Landlord’s request therefor, Tenant shall pay to Landlord a fee in the



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         amount of $        per day for each day following such 15-day period, but only to the extent that Tenant is nott negoti
                                                                                                                             negotiating the
         terms of the SNDA in good faith. Notwithstanding the foregoing, any such lienholder may at any time subordinaterdinate its mortgage
                                                                                                                                    mor
                                                                                                                                    mort
         to this Lease, without Tenant’s consent, by notice to Tenant, and thereupon this Lease will be deemed prior to such mortgagmortgage




                                                                                                                  !
         without regard to their respective dates of execution, delivery, or recording and in that event such lienholder
                                                                                                                   older will have the same
                                                                                                                   ol                     ame
         rights with respect to this Lease as though this Lease had been executed prior to the execution, delivery,
                                                                                                                very,
                                                                                                                  ry, and recording of susuch




                                                                                               AL
         mortgage and had been assigned to such mortgage lienholder.
         28.       Mechanics’ Liens. Tenant has no express or implied authority to create or place any lien ien or encumbrance of anany kind
         upon, or in any manner to bind the interest of Landlord or Tenant in, the Premises or to chargee the
                                                                                                            he rentals payable hereu
                                                                                                                               hereunder for
         any claim in favor of any person dealing with Tenant, including those who may furnish materials      rials or perform lab
                                                                                                                               labor for any
         construction or repairs. Tenant will pay or cause to be paid all sums legally due and payable by it on account a       of any labor
         performed or materials furnished in connection with any work by Tenant on the Premises    ess and will hold La
                                                                                                                     Landlord harmless from
         all losses, costs, or expenses based on or arising out of asserted claims or liens with respect to such work against
                                                                                                                        agai
                                                                                                                        a      the leasehold
         estate or against the interest of Landlord in the Premises or under this Lease. Tenantt will give Landlord imm
                                                                                                                     imme
                                                                                                                     immediate notice of any




           TI
         lien or encumbrance against the Premises as a result of work by Tenant and cause   use
                                                                                             se such lien or encumbr
                                                                                                             encumbra
                                                                                                              encumbrance to be discharged
         within thirty (30) days of the filing or recording thereof; provided Tenant may  y contest such liens or enencumbrances as long as
         such contest prevents foreclosure of the lien or encumbrance and Tenant causes  auses such lien oro encum
                                                                                                              encumbrance to be bonded or
         insured over in a manner satisfactory to Landlord within such thirty (30)-dayday period.
                                                                                          p
         29.       Estoppel Certificates. Tenant and Landlord agree, from timee to time,   me, but not
                                                                                                    n more often
                                                                                                               o     than two (2) times in any
         calendar year (except in connection with a sale or financing, in which  hich case theree is no limit
                                                                                                         limit), within twenty (20) days after


        EN
         request of the other that is delivered pursuant to Section 5 of Additional

         hereto as Exhibit E, with appropriate exceptions to the statements
         an estoppel certificate within such twenty (20) day period, Tenant
                                                                                ional
                                                                                 onal Terms and Condi
         deliver to each other, any prospective purchaser, or any lender for the Premises,


         for each day following such 20-day period, but only to the extent that Tenant
         such estoppel certificate in good faith. Tenant acknowledges
                                                                    dges
                                                                                      Prem
                                                                           ents therein. In th
                                                                                             Landlo
                                                                                                   Condit
                                                                                                   Conditions, Addendum 3, to execute and
                                                                                                 an esto
                                                                                                     estoppel certificate in the form attached
                                                                                            the event that Tenant fails to execute and deliver
                                                                         enant shall pay to Land
                                                                                             Landlord a fee in the amount of $

                                                                     ges that a purchaser or lender
         forth in any such estoppel certificate. The parties acknowledge
                                                                   nowledge
                                                                        dge that an eestoppel
                                                                                      stoppe
                                                                                              le
                                                                                                                                       per day
                                                                                  Ten is not nnegotiating any additional statements within
                                                                                              len may rely upon the truth of the matters set
                                                                                       toppe certificate does not constitute an independent
         contractual undertaking or constitute representations, ns, warranties or covena
                                                                                   covenants or otherwise have legal effect (except as an
         estoppel from asserting any contrary fact or claim  aim as that set forth in ssuch certificate), or modify in any way, Tenant’s
         relationship, obligations, or rights vis-à-vis Landlord.
                                                            dlord
                                                            dlord.
     ID
         30.      Environmental Requirements.
                   (a)       Hazardous Materials Generally
                                                        nerally and Tenant Obligations.
                                                                             Obli        Except for Hazardous Materials used in connection
         with Tenant’s normal business operations    ions as permitted under this Lease, including any packaged merchandise to be sold,
         handled, and/or held for shipment, maintenance of Tenant’s trucks and machinery, fuel (including liquid hydrogen or other
         alternative fuels) or batteries forr any trucks, generatogenerators, other machinery, or Energy and Communications Related
                                                                  generator
         Improvements (all of which will be handled by Tenant in compliance with all Environmental Requirements), Tenant will not
   NF


         permit any Hazardous Material    al upon the Bu Building or Land, or transport, store, use, generate, manufacture, or release any
         Hazardous Material in or about  out the   uilding or Land without Landlord’s prior consent. Tenant, at its sole cost, to the extent
                                             th Building
         required by Environmental   al Requirements,
                                          equirements, will investigate,
                                                               iinv         remove, monitor, mitigate, and remediate Hazardous Materials
         released into or on the Building
                                    uilding or Land by any T  Tenant Parties. Landlord will provide Cooperation Efforts to obtain or comply
         with any licenses, permits,
                                mits, or other governmental
                                                government permissions required in connection with Tenant’s use of Hazardous Material
                                                governme
         in compliance with thishis Section. ““Environmental
                                               Environm
                                               Environme          Requirements” means all Legal Requirements relating to the protection of
         human health and the environment
                                     ironmen or expoexposure to hazardous substances or hazardous materials, including the Comprehensive
         Environmental Response, Compensa
                                      Compensation and Liability Act; the Resource Conservation and Recovery Act; the Occupational
         Safety and Health
                       ealth                     local counterparts thereto; and any regulations, policies, permits, or approvals promulgated
                        alth Act; all state and loca
                                                 loc
         or issued thereunder.
                      ereunder.
                       reun             rdou Materials”
                                “Hazardous     Ma          means any substance, material, waste, pollutant, or contaminant listed or defined
CO




         as hazardous
                   ous or toxic under any Environmental
                                             En               Requirements.
                    (b)       Landlord Representations.
                                         Rep               Landlord represents and warrants that except for information contained in that
         certain
              ain
               in Phase I Environmenta
                           Environmental Site Assessment dated October 23, 2018 and prepared by EBI Consulting (the “Environmental
         Report”),
           eport
             port”), to Landlord’s
                             lor actual
                                     actu knowledge, (i) the Building and the Land are free from Hazardous Materials and mold and there
         aree no environmental conditions
                                  cond       affecting the Building or the Land in violation of Environmental Requirements; (ii) there is no
         asbestos,
            best      asbestos-containing
                      asbestos -cont
                                co         materials, presumed asbestos-containing materials, PCBs, or PCB-containing materials or
         equipment
            uipmen in, at,, on or under the Building or the Land; (iii) reserved; (iv) there are no past, present, or threatened releases,
          quipment
         disposals,   discharges, dispersals, or emissions of Hazardous Materials at, in, on, under or emanating to or from the Building or
                sals, discharge



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         the Land in violation of Environmental Requirements; (v) there are no, and have never been, any underground    nd storage tanks or
         wells in, at, on or under the Building or the Land; and (vi) Landlord has provided Tenant with copies of all notices     within its
                                                                                                                              ces with
         possession or control (x) from governmental entities in connection with actual or potential environmental  al conditions in, at, oor




                                                                                                              L!
         on the Building or the Land; (y) from governmental entities relating to compliance with environmental   vi
                                                                                                                 vironmental    permits or
         Environmental Requirements; and (z) related to actual or threatened administrative or judicial proceedings
                                                                                                              eedings
                                                                                                                 dings in connection w with
         environmental conditions in, at, or on the Building or the Land. Landlord represents and warrants that                knowledge it
                                                                                                             hat to its actual knowledg
         conducted “all appropriate inquiries” as required to qualify as a “bona fide prospective purchaser”             rms are used in 42
                                                                                                          r” as those terms
         U.S.C. § 9601(40).
                  (c)       Tenant Indemnification Obligation. Tenant will indemnify, defend, and      d holdd Landlord harmless
                                                                                                                          harmles from and




                                                                                              IA
         against any and all losses, liabilities, damages, costs, and expenses (including remediation,
                                                                                                     n, removal, repair, corrective
                                                                                                                         correcti action, or
         cleanup expenses, reasonable attorneys’ and consultants’ fees, and punitive and/or natural atural resource damages)
                                                                                                                    da ges (collectively,
                                                                                                                    dama
         “Environmental Claims”) that are brought or recoverable against, or incurred by,                          resul oof any release of
                                                                                                y,, Landlord as a result
         Hazardous Materials that Tenant is obligated to remediate as provided above or any   y other breach of the requ
                                                                                                                    requirements under this
         Section 30 by any Tenant Party, regardless of whether Tenant had knowledge of such noncompliance
                                                                                                       noncompliance, except to the extent
         caused by the negligence or willful misconduct of Landlord or any Landlord Party.




                                                                        NT
                   (d)      Landlord Obligations. Landlord shall, at its sole cost, comply   mply with, and cause the Building and the Land to
                                                                                            omply
         comply with, all Environmental Requirements during the Lease Term except         cept
                                                                                            pt to the extent Tenant iis required to do so under this
         Section 30. Without limiting the foregoing, Landlord shall, at its solee cost, prompt                   diligently (i) investigate, remove,
                                                                                                 promptly and dili
         monitor, mitigate, and/or remediate (or, at Tenant’s election, reimburse    urse Tenant for or the ccosts to investigate, remove, monitor,
         mitigate, and/or remediate) any and all Hazardous Materials located       d in, on, and under the BuBuilding or the Land (other than those
         for which Tenant is responsible under this Section 30) to the extent   xtent required
                                                                                       require by Environmental
                                                                                                     Environ           Requirements, or as may be
         required for the health or safety of Tenant’s employees; (ii) obtain,ain, maintain,
                                                                             tain, m      ain, and comply with any and all permits required with
                                                                                   maintain,
         respect to the Building and the Land under applicable Environmental
                                                                           nvironmental    Requirements, except for such permits specifically
                                                                            vironmental Requiremen
                                                                                           Requirem
         required and held by Tenant in connection with Tenant’s operations
                                                                        operations;
                                                                          perat                     se an authorized representative of Landlord to
                                                                                    ; and (iii) cause
                                                 DE
         sign hazardous waste manifests, if any, that may be required   red by applicable Environmental
                                                                       ired                 Enviro            Requirements, as the “generator” for
         soil, groundwater or existing building materials generated rated at the Premises during
                                                                                              duri renovation activities as contemplated under
                                                                                              dur
         this Lease (provided, however, that Tenant (and not    ott Landlord) shall sign hazardous
                                                                                             ha           waste manifests as the “generator” with
         respect to any soil, groundwater, building materialslss or other hazardous materials
                                                                                        mate       which are contaminated by Tenant). Landlord
         shall indemnify, defend, and hold Tenant harmlessmless from and against an      any and all Environmental Claims that are brought or
         recoverable against, or incurred by, Tenant arising
                                                          sing ffrom ((x)
                                                        rising                   environmental
                                                                         x) any env
                                                                                 enviro           condition existing prior to Tenant’s occupancy
         of the Premises in violation of Environmental       Requirements;; ((y)
                                                       ental Requir
                                                             Requirements         y) the release of Hazardous Materials by Landlord or any
         Landlord Parties affecting the Premises aand  nd in violation of Environmental
                                                                                Env
                                                                                En                Requirements; or (z) any other breach of the
         requirements under this Section 30 by any Landlord Party, regardless of whether Landlord had knowledge of such
         noncompliance, except to the extent caused by the negligence or willful misconduct of Tenant or any Tenant Party.
                          I

                    (e)         Remediation Obligations.
                                                 bliga
                                                 bligation s. If, during the
                                                                           th Lease Term, Landlord or Tenant (each, a “Notifying Party”)
         reasonably believes that any Hazardous
                                              zardous
                                                ardous Materials
                                                        Materi are localocated in, under, on, or about the Building or the Land in violation of any
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         Environmental Requirements (other than those      th     that the
                                                                        th Notifying Party is responsible for under this Section 30), then the
         Notifying Party shall promptly  mptly
                                           ptly give the othe     party (the “Responding Party”) notice thereof (the “Hazardous Materials
                                                            other part
         Notice”). Within thirty (30)  30) dayss after receipt of the
                                                                   th Hazardous Materials Notice, the Responding Party, at its sole cost, shall
         diligently conduct its own  wn investigation,
                                                    tion, and sha
                                                              shall commence to remove, monitor, mitigate, and/or remediate such Hazardous
         Materials to the extent                    Environmental Requirements, or as may be required for the health or safety of Tenant’s
                                  nt required by Environme
                                                    Environm
         employees, within sixty     y (60) days
                                            d      after the Hazardous Materials Notice and thereafter diligently prosecute such activities to
         completion. If thee Responding Party Part fails tto perform its obligations under this Section 30(e), the Notifying Party may elect to
         perform such obligations on behalf of tthe Responding Party and the Responding Party shall reimburse the Notifying Party.
         Notwithstanding  ing the foregoing, Tenant
                        ding                   Tenan shall have no responsibility for the removal, monitoring, mitigation, and/or remediation
CO



         of any Hazardousrdous Materials present
                      zardous               presen
                                            pre       in the soil or groundwater underneath the Premises if such Hazardous Materials were
         initially released
                          sed from a source ooff the Premises and migrated to the soil and groundwater underneath the Premises, and neither
         the initial
                 tial release,          subsequent
                           ase, nor the subse
                                        subseq        migration or expansion were caused by Tenant.
         31.      Security Service.
                           Service L Landlord is not providing any security services with respect to the Premises and will not be liable to
         Tenant
          enant
           nan for any loss       theft or any other damage incurred by Tenant in connection with any unauthorized entry into the
                          oss by th
           emises by any third party
         Premises              pa or any other breach of security, except to the extent such entry or breach of security is caused by the
         gross
           oss negligence
               n             willful misconduct of any Landlord Party or a breach of this Lease by Landlord.
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         32.      Anti-Corruption. Landlord acknowledges that Tenant Guarantor’s Code of Business Conduct and      d Ethics pposted at
         http://phx.corporate-ir.net/phoenix.zhtml?c=97664&p=irol-govconduct (the “Code”) prohibits the paying of bribes       anyone
                                                                                                                       bes to an
         for any reason, whether in dealings with governments or the private sector. Landlord will not violate or knowinglyy permit
                                                                                                                               permi




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         anyone to violate the Code’s prohibition on bribery or any applicable anti-corruption laws in performing
                                                                                                             rming under this Lease.
         Landlord will maintain true, accurate and complete books and records concerning any payments made to another party by
         Landlord under this Lease, including on behalf of Tenant. Tenant and its designated representative
                                                                                                        tive may          Landlord’s
                                                                                                               ay inspect Landlor
         books and records to verify such payments and for compliance with this Section.
         33.       Waiver of Consequential Damages. Notwithstanding anything to the contrary, neither        her Landlord nor Tenant
                                                                                                           ither               Tenan will be
         liable to the other for consequential damages, such as lost profits or interruption of either  er party’s            except that this
                                                                                                               ty’s business, excep




                                                                          IA
         sentence will not apply to (a) damages resulting from Tenant’s holdover, but only to the     he extent described
                                                                                                                  describe in SSection 22; or
         (b) Landlord’s breach of its confidentiality obligations under this Lease up to an amount  nt equal to six (6) months
                                                                                                   unt                  month of Base Rent
         for a non-willful breach (and no such cap will apply to Landlord’s willful breach). Any liability of Landlord
                                                                                                                   Landlo under this Lease
         will be limited solely to its interest in the Building and the Land and to the rents and
                                                                                               nd proceeds therefrom (i  (including
                                                                                                                         (in        insurance
         proceeds), and in no event will any recourse be had to any other property or assetsets of L
                                                                                                   Landlord.
         34.      Option to Extend. Tenant has options to extend the Lease Term as pr
                                                                                   provided     Extension Options,
                                                                                      ovided in Ex        O        Addendum 2.




                                                                       NT
         35.      Intentionally deleted.
         36.      Public Announcements; Confidentiality.
                   (a)      Public Announcements. No Landlord Party will make public announceme   announcements regarding Tenant’s proposed or
                                                                                                  announcemen
         actual occupancy of the Premises without Tenant’s prior consent,       sent,
                                                                                  nt, which Tenant may withhold in its sole and absolute
         discretion, and Landlord will instruct its brokers, developers, contractors,
                                                                             ontractors, subcontractors,
                                                                                          subcontractor
                                                                                          subc               agents, and consultants not to make
         or issue any public announcement regarding Tenant’s proposed                     occupan oof the Premises; provided that Landlord
                                                                           sed or actual occupancy
         may issue a press release regarding Tenant’s occupancy off the Premises only if su         such press release (i) is issued following (or
                                                                                                    suc
         simultaneously with, if required by Legal Requirements)      ts)
                                                                       s) the issuance
                                                                               issuance of a ppre press release by Tenant; (ii) does not contain
                                                 DE
         information relative to Tenant or the Premises other thanhan information contained in any press release(s) issued by Tenant or as
         otherwise approved by Tenant, in its sole and absolute  lutee discretion; and (iii)
                                                                                        (ii i) iis approved in its final form by Tenant prior to
         release, such approval not to be unreasonably withheld.
                                                               thheld. After the commencement
                                                              ithheld.              comme                of Tenant’s operations at the Premises,
         Landlord may list Tenant or Tenant’s ultimate parent’s name (but not its       i logo) and/or use a picture of the exterior of the
         Premises in lists of representative tenants or other
                                                         ther              materials.
                                                          her marketing materials
                                                                           materi
                   (b)      Confidential Information.. All information specific
                                                                           specifically labeled as “confidential” or that would reasonably be
                                                                           specifi
         presumed to be confidential, including thee terms and conditions of this Lease and all nonpublic information relating to Tenant’s
         technology, operations, customers, business
                                                   iness plans, promotional and marketing activities, finances, and other business affairs
                                                  siness
         (collectively, “Confidential Information”),
                                                tion ”), that is learned by or disclosed to any Landlord Parties with respect to Tenant’s
                                                 ion”),
      I

         business in connection with this leasing
                                              asing transac
                                                     transaction will be kept strictly confidential by such Landlord Parties and will not be
         used or disclosed to others withoutut the express prior consent
                                           ou                       cons
                                                                    con      of Tenant, which Tenant may withhold in its sole and absolute
   NF


         discretion; provided that Landlord  rd may (i) use Confi
                                        ndlord                   Confidential Information for its confidential internal business purposes;
         (ii) disclose Confidential Information
                                       ormation as required
                                      formation       req        by Legal Requirements; and (iii) disclose the terms and conditions of this
         Lease to the Landlord Indemnitees,
                                         itees, or potential purchasers
                                   demnitees,                  ppu         or lenders, provided that Landlord ensures that parties receiving
         Confidential Information            nd the terms of this confidentiality provision. Notwithstanding Section 17(d), the provisions
                                  n understand
         of this Section 36 will continue to bind Landlord
                                                   Landlor after Landlord’s conveyance of the Premises or any portion thereof.
                                                   Landl
         37.      Energy and
                          nd Communications
                              ommun         Related Improvements.
                                            Rel
                     (a)       Energy and Communications
                                             Comm              Related Improvements. Tenant has exclusive use of the roof, provided that
         Landlord mayy use any portion of the roof ro to operate, maintain, repair and replace any Building equipment or systems which are
         located on thee roof.
                           ro Subject to Legal
                                             L     Requirements and the Plan Approval Process, Landlord will permit Tenant or Vendors to
CO




         install, operate,
                         te, test, inspect, and maintain in the Building, on the roof or exterior of the Building, or on the Land, in locations
         mutually acceptable
                         eptable to Landlor
                                      Landlord and Tenant, satellite dishes, cellular antennae, fiber optic lines, overhead or underground
         conduits,
                 its, cabling, power lines,
                                         line distribution systems, and related equipment (the “Energy and Communications Related
         Improvements”).
             provemen          Energy
                                 nergy and
                                        an Communications Related Improvements may include (i) renewable energy systems, including,
         solar
            lar energy systems
                             tems (“Solar Energy Systems”), electric systems, hydrogen or other fuel cells, tanks, and related equipment,
         including
            clu       ducts, risers,
                               iser cclosets, pipes, lines, conduits, and distribution systems connecting the Energy and Communications
         Related     Improvements
                     Improvement to the utilities serving the Premises and/or directly to Tenant’s equipment in the Premises; and
             lated Improvemen
         (ii) improvements appurtenant
                                a             to the Energy and Communications Related Improvements, including parking lot canopies,
         concretee pads, andan concrete or asphalt driveways. For purposes of the Plan Approval Process, Landlord will not withhold,


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         condition, or delay its approval of plans and specifications for any Solar Energy System (collectively, the “Solar
                                                                                                                          ar Plan
                                                                                                                             Plans”) unless
         (x) the Solar Energy System as described on the Solar Plans will undermine the integrity of the Building or roof; orr (y) the Solar
         Plans have not sufficiently screened the rooftop portions of the Solar Energy System from view at ground level on all side sides of




                                                                   !
         the Building in a commercially reasonable manner. Tenant or Vendors may erect and maintain the Energy    gy and Communications
         Related Improvements for a term that will expire or otherwise terminate prior to or concurrently        ly with the termination,
                                                                                                                                      nati




                                                                 AL
         expiration or extension of the Lease Term. Notwithstanding anything to the contrary set forth in this Lease,
                                                                                                                    e, Tenant shall remove
                                                                                                                                     rem
         all Energy and Communications Related Improvements from the Premises and repair any damage to the Premises    mises caused bby the
         installation or removal thereof prior to the expiration or earlier termination of this Lease.
                   (b)      Ownership; Use; Permits. Tenant or Vendors will own the Energy and              nd Communications
                                                                                                                 Communication Related
         Improvements. The Solar Energy Systems and any renewable energy that is produced (including environmental
                                                                                                                 environmenta credits and
                                                                                                                 enviro
         related attributes) are personal property, and will not be considered the property (personal
                                                                                                   onal or otherwise)
                                                                                                  sonal    otherwise of Landlord.
                                                                                                                         Lan        Tenant
         pays all electrical costs resulting from the Energy and Communications Related        ated  Improvements.
                                                                                                ted Improvements
                                                                                                      mprovements.. LanLandlord makes no
                                                                                                                       L
         representations or warranties to Tenant as to the permissibility of any Energy and Communications Related Improvements on,




                                                               TI
         in, or under the Premises under Legal Requirements. Landlord will provide Cooperation
                                                                                           operation Efforts to
                                                                                           operati               obta or comply with any
                                                                                                               o obtain
         licenses, permits, or other governmental permissions required in connection with the Energy and Co       Communications Related
         Improvements. For any Tenant Default related to the Energy and Communicationscations
                                                                                        ations Related Im
                                                                                                        Improvem
                                                                                                        Improvements, Landlord will give
         Tenant an additional ten (10)-day notice and cure period beyond the period od in Section 23(c) to allow
                                                                                                            allo
                                                                                                            al     Tenant to give notice to
         Vendor and coordinate the cure of such default.
                  (c)      Installation. If any Energy and Communications Related Impro     Improvements installation requires roof




                   (d)
                                                             EN
         penetrations, Tenant or Vendors will use a contractor approved by Landlord and will cause such work to be done in a manner
         that preserves any roof warranty held by Landlord. If required by
                                                                         y Landlord’s roofing manufacturer,
         the Premises and the holder of the roof warranty) will executee a roof manufacturer
         and Tenant or Vendors will comply with its terms and pay any
                                                                                manufact

                             Access; Cooperation. Landlord will grant Tenant and Vendors
         installing, testing, monitoring, repairing, maintaining,
         Improvements, including allowing Tenant and Vendors
                                                                                               man
                                                                                              overburden
                                                                                              ove
                                                                                         therewith.
                                                                     ny costs associated ther
                                                                                         therew

                                                                       g, and removing any of
                                                                                                            Landlord (as the owner of
                                                                                                         waiver (or similar document)

                                                                                               Vendo access to the Premises for purposes of
                                                                                               Vend
                                                                                                   o the Energy and Communications Related
                                                                     ors to (i) bring fiber optic lines to the Premises (including establishing one
         or more additional pathways to the Building) and install nstall fiber distribution panels
                                                                                             pa      within the Building to provide connectivity to
         the Premises; (ii) install, monitor, and maintain otherther equipment within th  the Building to provide, receive, and monitor telephone
         and network connectivity to the Premises, and      ndd power from the Energy
                                                                                    Energ
                                                                                    E        and Communications Related Improvements to the
                                            ID
         Premises or to Tenant’s Property; (iii) bring overhead
                                                             verhead or underground
                                                                           undergrou conduit, cabling, and other power lines and distribution
         systems on the Land (including establishing    shing one or more add     additional pathways to the Building from the Energy and
         Communications Related Improvements);                            Premises to refill tank(s) with liquid hydrogen; and (v) access and use
                                                      ); (iv) access the Premise
         existing easement areas (subject to thee terms of such easement agreements) and telecommunications ducts, risers, closets, and
         conduits serving the Building and the   he Premises, penetrate th    the slab or roof, and remove and replace portions of the curbing,
         pavement, and sidewalks in each case as reasonably necess    necessary
                                                                      neces       for any of the foregoing. All such work by Tenant or Vendors
         will be subject to Section 12 and               Approval Process.
                                            d the Plan App           Proc        Without imposing additional costs or restrictions, Landlord will
                      NF


         execute any license, right of entry agreement,
                                                agreemen or similar
                                                                 simil agreement reasonably requested in connection with the provision of
         services to the Premises by any                 Notwithstanding anything to the contrary, Landlord will have no liability to Tenant
                                         ny Vendors. Notwithsta
                                                         Notw
         for any damage or interruption
                                     uption of utility or other service
                                                                  s         to the Premises resulting from any activities of Vendors. Subject to
         Sections 9 and 15, Tenantant will repair all damage tto the Building caused by Vendors, their work or installations or the removal of
         such work or installations,
                                  ons, to the extent such work
                                tions,                      w      is done by or on Tenant’s behalf.
         38.      Credits and Incentives.
                              Incentives
                                 entives.
                  (a)         At Tenant’s sole cost   cost,
                                                      co Tenant may seek from the federal, state, and local agencies and authorities (the
         “Authorities”)
                      ”)) economic development
                                         developmen incentives including the creation of an enterprise zone, tax abatements, tax increment
CO



         financing, jobb training
                         tr          grants, utility
                                             uutility-related
                                               ti             incentives, and/or industrial revenue bonds in connection with Tenant’s decision to
         conduct business               Premis (the “Incentives”); provided that any such activity by Tenant does not interfere with any
                       ness on the Premises
         economic
                mic development
                         elopment incentives
                                       incentiv including the creation of an enterprise zone, tax abatements, tax increment financing, job
         training
             ning grants, utility
                            uutility-related
                              tility--related incentives, and/or industrial revenue bonds which are in effect from time to time or which
         Landlord
           andlord
            ndlord might purpursue during
                                      duri the Lease Term.
                   (b)      Up Tenant’s request, Landlord will provide Cooperation Efforts and information regarding Landlord’s
                            Upon
         costs             connection with the construction or operation of the Building and the Land, if known, in such manner and
           sts incurred in con
                           conn
         detail
             il as may be reasonably
            ail            rea          requested by Tenant and the Authorities in order to obtain and maintain the Incentives. Such
         documentation   will only be for the purpose of obtaining and maintaining the Incentives and will not be binding upon any other
                entation wi


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         parties, including any lender of Landlord. Tenant will be solely responsible for all reporting obligations required
                                                                                                                          ed in connection
                                                                                                                        ired    co
         with the Incentives.
                 (c)      All Incentives are for the benefit of Tenant and will be passed through to Tenant by y Landlord in a manner




                                                                                                                 !
         reasonably acceptable to Tenant, Landlord, and the Authorities so that, to the maximum extent possible,
                                                                                                             le,
                                                                                                              e, Tenant is placed in the
                                                                                                                                     t he
         same financial position as if it received such Incentives directly.




                                                                                  AL
                 (d)       Landlord will not modify or terminate the Incentives without Tenant’s prior consent
                                                                                                        onsent and will
                                                                                                                     ll follow Tenant’s
                                                                                                                               Ten
         reasonable written instructions as to the implementation and use of the Incentives.
         39.     Additional Terms and Conditions. Additional Terms and Conditions, Addendum
                                                                                       ndum 3 contains additional
                                                                                                       addition standard
         terms and conditions of this Lease.
         40.                                                                              enant’s payment obli
                   Tenant Guaranty. Tenant Guarantor has provided a limited guaranty for Tenant’s         obligatio
                                                                                                          obligations in this Lease
         in the form attached as Exhibit H (the “Guaranty”).




                                                                                TI
         41.      Landlord Representation—Potential Conflicts of Interest. Landlord       ord
                                                                                           rd represents and warrants
                                                                                                             warra
                                                                                                             warran that, to Landlord’s
         actual knowledge, Landlord has disclosed to Tenant if any of its principals or their                  members are employed by
                                                                                         heir immediate family me
         (a) governmental agencies with jurisdiction over the Work or Initial Improvements,
                                                                                        men , or (b) Tenant
                                                                                     vements         Ten or a Tenant Affiliate.

         42.       Amazon Lockers. Subject to Landlord’s reasonable approval      al of the plans and specifications
                                                                                                        specif          pursuant to the Plan
         Approval Process and to Legal Requirements, Tenant may install kiosks/locker
                                                                                 kiosks/lockers
                                                                                            kerss for deliveries
                                                                                                      delive      and returns (the “Amazon
         Lockers”) in any common areas and the parking areas, in all cases adjacent
                                                                               djacent to the Premises
                                                                                              Premises, ffor no additional Base Rent. Upon


                                                          EN
         expiration or earlier termination of this Lease, Tenant will removee the Amazon Lockers an
         restore the area and repair any damage caused by such removal except for reaso
         other tenants or a Landlord Party.
                                                                                      reasonable wear
                                                                                                      and all associated equipment, and will
                                                                                                   we and tear and damage caused by any




                                                       [SIGNATURES
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                 Landlord and Tenant have executed this Lease on the dates set forth below, to be effective as of thee later of the dates
         shown below (the “Effective Date”).




                                                                                                              !
                                                                     LANDLORD:




                                                              AL
                                                                     AG-EIP 1 Geoffrey Drive, L.LC.,
                                                                     a Delaware limited liability company
                                                                                                        y

                                                                     By: AG-EIP Industrial 6, L.L.C.,
                                                                                                  C., its
                                                                                                       ts sole member

                                                                     By: AG Real Estate Manager,
                                                                                            ger,
                                                                                             er, Inc., its manager
                                                                                                           manag


                                                                     By




                                                           TI
                                                                               
                                                                     Name

                                                                     Title     
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                                                         EN          Date signed
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                                                        Signature Page to Lease Agreement
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                                                              TENANT:




                                                                         !
                                                              Amazon.com Services LLC,
                                                              a Delaware limited liability company
                                                                                                 y




                                                                      AL
                                                              By

                                                                         
                                                              Name

                                                              Title 
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                                                              Date signed




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                                              Signature Page to Lease Agreement
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                                                                       ADDENDUM 1

                                             BASE RENT AND OPERATING EXPENSE EXCLUSIONS




                                                                                            !
                                                                                         AL
         Base Rent.

                                                                      Annual Base Rent
                               Time Period                                                        Annual Base Rent
                                                                                                               ent          Monthly Base Rent
                                                                                                                                         R
                                                                       Per Square Foot
              Commencement Date – February 28, 2022                         $                        $                           $


         Operating Expense Exclusions. The following costs shall be excluded from Operating Expenses: (1)                          (1 costs incurred in
         connection with the original construction, or subsequent reconfiguration or upgrade,           rade, of the Building or the
                                                                                                                                  t Land; (2) costs of




                                                                                       TI
         correcting design and structural defects during the first three (3) years of the Lease      ease Term;
                                                                                                           Term; (3) real estate
                                                                                                                              te brokers’ commissions,
         renovations, tenant improvements, or other costs incurred for attracting tenants         nts
                                                                                                    ts or with respect
                                                                                                                respec to othe
                                                                                                                           other rentable area; (4) costs
         resulting from the negligence or willful misconduct of any Landlord Partyy or the default of Landlo          Land
                                                                                                                      Landlord under this Lease or any
         other agreement affecting Landlord, the Building, or the Land; (5) legal,, accounting accounting,
                                                                                                 countin , or professional
                                                                                                                 professio
                                                                                                                       sio fees and costs incurred in
         connection with lease negotiations, lease enforcement, administration or disputes,           es the audit
                                                                                                              a     of any
                                                                                                                       a Landlord financial materials
         and requests related to any assignment or sublease; (6) interest and          d principal payments or oother amortization or depreciation


                                                               EN
         charges on the Building or the Land (including the Building systems
         (7) overhead and profit paid to subsidiaries or affiliates of Landlord

         or services were obtained from unrelated third parties; (8)
         (9) costs for the acquisition or maintenance of art; (10) advertising,
                                                                                 dlord
                                                                                      ystems and equipment) or the indebtedness of Landlord;
                                                                                   lord for
                                                                                         fo r management
                                                                                              manag
         materials, to the extent the amounts incurred exceed those that would have been reasonably

                                                                           dvertising, marketing,
                                                                                        marketing, and
         the operation of the entity that constitutes Landlord, as distinguished from cost
         (12) costs for which Landlord receives reimbursement
                                                                                                       rea
                                                                                                              or other
                                                                                                                 o     services, or for supplies or other
                                                                                                       reasona incurred if such supplies, materials,
                                                                             8) contributions to any ppolitical or charitable persons or entities;
                                                                                                      a promotion costs; (11) costs associated with
                                                                                                   costs
                                                                                                   cos of operation of the Building and the Land;
                                                                     nt under warranties or by insurers,
                                                                                                    i          other tenants (other than reimbursement
         as operating expenses pursuant to lease obligations),      ons),, or third parties; ((1
                                                                    ons)                        (13) reserves; (14) costs incurred to comply with
         Environmental Requirements or to investigate, remove,  emove,
                                                                  move, remediate, or resprespond
                                                                                          respo to any claim related to Hazardous Materials (but
         Tenant’s responsibility for Hazardous Materials      rials
                                                               ials brought onto tthe Premises
                                                                                            P            by any Tenant Party will be governed by
                                              ID
         Section 30); (15) costs of capital repairs or replacements
                                                           eplacements
                                                              laceme unless amort  amortized in equal monthly installments over their useful lives
                                                                                   amo
         in accordance with GAAP; (16) costs and expenses incurred in leas        leasi
                                                                                  leasing equipment or systems that would ordinarily constitute a
         capital expenditure if such equipment orr systems were purchase   purchased
                                                                           purchased, to the extent such rental charges exceed the amortization
         charge, if any, that would have been permitted
                                                     ermitted had the item beebeen purchased; (17) costs of repairs or other work necessitated by
         fire, windstorm, or other casualty and    d costs of repair or oth
                                                                         other work
                                                                               w       necessitated by the exercise of the right of eminent domain;
         (18) cost of insurance coverages not   ot generally carried by la  landlords of similar buildings in the area; (19) insurance deductibles
         and co-insurance payments; provided viided that no mmore than $              of insurance deductibles in the aggregate may be included in
                       NF


         Operating Expenses for any one    ne insured even
                                                        event
                                                        event;; (20) int
                                                                     interest or penalties due to the late payment of taxes, utility bills, or other
         costs; (21) costs, including fine
                                       fines,
                                         nes,
                                            s, penalties, and legal fees incurred, due to violations by any Landlord Party, or any other tenant
         or occupant of the Building ng or the
                                            he Land,
                                                 Land off Legal Requirements,
                                                                   R                 contracts, or leases pertaining to the Building or the Land, or
         title matters; (22) any amount
                                   mount paid to  o an owners’ aassociation of which the Building and the Land are a part or paid in connection
         with any covenants, conditions,
                                 onditions, and restriction
                                                  restrictions or other title matters affecting the Building and the Land if such costs would be
         excluded from Operating
                              erating
                                   ng Expenses pursuan
                                                    pursuant to other provisions of Section 6 of this Lease and this Addendum 1; (23) rent
         under any groundd lease
                              ease or master llease; (2(24) costs incurred in connection with the financing or transfer of the Building or the
         Land (includingg the cost of any lender’
                                               lender’s policy of title insurance) or any interest therein; (25) the cost of any action that is
                                               lende
         specifically Landlord’s expense under unde this Lease or any costs for which Landlord is required to pay or reimburse Tenant
         (including thehe cost of any rep repairs or replacements covered by Landlord’s express warranties set forth in this Lease);
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         (26) expenses
                  ensess that are separately m metered or calculated and that are billed separately to Tenant or one or more other tenants, as
         applicable;
                able; (27)
                         27) wages, salarie
                                      salaries, and other compensation paid to personnel above the grade of property manager;
         (28) Landlord’s general overh
                                     overhead and any other expense not directly related to the Building and the Land; (29) property
         management
            anagement
             nagement fees in exce
                                excess of the PM Fee Cap; and (30) to the extent not already covered above, any maintenance obligations
         of Landlord listed as “Landlord
                                 “Lan        Maintenance Obligations – Non-Recoverable” on Exhibit D.




                                                                       Addendum 1 - 1
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                                                                   ADDENDUM 2

                                                               EXTENSION OPTION




                                                                                                          L!
         1.       Tenant (or any Permitted Transferee) has the right to extend the Lease Term for either one (1)  1)) period of three (3) years
                                                                                                                                          year
                                                                                                                                          ye
         (the “Three Year Option”) or one (1) period of two (2) years (the “Two Year Option”) commencing       ing on the day following the
         expiration of the Lease Term (the “Commencement Date of the Extension Term”). Tenant will           ll give noticece (the “Exte
                                                                                                                                    “Extension
                                                                                                                                    “Exte
         Notice”) of its election to extend the Lease Term at least three hundred sixty-five (365) days prior
                                                                                                          ior
                                                                                                           or to the scheduled expiration
                                                                                                                                  expir      of
         the Lease Term (the “Extension Notice Deadline”). The Extension Notice shall specify whether  hether
                                                                                                            er Tenant elects to ex exercise the




                               A
         Three Year Option or the Two Year Option (the option which Tenant elects to exercise        se shall be referred to he  herein
                                                                                                                                 h       as the
         “Extension Term”).
         2.       If Tenant exercises the Three Year Option, then the Base Rent during the Three
                                                                                              ree Year Option
                                                                                                       Opti pperiod
                                                                                                              eriod shall
                                                                                                              erio  sh be as set forth
         below, and Landlord shall provide an allowance in the amount of $                 in
                                                                                            n connection with Refur
                                                                                                              Refurb
                                                                                                              Refurbishment Costs (as




                            TI
         defined in Paragraph 3 below) incurred by Tenant.


                                                           Annual Base Rent
                          Time Period                                                     Annual Ba
                                                                                          Ann    Base
                                                                                                    se Rent
                                                                                                        ent            Monthly Base Rent
                                                            Per Square Foot
              March 1, 2022 – February 28, 2023                  $                         $                              $



                          EN
              March 1, 2023 – February 28, 2024
              March 1, 2024 – February 28, 2025
                                                                 $
                                                                   $


         If Tenant exercises the Two Year Option, then the Base Rent
                                                                                           $
                                                                                           $


                                                                  nt during the Two Year Option
         Tenant shall not be entitled to any improvement allowance.
                                                                nce.
                                                                 ce.
                                                                                         O
                                                                                                                          $
                                                                                                                          $


                                                                                                period shall be as set forth below, and



                                                          Annual
                                                            nnual
                                                             nual Base Ren
                                                                       Rent
                        Time Period                                                      Annual Base Rent             Monthly Base Rent
                                                           Per Square Foot
                        ID
              March 1, 2022 – February 28, 2023                 $                          $                              $
              March 1, 2023 – February 28, 2024                 $                          $                              $

         3.       (a)      Subject to the terms
                                             mss of this Paragraph 3, if
                                                                       i Tenant exercises the Three Year Option in accordance with
         Paragraph 1 above, Landlord agrees es to reimburse Tenant,
                                                             Tenan in an amount not to exceed $                 in the aggregate (the
         “Refurbishment Allowance”), forr the Refurbishment Costs
                                                              Cost (as defined below). Any refurbishment work performed for, or on
         behalf of, Tenant shall be performed
                                         rmed
                                          med in accordance
                                                  ccord      with all of the terms and conditions of the Lease.
                      NF


                   (b)       To receiveve the Refurbishment Allowance,
                                                               Allo       Tenant shall submit to Landlord a standard AIA requisition form
         for the portion of the Refurbishment ent Costs for which
                                     urbishment             whic Tenant is requesting reimbursement. Tenant shall not submit a request for
                                                            whi
         reimbursement more than  han once in any thirty (30)
                                                           (30 day period. Attached to the AIA requisition form shall be (1) a certification
         from Tenant’s architect  ect certifying that the work relating to the Refurbishment Costs for which Tenant is requesting
                                itect
         reimbursement hass been completed
                                      comple      in accordance
                                                     accor      with the plans approved by Landlord, (2) lien waivers from all contractors,
         subcontractors, suppliers
                            uppliers and materialmen
                                           materi        who performed work, furnished services or provided materials in connection with
         the portion of the Refurbishment Costs Cost for which Tenant is requesting reimbursement, (3) a copy of any permit or approval
         required pursuant
                        uant to Legal Requirem
                       suant            Requirements
                                        Requireme in connection with the completion of such refurbishment work, (4) invoices for the
CO




         Refurbishment  nt Costs for which Te
                     ment                      Tenant is requesting reimbursement, and (5) any other documents or information which
         Landlordd reasonably
                        sonably requests. Landlord
                                             L          shall pay the requested portion of the Refurbishment Allowance to Tenant within
         thirty (30)) days after Landlord’s
                                 Landlord’ receipt of the AIA requisition form and the other documentation required by this Paragraph 3,
         provided
             vided Tenant is not in defa
                                       default under the Lease.
                                       def

                   (c)      If Tenant
                                Tena has not exhausted the entire Refurbishment Allowance on or before the first (1st) anniversary of the
                                T
          ommencement Date oof the Extension Term with respect to the Three Year Option, any unexhausted portion thereof shall be
         Commencement
         deemed
             med forfeited, it bbeing understood that the unexhausted amount shall not be credited against the Base Rent, Additional Rent
          eemed
         or anyy other amounts
                       amoun due to Landlord under the Lease and shall not be paid to Tenant.

                                                                   Addendum 2 - 1
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                  (d)        As used herein, the term “Refurbishment Costs” means all reasonable out-of-pockets costs             ually paid
                                                                                                                          osts actually  pa by
         Tenant after the Commencement Date of the Extension Term and which have been approved in advance               ce by Landlord rd for ((i
                                                                                                                                               (i)
         renovating, painting, carpeting or decorating the Premises; (ii) new equipment and trade fixtures to bee installed at and/or uused  sed
         exclusively at the Premises; and/or (iii) new furniture or fixtures purchased by Tenant to be installed and maintained in the Premis
                                                                                                                                       Premises.
                                                                                                                                       Premises
         Refurbishment Costs shall mean only the cost of labor and materials, general conditions costs, permit    rmit and
                                                                                                                        nd inspection fees and
                                                                                                                                            a
         architectural and engineering fees.

         3.       Except for the Base Rent as determined above, Tenant’s occupancy of the Premises                                Extension
                                                                                                         es during the applicable E




                                                                                             IA
         Term will be on the same terms and conditions as are in effect immediately prior to the expiration
                                                                                                      piration               Term; provided
                                                                                                              n of the Lease Term
         that Tenant will have no further options to extend this Lease once the option set forth in this
                                                                                                     his Extension
                                                                                                                 ion Options,
                                                                                                                     Op       Addendum 2
         has been exercised.
         4.        If this Lease is extended for the Extension Term, then Landlord will prepare
                                                                                           pare an amendment to this
                                                                                                                thi Lease confirming
         the extension of the Lease Term and the other provisions applicable theretoo and Landlord and TenantTe
                                                                                                             Ten     will execute the
         amendment within thirty (30) days after agreement on the final form of such amendment,
                                                                                       mendment, provided that any
                                                                                                               a such extension will
         be effective irrespective of the execution of any such amendment.
         5.      If Tenant exercises its right to extend the Lease Term for the Extension
                                                                                  xtension Term pursuant to this Addendum, the term
         “Lease Term” as used in this Lease will be construed to include the applicable
                                                                               plicablee Exten
                                                                                         Extension Term.




                                                                    Addendum 2 - 2
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                                                                     ADDENDUM 3

                                                    ADDITIONAL TERMS AND CONDITIONS




                                                                                                                        !
         1.       Conflict; Amendment. This Lease and any                      the United States Postal Service,         e, postage prepaid, bby
                                                                                                                        ce,




                                                                              L
         non-disclosure agreement between Landlord and Tenant (or              registered or certified mail, return rn receipt   requested;; ((c)
                                                                                                                             ipt requested
                                                                                                                                 requ          c) bby a
         any of their affiliates) (the “NDA”) constitute the complete          nationally-recognized delivery     y service providing      proof of
                                                                                                                                 roviding pro
         agreement of Landlord and Tenant with respect to the subject          delivery; or (d) by email, provided
                                                                                                                 vided that, for delivery ppursuant
                                                                                                                ovided
         matter hereof. In the event of any conflict between the NDA           to this clause (d), a copy iss also                     either clause
                                                                                                                 so sent pursuant to eith




                                                                           IA
         and this Lease regarding information about the Premises or            (a), (b), or (c) above, and inn all such event      events, properly
         this Lease, this Lease will control. In the event of any conflict     addressed to the addresses esses set forth on Notice
                                                                                                                                 Notic Addresses,
         between any exhibits or addenda attached to this Lease and            Addendum 4. Except      pt where otherwise expressly
                                                                                                                              eexpre    provided to
         this Lease, such exhibits or addenda will control. Any                the contrary, noticecee is deemed
                                                                                                              med given upon delivery
                                                                                                                                 d        (or, in the
         capitalized terms used but not defined in any exhibit or              case of delivery via the method described in (b), the earlier of
         addendum will have the same meaning ascribed to them in               delivery or three
                                                                                               ree (3) days following the
                                                                                              hree                         th date of depositing),
         this Lease. No representations, inducements, promises, or             or when delivery
                                                                                            elivery is refused.
                                                                                                          refus . Either party may change its
                                                                                                          refused




                                                                        NT
         agreements are effective unless contained in this Lease or the        notice address
                                                                                          dress by giving  g notice
                                                                                                             notic in tthe manner set forth above.
         NDA, and any prior agreements, promises, negotiations, or             Landlordrdd agrees that notices sent
                                                                                                                 sen to the address(es) shown on
         representations are superseded by this Lease and the NDA.             Notice
                                                                                    ce Addresses,
                                                                                            dresses, Addendum 4 are all of the parties who
         This Lease may not be amended except in a written                     comprise
                                                                                  mprise Landlordlord w who arear entitled to notice under this
         agreement signed by both parties.                                     Lease
                                                                                 ease.. Notice given by an attorney for a party shall be
                                                                               Lease.
                                                                                          for all purposes.
                                                                               effective fo       purpose
         2.        Brokers. Each party represents and warrants that it
         has dealt with no broker, agent, or other person in connection        6.
                                                                               6        Consent.. Except
                                                                                        Consen
                                                                                        Consent   Ex     as otherwise expressly provided in
         with this transaction and that no broker, agent, or other       er    this Le       neither party will unreasonably withhold,
                                                                                    Lease, neith
         person brought about this transaction, other than the Brokers,
                                                                      kers,
                                                                       ers,     ondition, or delay
                                                                               condition,     de    any consent or approval to be given
                                                 DE
         whom Landlord agrees to compensate per separate            parate
                                                                        ate    pursuant to this
                                                                                           thi Lease.
         agreement (a copy of which will be provided by Landlord ndlord to
                                                                               7.         No Waiver. Notwithstanding any law, usage, or
         Tenant upon request by Tenant), and each party agrees to
                                                                                  stom to the contrary, each party may enforce this Lease in
                                                                               custom
         indemnify and hold the other harmless from andd against any
                                                                                       accordance with its terms; and the failure to do so will
                                                                               strict aac
         claims by any other broker, agent, or other personson cclaiming a
                                                                               not cr
                                                                               no   create a custom contrary to the specific terms, provisions,
         commission or other form of compensation       onn by vir
                                                                 virtue of
                                                                               an covenants of this Lease or modify the same, and a failure
                                                                               and
         having dealt with the indemnifying party with regard to this  t
                                                                               bby either party to enforce its rights pursuant to this Lease or at
         transaction. This Paragraph 2 shall survive
                                                   ivee the expiration or
                                                                                law or in equity will not be a waiver of such party’s rights in
         earlier termination of this Lease.
                                                                                connection with any subsequent default. The receipt of rent
                                  FI

         3.       Severability. If any provision
                                             ovision of this Lease is           or other payment by either party with knowledge of the
         determined to be illegal, invalid,id,
                                            d, or unenforceable und under
                                                                    un          breach of any term, provision or covenant of this Lease will
         Legal Requirements, the partieses intend
                                            ntend that th    remainder of
                                                        the remaind             not be a waiver of such breach. No waiver by either party will
         this Lease will not be affected
                                       cted thereby. IIn lieu oof each
                                      ected                                    be deemed to have been made unless expressed in writing
         provision of this Leasee that is illegal, inv        invalid, or      and signed by such party.
         unenforceable, there willl be added,
                                            d, as a part of this
                                                             th Lease, a
                                                                               8.        Reserved.
         provision as similar in terms to such illeg illegal, invalid, or
                                                     illegal
   N


         unenforceable provisionon as may be possible
                             ision               possibl and be legal,         9.       Not a Binding Offer. The submission by Landlord
         valid, and enforceable.
                           able.                                               or Tenant of this Lease will have no binding force or effect,
                                                                               will not constitute an option for the leasing of the Premises,
         4.         Joint and Several Liability.
                                          Liability. IIf and when included
                                                                               nor confer any right or impose any obligations upon either
         within the term rm ““Tenant,”
                        erm    Tenant,”” there is mmore than one person,
                                                                               party, until execution and delivery of this Lease by both
CO



         firm, or corporation,
                      rporation,
                        oration, each will be
                                            b jointly
                                                jo      and severally liable
                                                                               parties.
         for the obligations
                         tions of Tenant. If and
                   bligations                aan when included within the
         term “Landlord,”
                 Landlord rd,”           more than one person, firm, or
                            ,” there is mor                                    10.      Word Usage. Words of gender used in this Lease
         corporation,
              oration, each will be jointly
                                       join and severally liable for the       will be held and construed to include any other gender, and
         obligations       Landlord.
            ligations of Land                                                  words in the singular will be held to include the plural, unless
                                                                               the context otherwise requires. The captions inserted in this
         5.                      notices, approvals, consents, requests,
                    Notice. All not
                                                                               Lease are for convenience only and in no way define, limit,
         or demands required oor permitted to be given by either party
                                                                               or otherwise describe the scope or intent of any provision of
         willl be in writing an
                              and will be delivered (except as otherwise
                                                                               this Lease, or in any way affect the interpretation of this
         provideded in this Lease)
                            Le
                            L      (a) personally; (b) by depositing with


                                                                     Addendum 3 - 1
                                                                                                                           AMAZON_00030
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         Lease. The words “includes” or “including” are used in this           17.       Authority; Consent. Each party represents
                                                                                                                             represen to the
         Lease to provide information that is illustrative or exemplary,       other that it has the full right and authority
                                                                                                                         hority to bin d itself
                                                                                                                                    bind
         and not exclusive or exhaustive.                                      without the consent or approval of any other person or entit
                                                                                                                                         entity




                                                                                                           L!
                                                                               and that it has full power, capacity, authority, and legal right
         11.      Legal Counsel. Landlord and Tenant each
                                                                               to execute and deliver this Lease and to perform all of it    its
         acknowledge that it has had the opportunity to review this
                                                                               obligations hereunder. Landlord         rther represents aand
                                                                                                               ord further
         Lease with legal counsel of its choice, and ambiguities will
                                                                               warrants that no consent of anyny lender or any other paparty is
         not be construed or interpreted against the drafter.
                                                                               required for this Lease, or such
                                                                                                             uch consent has been oobtained
         12.       Interest. Any amount owing by either party                  and evidence of same has beenn delivered to Tenant.
                                                                                                                             Tenan




                                                                                            IA
         pursuant to this Lease that is not paid within five (5) Business
                                                                               18.       No Joint Venture
                                                                                                        nture     Partnership.
                                                                                                                  Partnersh . It iis the express
                                                                                                          ture or Partnership
         Days after receipt of notice that such amount is past due will
                                                                               intention of both Landlord
                                                                                                        ndlord and Tenant
                                                                                                      andlord       Tena tthat
                                                                                                                             hat this Lease be
         bear interest from the due date until paid in full at the lesser
                                                                               considered a leasee between Landlord and Tenant for all
         of the highest rate permitted by Legal Requirements or
                                                                               purposes, includinging federal and state tax purposes. Nothing
                 percent ( %) per year, provided that no interest will
                                                                               in this Lease will be construed as creating
                                                                                                                      crea
                                                                                                                      cre       a joint venture,
         be due until the second (2nd) such event in any three hundred
                                                                               partnership, tenancy
                                                                                              tenancy-in-common,
                                                                                              tenancy- -in           joint tenancy, financing,
                                                                                                        in-common, joi
         sixty-five (365)-day period. If any Legal Requirement is




                                                                        NT
                                                                               agency, orr any relationship other than a landlord-tenant
         judicially interpreted so as to render usurious any interest
                                                                               relationship
                                                                                        hip between Landlord
                                                                                       ship                Landlor and Tenant, express or
         called for under this Lease, then it is the parties’ express
                                                                               implied,
                                                                                     ed, including
                                                                                          ncluding for federal and state tax purposes. The
         intent that all excess amounts theretofore collected be
                                                                               parties
                                                                                   ies will treat
                                                                                              eat this Lease as a lease in their separate books
         credited on the applicable obligation (or, if the obligation has
                                                                               and
                                                                                ndd records and in any repreports
                                                                                                          re o to any third party.
         been or would thereby be paid in full, refunded to the
         applicable party), and, without needing to execute any new            19.       Tax Treatment
                                                                                         T    Treatmen of Improvements. For federal tax
         document, this Lease will be deemed immediately reformed              purposes, the parties
                                                                                              p      intend
                                                                                                     in      that Tenant will not be treated as
         and the amounts thereafter collectible reduced so as to        o           gnizing gross income as a result of receiving any
                                                                               recognizing
         comply with Legal Requirements while permitting the                      owance from L
                                                                               allowance         Landlord, to the maximum extent permitted
         E
         recovery of the fullest amount otherwise called for underr this
         Lease.
                                                                               under Legal
                                                                               unde    Legal Requirements.
                                                                                             Re              Consistent therewith, the parties
                                                                                            any “qualified lessee construction allowance” (as
                                                                               intend that an
                                                                               defined in ssection 110 of the Internal Revenue Code of 1986,
         13.       Choice of Law; Venue. Construction          tion
                                                                ion and
                                                                                   amended, and the Treasury regulations thereunder (the
                                                                               as amend
         interpretation of this Lease will be governedd by Legal
                                                                               ““section
                                                                                 section 110 rules”)) will qualify for the benefits accorded
         Requirements of the state in which the Premises   es are
                                                              ar located,
      ID
                                                                               su allowances under the section 110 rules. The parties
                                                                               such
         excluding any principles of conflicts of laws.. Except ffor any
                                                                               intend that any amount received in cash by Tenant from
                                                                               in
                                                                               inte
         disputes resolved under the Expedited Arbitration
                                                      rbitration Process,
                                                                  Proce
                                                                               Landlord (or that is treated as a rent reduction) is, unless
                                                                               L
         any other dispute arising under, in connection
                                                      nnection with, or
                                                                               otherwise agreed to in writing by the parties, for the purpose
         incident to this Lease or the Guaranty  arant orr about
                                                 aranty       abou their eir
                                                                               of constructing or improving “qualified long-term real
         interpretation will be resolved exclusively
                                                lusively in the state or
                                               clusively
                                                                               property” (as defined in the section 110 rules) for use in
         federal courts located in the countyy in which the Premisesses aare
                                                                               Tenant’s trade or business at the “retail space” (as defined in
         located. Each of the parties irrevocably
                                          rrevocably
                                            evocably submits
                                                       sub           those
                                                                  to th
   NF


                                                                               the section 110 rules), which constitutes the Premises subject
         courts’ venue and jurisdiction for such disputes
                                                   disputes.
                                                   dispu .
                                                                               to this Lease. With respect to any “qualified lessee
         14.      Time is of the Essence.
                                   Essence              Section 24 of
                                       nce.. Subject to Secti
                                                        Se                     construction allowance” (as defined in the section 110 rules),
         this Additional Terms and Conditions,
                                           itions, Addendum
                                                   A
                                                   Addend
                                                       end    3, time          Landlord and Tenant will comply with the section 110 rules,
         is of the essence as to the performance oof each party’s              including the expenditure, consistent treatment, and
         obligations under this
                             is Lease.                                         information reporting rules under Treasury regulations
                                                                               section 1.110-1(b)(4), (5) and -1(c). In addition, the parties
         15.       Business
                          ss Day
                             Day.. “Business Day”” means
                                     usiness Day    m      any day that        agree that Landlord will be treated for all purposes, including
         is not a Saturday,
                        ay, Sunday, or state
                                          te or federal
                                                fe
                                                fed     holiday.               tax purposes, as the owner of any improvements that were
         16.         ounterparts
                       unte
                   Counterparts;   ; Electronic
                                       ectro    S
                                                Signatures.  Landlord or       paid for with, or reimbursed by, an allowance (the “Landlord
CO




         Tenant may                      signature pages to this Lease by
                    ay deliver executed sig
                                         signat                                Percentage”) and Tenant will be treated for all purposes,
         electronic
                 nic means                party, and the electronic copy
                         ans to the other pa                                   including tax purposes, as the owner of any improvements to
         will bee deemed to be effective as an original. This Lease may        the extent that the cost for such improvements exceeds any
         be executed in any number of counterparts, each of which              allowance provided by Landlord or was otherwise paid for by
         will
            ll be deemed an original
                                origin and all of which counterparts           Tenant (the “Tenant Percentage”). Unless required to adopt a
         together
            gether will constitute
                        constitu oone agreement with the same effect as        contrary position as a result of an administrative or judicial
         if the parties had sign
                            signed the same signature page.
                            signe                                              proceeding, the parties agree to file all federal income tax
                                                                               returns in a manner consistent with, and to take no action
                                                                               inconsistent with, the intentions set forth in this paragraph.


                                                                     Addendum 3 - 2
                                                                                                                      AMAZON_00031
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         The parties will provide each other with such cooperation as            Majeure”), provided that this will not apply        y (i) to ex
                                                                                                                                              excuse any
         is reasonably necessary to implement the intentions of this             failure of either party to comply with any                ny mon
                                                                                                                                               monetary
         paragraph.                                                              obligations hereunder; (ii) to delay the date on whichh Tenant   Tenan




                                                                                                                         !
                                                                                 is entitled to exercise self-help rights;    hts; or (iii) only to the
                                                                                                                              ht
         20.      Survival. All obligations of Landlord and Tenant
                                                                                 extent provided in Section 15 of this                              date
                                                                                                                          hiss Lease, to delay the ddat
         hereunder not fully performed as of and intended to survive




                                                                                                    AL
                                                                                 on which either party is permitted             erminate this Lease or
                                                                                                                        ed to terminate
         the termination of the Lease Term will survive the
                                                                                 exercise other rights following   wing a casualty.  alty. The pparties
         termination of the Lease Term for a period of two (2) years,
                                                                                 acknowledge that extension       n of some of the deadl    deadlines in
         including indemnity obligations, confidentiality obligations,
                                                                                 Section 1 of this Lease and         sewhere in this Lease for Force
                                                                                                                d elsewhere
         obligations under Section 30 of this Lease, payment and
                                                                                 Majeure is limited as set forth                     sections. If Force
                                                                                                                       h in such section
         reconciliation obligations and audit rights with respect to
                                                                                 Majeure occurs, the party claiming Force Majeure (the
         Operating Expenses, and obligations concerning the
                                                                                 “Claiming Party”) will give written not      notice to the other party
         condition, repair, and/or surrender of the Premises.
                                                                                 within five (5) days ays
                                                                                                       ys after firs
                                                                                                                firstt learning oof the occurrence of
         21.      Attorneys’ Fees. The prevailing party in any action            the Force Majeure.ure. IfI the Claiming       Party fails to give such
                                                                                                                      iming Part




                                                                                    TI
         to enforce this Lease will be entitled to receive from the other        timely notice,, the Clai
                                                                                                       Claiming Party will have the extension in
         party all reasonable expenses, including legal fees and                 deadlines to o which it would     otherwise be entitled to (but for
                                                                                                           woul otherwis
         disbursements paid or incurred by the prevailing party in               the late notice),
                                                                                            otice , reduced
                                                                                            otice)           d on a dday-for-day
                                                                                                                      day            basis for each day
         such action.                                                            that the notice is late. In additi
                                                                                                                 addition, Landlord will promptly
                                                                                                                 addit
                                                                                 notifyy     Tenant
                                                                                               enant        by      ssending        an       email    to
         22.      Quiet Enjoyment. So long as there is no continuing
                                                                                 opsrelegalnotice@amazon.com
                                                                                     relegalnotice@amazon.c
                                                                                                   e@amaz                if Landlord or its agents,
         Tenant Default, Tenant will, at all times during the Lease

         free from claims arising by or through Landlord.
         23.   Waiver of Jury Trial. TO THE EXTENT
         PERMITTED BY LEGAL REQUIREMENTS, THE
         PARTIES WAIVE ANY RIGHT TO TRIAL BY JURY
         TO HAVE A JURY PARTICIPATE IN RESOLVING
                                                    T
                                                   HE
                                                 Y OR
                                                G ANY
                                                    Y
                                                               EN
         Term, have peaceful and quiet enjoyment of the Premises
                                                                                 subcontractors,
                                                                                 behalf is di
                                                                                 offer any payment

                                                                                 such
                                                                                             paym

                                                                                   ch official’s as
                                                                                                pa
                                                                                 in violation of,
                                                                                                        consultants
                                                                                  ubcontractors, or consult
                                                                                                        consu           or any party acting on their
                                                                                                         indirectly asked by any person to make or
                                                                                           directly or indir
                                                                                                        to a government official or authority (or
                                                                                 any other person at a government official’s request or with
                                                                                                    aassent or acquiescence) where making or
                                                                                 offering the payment
                                                                                                pay        would cause Landlord to violate, or be
                                                                                                o any Legal Requirements or this Section. As
         DISPUTE, WHETHER SOUNDING IN CONTRACT,
                                              NTRACT,
                                               TRACT,                                    herein, “Approvals” means any permit, consent,
                                                                                 used herei
         TORT, OR OTHERWISE, BETWEEN THE PARTIES                                 approval,
                                                                                    proval, authorization, agreement, waiver, easement, right
         ARISING OUT OF THIS LEASE, THE GUARANTY
                                           ARANTY
                                             RAN   OR                            of way,
                                                                                     way license or similar item that must be obtained from
                                              ID
         ANY OTHER INSTRUMENT, DOCUMENT,  UMENT, OR
                                          UMEN                                   an person
                                                                                 any  p       (including both private persons and governmental
         AGREEMENT EXECUTED OR DELIVERED ELIVERED
                                             ERED IN                             authorities) in order for work to be performed or Tenant to
                                                                                 au
                                                                                 auth
         CONNECTION HEREWITH OR THE TRANSACTIONS
                                        TRANSACTION                              operate its business at the Premises.
                                                                                 o
         RELATED HERETO.                                                         25.       Expedited Arbitration Process. “Expedited
         24.       Force Majeure. Neitherr party      pa      will be heldh      Arbitration Process” means arbitration according to the
         responsible for delays in the performance
                                               formance of its obligations
                                                                  obligatio
                                                                  obligation     then-current Expedited Procedures under the Commercial
         hereunder when caused by abnormal     mal inclement
                                            ormal   inclemen weather; acts       Arbitration Rules and Mediation Procedures of the American
                       NF


         of terrorists, war (whether declared or nnot) or national   na          Arbitration Association (“AAA”), modified as follows:
         conflicts; strikes, lockouts, labor
                                          abor disputes, boycotts
                                                           boy        or work    (a) there will be one arbitrator who is selected utilizing the
         stoppages not caused by      y or limited         Landlord, or its
                                              imited to Landlo
                                                           Landl                 then-current AAA process and who has at least ten (10) years
         contractors or subcontractors;
                                   ntractors; natural
                                                   ural disasters,
                                                         disaste     such as     of relevant experience; (b) the arbitration will be conducted
         earthquake, hurricane  nee or flood; epidemic, pandemic or              through document submission without a hearing; and (c) the
         widespread disease           (including, without
                              ase (includ              witho       limitation,   arbitrator will issue a final decision within sixty (60) days
         COVID-19 and coronavirus); governm     governmental restrictions,
                                                go                               after confirmation of the appointment of the arbitrator. The
         regulations or controls; or delay in obtaining
                                                   obta
                                                   ob          or inability to   arbitrator will have no decision-making authority other than
         obtain labor, r, materials or reasonable
                                             reaso
                                             reason          substitutes, or     to select either the determination or recommendation of
                                                                                 Landlord or Tenant as final and conclusive after due
CO



         Approvals,, beyond
                        eyond time periods typical
                                               typ      for the area (despite
         using commercially
                  ommercially
                       ercia     rreasonable
                                          ble eefforts to obtain), in each
                                   easonable                                     consideration of the factors to be taken into account under the
         case that
                hat (a) could       reasonably have been anticipated by
                         ould not reasonab                                       applicable provisions of this Lease. The arbitrator’s
         suchh party; (b) is beyond the  th reasonable control of such           determination will be binding upon the parties. The costs and
         party;             ld not be pprevented or overcome, wholly or
            rty; and (c) could                                                   fees of the arbitrator will be shared equally by Tenant and
                         exercise of due diligence by such party (“Force
         in part, by the exercis                                                 Landlord.




                                                                       Addendum 3 - 3
                                                                                                                            AMAZON_00032
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                                                                ADDENDUM 4

                                                            NOTICE ADDRESSES

         LANDLORD’S NOTICE ADDRESS:

         Address:
         AG-EIP 1 Geoffrey Drive, L.L.C.
         c/o Equity Industrial Partners, Corp.
         20 Pickering Street, Second Floor
         Needham, MA 02492
         Attention: Bruce A. Levine
         Facsimile: (781) 719-0670

         With copy to:

         c/o Angelo, Gordon & Co., LP
         245 Park Avenue, 24th Floor
         New York, New York 10167
         Attention: Matthew Jackson




                                                                  N
         Facsimile: (212) 867-5436

         FOR REQUESTS FOR CONSENT TO TENANT-MADE ALTERATIONSALTERATION UNDER  UND     SECTION 12, EMAILS TO BE
         SENT TO LANDLORD AT: Bruce A. Levine at blevine@eipcorp.net
                                                        @eipcorp.net and Gary M
                                                                              McMillan
                                                                              Mc       at gary.mcmillan@yahoo.com

         FOR NOTICE OF A MATERIAL INTERFERENCE
                                          ENCE
                                           NCE UNDER SECTION
                                                     SECTI
                                                     SECT    25(a), EMAILS TO BE SENT AS
                                                 DE
         FOLLOWS:

                                                      rp.net and Gary McMillan at gary.mcmillan@yahoo.com
         To Landlord: Bruce A. Levine at blevine@eipcorp.net

         To Tenant: email addresses set forth below.

         TENANT’S NOTICE ADDRESS:

         c/o Amazon.com, Inc.
                                         NA Ops:
         Attention: Real Estate Manager (NA  Op DPL4PL )
                                                   DPL4)
         Attention: General Counsel (Real
                                       al Estate (NA Ops):
                                                     O     DPL4)
                                                           DPL4
                                                             L
                                     nagement
                                         ement (DPL4
         Attention: NA Ops Asset Management    ((DPL4)
                                                 DPL )

         Each with an address of:
         410 Terry Ave. N
         Seattle, WA 98109-521010
         Telephone: (206) 266-1000
                            6-1000
                               1000

         With copies to:
         naops-propmgmt@amazon.com;
                      gmt@amazon.com opsrelegalnotice@amazon.com;
                      gmt@amazon.com;  ops
                                        psrel
                                           re
         na-realestate@amazon.com;
                     e@amazon.com; naops-rent@amazon.com
                      @amazon.com; nao
                                   naops -re

         using the
                he subject line—Re:
                      ject line     DPL and reason for the notice (e.g., default, cease & desist, bribery or anti-corruption)
                           l —Re: DPL4




                                                                Addendum 4 - 1
                                                                                                               AMAZON_00033
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                                        
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                                                                  ADDENDUM 5

                                                                 WORK LETTER




                                                                                                                  !
             1.      Work and Initial Improvements. The terms “Work” and “Initial Improvements” will have              ascribed to
                                                                                                      ave the meanings ascribe
    them in this Addendum.




                                                                                              L
             2.        Commencement Date.
                       (i)       If for any reason the Work has not been completed within five (5) days after
                                                                                                           fter the Anticipated Commencement
                                                                                                                                  Com
    Date, Tenant will not be obligated to pay Base Rent or Operating Expenses, and Landlord will pay  ay too Tenant as liquidated
                                                                                                                         liquidate damages (and




                                                                                           IA
    not as a penalty) a late delivery fee in the amount of one (1) day’s Base Rent for each day off delay (thethe “Late
                                                                                                                  “Late Delivery
                                                                                                                          Deliver Fee”) until the
    Work has been completed. The Anticipated Commencement Date will be subject to extension      ension
                                                                                                  nsion on a day-day
                                                                                                                 day-for-day
                                                                                                                     -for
                                                                                                                      fo -day bbasis due to Force
    Majeure (not to exceed sixty (60) days) and Tenant Delay. The parties agree that Tenant’ss aac
                                                                                                 actual
                                                                                                   tual damages as a resu result of Landlord’s late
    delivery would be extremely difficult or impracticable to determine, and acknowledge thathat the Late Delivery Fee Fe has been agreed upon,
    after negotiation, as the parties’ best and reasonable estimate of Tenant’s damages. Iff the Work has not been completed within ninety
    (90) days after the Anticipated Commencement Date, then Tenant may terminate this  his
                                                                                        is Lease upon written not notice to Landlord at any time
    after such ninety (90) day period and prior to the date on which the Work is completed.
                                                                                      eted.. Tenant’s rrights
                                                                                     leted             rights set fforth in this Paragraph 2 shall




                                                  NT
    be Tenant’s sole and exclusive remedies in the event of a delay in Landlord’s  ndlord’s completion oof the Work by the Anticipated
    Commencement Date.
                      (ii)      “Substantial Completion” (or any grammatical
                                                                        ical variation thereof) means
                                                                                    on ther     m     completion of the Work in
    accordance (in all material respects) with Paragraph 3 below.
                       (iii)     “Tenant Delay” means any actual delay in completing tthe Work that is caused by: (i) any matters specifically
    identified as Tenant Delays in this Work Letter; (ii) Tenant’s failurelure
                                                                           ure to approve, disapprov
                                                                                             disapprove
                                                                                             dis          or otherwise act within the time periods
    described herein; (iii) material interference by Tenant or Tenant Parties with Landlord’s pperformance and construction of the Work; (iv)
    the parties engaging in the Expedited Arbitration Process, but  utt only if Landlord is the prevailing party in such Expedited Arbitration
                                               DE
    Process as determined by the arbitrator; and (v) Tenant’s failure
                                                                   lure                 Landlord’s request for material information or a material
                                                                    ure to respond to Landlo
    clarification within five (5) Business Days. As a condition n to anyy Tenant Delay, LaLandlord shall provide Tenant with email notice to the
    addresses at the end of this paragraph specifying the nature
                                                              ture of the Tenant Delay and stating “FAILURE TO RESPOND WITHIN 2
                                                             ature
    BUSINESS DAYS WILL CONSTITUTE TENANT                   T DELAY,”
                                                             DELAY,” and Tenant does   d      not correct the alleged delay within two (2) Business
    Days of such notice. Email addresses for notice       ce pursuant to this
                                                         ice                 thi Section:
                                                                                  Sec         transportation-cms@amazon.com, with copies to:
    na-realestate@amazon.com and opsrelegalnotice@amazon.com
                                                       @amazo
                                                       @amazon.com       using the ssubject line – Re: NA Ops – DPL4.
                                                                             g th
           3.       Landlord’s Representative;        Work.. Landlord’s representative
                                                  e;; Wo
                                                      Work              rep            during the completion of the Work and the Initial
    Improvements is Gary McMillan (gary.mcmillan@yahoo.com).
                                              millan@yahoo.com)). Lan
                                              millan@yahoo.com       Landlord
                                                                     La n      will ensure and/or perform the following (collectively, the
    “Work”) at Landlord’s sole cost and expense:
                                            nse::
                                            nse
                                 FI

                      (a)       Deliver the Premises in broom-clean
                                                        broom clean condition, free and clear of all prior occupants, claims and furniture,
    fixtures and equipment.
                      (b)       The utilities
                                       ilities serving th
                                                       the Premise
                                                           Premises, including water, gas, electricity, telephone, sewer, and sprinkler services,
    will be stubbed to or delivered to
                                     o the Premises and gas   and electric are separately metered.
                                                           g an
              4.        Initial Improvements.
                                  mprovementss. Tenant wilwill have the right to construct the improvements (the “Initial Improvements”) as
    described in the Preliminary ry
                                  y Scope and Final Plans.
                                                    Plans Tenant will not be required to pay any construction management or supervision fee,
   N


    or equivalent, in connection
                              ction                performance of the Initial Improvements. Tenant shall perform the Initial Improvements
                                  n with Tenant’s perfo
    diligently, in a good and
                            nd workmanlike
                                     manlike manner,
                                             m        in
                                                      i compliance with all applicable Legal Requirements and free and clear of all liens. The
    Initial Improvements ts shall not include any aalterations, additions or improvements to any common areas of the Land or which would
    unreasonably interfere                       Land or Building by any other tenant of the Building.
                       rfere with the use of the L
CO




                         (a)       Early Access.
                                          Access Tenant (and its vendors and contractors) will be entitled to enter the Premises (“Tenant’s Early
                                          Acc
    Occupancy”)) following
                        owing the Effectiv
                                     Effective Date for purposes of planning and measurement, construction of the Initial Improvements,
    installationn of furniture,
                          ture, fixtures and equipment and receipt of products and inventory for training purposes (“Tenant’s Work”). Tenant’s
    Work will ill not unreasonably inte
                                      interfere with the completion of any work required to be performed by Landlord for delivery of the
           ses.
            es. All provisions of the Lease, except for Tenant’s maintenance obligations and the payment of Base Rent, will be applicable
    Premises.
    during
        ng Tenant’s Early Occupancy.
                              Occupa
                              Oc
                       (b)      Preliminary Scope; Final Plans. Landlord hereby approves of the current scope of the Initial Improvements
    designated
            ed on Exhibit A to Addendum 5 (the “Preliminary Scope”). Tenant will submit construction drawings of the Initial
    Improvements ts (the “Construction
                         “C
                         “C            Drawings”) to Landlord for approval, and Landlord will approve or disapprove, and provide detailed
    reasons for such dis
                       disapproval, within 5 Business Days after receipt thereof. So long as the Construction Drawings are substantially
    consistent with the Preliminary Scope, Landlord will not disapprove such Construction Drawings. If Landlord fails to approve or request
                                                                Addendum 5 - 1
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    changes to the Construction Drawings within 5 Business Days after receipt thereof, then Landlord will be deemed to have approved such
                                                                                                                     o hav
    Construction Drawings. The approved Construction Drawings will be referred to as “Final Plans.”
                      (c)       Removal of Initial Improvements. Tenant will not be required to remove any of the Initial Impro
                                                                                                                          Improv
                                                                                                                          Improvements
    except to the extent required by Landlord at the time Landlord approves of the Construction Drawings.




                                                                                   !
                       (d)     Permits. Landlord will provide Cooperation Efforts to Tenant in connection with     Tenant’s obtaining
                                                                                                                th Tena               permits
                                                                                                                                  ing pe




                                                                                 AL
    and other necessary approvals to construct the Initial Improvements, including without limitation       n executing
                                                                                                                   uting any plan or permit
    application as the owner of the Premises. Landlord is responsible for all permits and other necessaryry
                                                                                                          y approvals for the Work (it being
    understood that Tenant is responsible for all permits and approvals relating to the Initial Improvements).
                                                                                                       ments)..
                                                                                                       ments)
             5.         Prohibited Materials. In the event any mold, asbestos or Hazardous Materials      rials (“Prohibited
                                                                                                                (“ Prohibited Materials”)
                                                                                                                               M            are
    discovered during the construction or installation of the Work or the Initial Improvements, Landlord will perfperform an
                                                                                                                           any removal and/or
    remediation work at Landlord’s sole cost and expense; provided that if such Prohibited Materials
                                                                                                erials are brought to the Premises as a result
                                                                                              aterials
    of the acts or omissions of Tenant or any Tenant Parties, then Tenant shall perform any                     remediation work at Tenant’s
                                                                                            y removal and/or reme
                                                                                                                remedia
    sole cost and expense. Such removal and/or remediation work will include, but is nott limited to, having an ex   expert (e.g., an industrial




                                                                               TI
    hygienist) certify that the Premises is (a) in compliance with Legal Requirements pertaining
                                                                                         taining to the Prohibited Materials, and (b) safe for
                                                                                        rtaining
    Tenant’s use. Removal and/or remediation of Prohibited Materials pursuant to      o this Section will not co constitute part of the Initial
    Improvements.




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                                                                 Addendum 5 - 2
                                                                                                                  AMAZON_00035
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         DPL4

                                                            Exhibit A to Addendum 5

                                                          INITIAL IMPROVEMENTS




                                                                                                                 !
         SITE




                                                                                              AL
            x     Limit site work; Leave existing gravel paving as is; restriping of pavement if it is in goodd condition.
                                                                                                                     tion. Patching where
                                                                                                                                     whe
                  required
             x    Do not provide a standard AMZL canopy for exterior loading, but investigate clear span                         (look at
                                                                                                          pan tensile structures (lo
                                                                                                                                 (loo
                  lease options); tensile structure must be snow rated; review for township permittingng requirements;   Conside lighting
                                                                                                           quirements; Consider
                  options at the tensile structures

         ARCHITECTURE
            x Reuse existing docks, pits, and levelers and replace dock door locks and mechanics.
            x Reuse existing mezzanine office area. Remove partitions as required and     d provide program for brebr
                                                                                                                   breakroom, mothers




                                                                                TI
               room, multi-faith, HR, and typical offices. Patch/Repair existing finishes.
                                                                                        hes.
            x Close off the part of the warehouse that will not be needed for MHE   E operation
            x Provide cast-in-place concrete or Dockzilla (or equal) load out ramps.
                                                                                  amps.                   likely trigger site plan
                                                                                   mps. Note these will like
                                                                                                          lik
               approval/zoning.
            x Provide AMZL signage (directional, interior, and exterior wall all sign); Confirm if this rrequires any special township
                                                                           rements
                                                                            ements and do not request
               reviews (Note: modify stock signs to meet township requirements                   reques
                                                                                                 requ variances)

               out.
                                                          EN
            x Reuse existing breakrooms in lieu of providing a new breakroom.


            x Highlight the Associates entrance with vinyl window

         MECHANICAL
           x Reuse existing RTUs and service as required;
                                                                         eakroom.

            x Confirm if there are roof leaks as there are several stained
                                                                          akroom. This would save


                                                                  ow film (perhaps bright Amazon
                                                                 dow


                                                             d;; Design a cooling option
                                                                                              A
                                                                                                  sav time on demo, new MEP, and fit

                                                                    tained ceiling panels throughout
                                                                                           tthrou       the office and break areas
                                                                                                      blue)


                                                                                    optio with fixed units and an option for rental units
              for air temperature cooling; Provide Big Ass Fans to supplement ai     aair conditioning; Stantec’s early review projects that
              we could not provide additional RTUs without additional structustructural support; Consider where on the ground we might
                                                                             struct
              place the units; Consider the addition n of cooling may be a Day 2 element to be added after Launch
                                           ID
           x Our current plan is to reuse existing                     contro to the greatest extent possible. Existing controls were
                                                   g HVAC system controls
              mostly provided with the equipment
                                               ment                     example, rooftop units have their own thermostats which do not
                                                  ent they serve. For exam
              appear to interface with a central
                                               al control system. We will
                                              ral                        wi continue this approach. Anything new we provide will also
              have its own packaged controls.
                                            ols. The alternative woul
                                                                   would be to provide either their standard control or a “lite” control
              system. Both of these approaches
                                         roaches                significant
                                          oaches would be a signifi
                                                                sign        cost increase over re-using existing
           x Heating will reuse the existing
                                       xisting units; MAU will bbe required and are not anticipated to be too much procurement lead
              time; Stantec is to provide
                                     vide specifications and quantities
                                       de specificati         qu          ahead of CD package release so Gilbane can start procurement
                      NF


         ELECTRICAL
            x Zelus is capturing            erior and exterior
                                 ng the interior       exterio light levels; we will re-lamp with LEDs and supplement interior lighting as
               needed (Note:: this should be considered
                                                 considere as tenant maintenance items and completed without permit); Consider
                                                 conside
               lighting modifications
                            difications
                              ifications will trigger enenergy code compliance.
            x GC to modify
                         odify existing
                                  xisting lighting
                                          l        in ffield; we need to re-verify the lamp light levels after modifications are made.
            x Currentt electrical service is 2000amps;
                                               2000          this service is not sufficient to support additional warehouse AC even with the
               removal
                     val of the battery charging
                                          chargin equipment; additional electrical service will be provided Day 2
            x New w panel boards are expected
                                         expec
                                         e          to take 4-6 weeks to procure; Stantec is to provide specifications and quantities ahead
CO




               of CD package release so Gilbane can start procurement

         PLUMBING
            MBING
             BING
            x We will reuse exis
                            existing lines
                            existi

         FIRE
           RE PROTECTION/FIRE
              PROTECTION/FI
                        ON        ALARM
            x The sprinkler
                       nkle is not EFSR which is ok as this is not AMZL required; sprinklers may need to be modified at the office
                areas;



                                                                  Addendum 5 - 3
                                                                                                                   AMAZON_00036
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                                                    EXHIBIT A

                                              SITE PLAN FOR PREMISES




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                                                    Exhibit A - 1
                                                                                     AMAZON_00037
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                                                    EXHIBIT A-1

                                           LEGAL DESCRIPTION OF LAND




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                                              EN
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                                                    Exhibit A-1 - 1
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                                                    Exhibit A-1 - 2
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                                                    EXHIBIT B

                                              PERMITTED EXCEPTIONS




                                                                                   !
                                                                      AL
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                                                    Exhibit B - 1
                                                                                     AMAZON_00040
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                                                                EXHIBIT C

                                              FORM OF NOTICE OF LEASE TERM DATES

         Date:    _____________________

         To:      Amazon.com Services LLC
                  c/o Amazon.com, Inc.
                  Attention: Real Estate Manager (NA Ops: DPL4)
                  Attention: General Counsel (Real Estate (NA Ops): DPL4)
                  Attention: NA Ops Asset Management (DPL4)

                  Each with an address of:
                  410 Terry Ave. N
                  Seattle, WA 98109-5210
                  Telephone: (206) 266-1000

         RE:     Lease Agreement dated ______________, 20__, between ____________________
                                                                            __________________________ (“Landlord”), and
         ___________________________ (“Tenant”), concerning the Premisess located
                                                                                d at ____
                                                                                     ____________
                                                                                     ____________________, _______________
         County, _______________ (the “Lease”).

         Capitalized terms used herein, but which are not defined herein, will
                                                                          w have the
                                                                                 th meanings ggiven to such terms in the Lease.

         In accordance with the Lease, Landlord represents the following:
                                                                    wing:

         1.      That Tenant has possession of the Premises and                   under
                                                                                  unde the provisions of the Lease the Lease Term
                                                              d acknowledges that und
         will commence as of ________________ for a term off ___ months ending on ___________________.

         2.       That, in accordance with the Lease, Basee Rent commences to acc
                                                                              accrue on _______________.

         3.       That the Base Rent Schedule is as follows:
                                                      llows:
                                                       lows:

                                                       [INSERT RENT SCHEDULE]
                                                                    S

         LANDLORD:
   NF


         a

         By:
         Name:
         Title:
         Date:

         Acknowledged:

         TENANT:
CO




         a

         By::
         Name:
          ame
         Title:
           tle
         Date:
          ate:




                                                                Exhibit C - 1
                                                                                                            AMAZON_00041
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                                                                    EXHIBIT D

                                            MAINTENANCE OBLIGATIONS (SINGLE-TENANT)




             !
           AL
             LANDLORD MAINTENANCE OBLIGATIONS – OPERATING EXPENSES (RECOVERABLE)                             VERABLE)
             Item                      Description of Service                                                       Controllable1
             Catch basins (parking lot Permits, regulatory compliance, maintenance, restoration         on                  Yes
             and drive aisles)
             Electrical system         Maintenance, repair, and replacement of transformer,        er,
                                                                                                    r, electrical
                                                                                                       elect                Yes
                                       switchgear, and other components of the electrical      all system loca
                                                                                                            located
                                       outside the Premises or subgrade




         TI
             Exterior paint            Paint building exterior to mutually-agreeable color and design                       Yes
                                       once every 10 years and touch up more frequently  quently as ne needed to
                                       maintain a uniform aesthetic
             Exterior pumps            General maintenance and repair                                                       Yes
             Fire sprinkler and fire   Any capital repair/replacement of fire/life
                                                                                re/lifee safety system installed
                                                                                                          insta
                                                                                                          instal            Yes
             protection systems        as part of the Base Building Specifications         Base F/LS
                                                                             fications (“Base     F/ System”),
                                                                                                         Syst
                                       including any maintenance and capital repair/replaceme
                                                                                    repair/replacement of any


       EN    Ground irrigation
             Gutters, scuppers,
             downspouts, and storm
             water systems
                                       fire water tank. Landlord to provide


                                       Preventative maintenance
                                                                          vide copies of maintena
                                                                         ovide
                                       and replacement logs upon Tenant’s request.
                                       Maintenance and replacement
                                                                  ce and repair
                                                                                 request
                                                                   ment of system elemen
                                                                                             maintenance, repair
                                                                                             maintenan

                                                                                       elements
                                                                                       elements, as needed                  Yes
                                                                                                                            Yes


             Parking lots and drive    Preventative maintenance,
                                                           ntenance,
                                                             enance, restoration, sea
                                                                                    seal
                                                                                    sealing, striping                       Yes
             surfaces
             Parking lot lighting      Maintenance,, repair and replacement                                                 Yes
     ID
             Pest control              Exterior only,
                                                   nly,
                                                    ly, as needed
                                                           needed.. Uponon T
                                                                           Tenant’s
                                                                           Tena        request, Landlord to                 Yes
                                       provide Tenantant with a copy of Lan
                                                                          L
                                                                          Landlord’s rodent and pest control
                                       plan (including
                                              ncluding chemicals used) and Tenant will have right to
                                       reasonably
                                            onably approve of same.
             Roof                      Annual
                                         nnual inspections, leak repair,
                                                                    rep
                                                                    re     preventative maintenance, as                     Yes
                                       needed to maintain warranty
                                                              warran
                                                              warr
             Snow removal—roof only    Sno and
                                       Snow    nd ice removal ffrom roof, awnings, and overhangs,                           No
                                                          clearing
                                       including ddrain cleari
  NF


             Subgrade utility lines    Maintenance,
                                          aintenan repairepair, and replacement of all subgrade utility lines,              Yes
                                       including sew
                                                   sewer, plumbing, pumps, and lift stations, if any
             Swales and                Permits, regula
                                                 regulatory compliance, maintenance, restoration                            Yes
             retention/detention ponds
CO




         1
           Cost
              st part of Contr
                         Controllable Operating Expenses unless capital repair or replacement (subject to amortization requirements as
         further described
                   escribed in Section 6 and Base Rent and Operating Expense Exclusions, Addendum 1 of the Lease).


                                                                    Exhibit D - 1
                                                                                                                  AMAZON_00042
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           LANDLORD MAINTENANCE OBLIGATIONS – CAPITAL IMPROVEMENTS (NON-RECOVERABLE)
                                                                            VERABLE)
                                                                                   BLE)
           Item               Description of Service                       Controllable




                                                 !
           Exterior                     Repair, replace, upgrade Landlord signage as needed to maintain            N/A
           signage—Landlord             professional aesthetic




                                               AL
           installed
           Landscaping                  Items exceeding general maintenance such as tree removal or                N/A
           (non-recurring service)      trimming, replacement (including annual color replacement),
                                                                                                ent),
                                                                                                  t),
                                        re-grading, overhauling, etc.
           Parking lot and drive        Replace sections as needed based on useful life and performance
                                                                                             erformance            N/A
                                                                                                                   N
           surfaces                     requirements
           Structure of building,       Maintain, repair, and replace, as needed                                   N/A
           including structural




                                             TI
           mezzanines and platforms
           Roof replacement and         Repair and replacement of roof deck and structural
                                                                                 tructural com
                                                                                           components              N/A
           structural repair
           Roof membrane and            Replacement                                                                N/A
           above-deck roof
           components
           Slab and foundation          Ensure integrity, conduct repair,, including voids and cavities
                                                                                                cav
                                                                                                cavi     in        N/A

           Exterior walls and
           load-bearing walls
                                          EN
                                        soils and fill under slab and around

                                        needed
                                                                        ound
                                        Ensure integrity, conduct repair,
                                                                     pair
                                                                           nd foundation
                                                                     pair, and replace wall sec
                                                                                            sections, as           N/A
                                        ID
                     NF
CO




                                                              Exhibit D - 2
                                                                                                              AMAZON_00043
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           TENANT MAINTENANCE OBLIGATIONS (after warranty period if applicable)
           Item                         Description of Service




              !
           All interior non-structural  Maintain, repair, and restore as needed
           portions of the Premises




            AL
           Backflow devices, if any     Necessary testing, inspecting, maintenance, and permit management    ement
           Below-deck ceiling           Maintenance and replacement of insulation materials that aree suspended just below th     the
           insulation (if equipped)     roof deck
           Carpentry – Doors,           Maintenance and repair of doors and millwork
           cabinets, counters, etc.
           Dock doors and dock          General maintenance and repair
           levelers
           Electric service (after main General maintenance and repair
           feed, above slab)




          TI
           Elevator (if equipped)       General maintenance and repair
           Energy and                   General maintenance and repair
           Communications Related
           Improvements
           Exterior building lighting   Maintenance and repair of exterior lighting affixed tto buildin
                                                                                                    building
           Exterior curbs and bollards Maintenance and repair


        EN Exterior fencing
           Exterior glazing
           Exterior signage—Tenant
           installed
           Fire sprinkler and fire
           protection systems
                                        Maintain gates and fences around
                                        Repair broken and/or damaged


                                        Inspections, testing, compliance,
                                        System that are on the
                                                                 ompli
                                                                 ompliance
                                                                           undd Premises
                                                                         ed glass and seals
                                        Maintain and update Tenant-installed
                                                                                       sea
                                                                      nt--installed signage aas ne
                                                                      nt

                                                                             , and mainten
                                                                                   maintenan
                                                                                                needed

                                                                                   maintenance of (1) those portions of the Base F/LS
                                                               he Premises, and (2) any Tenant-installed
                                        systems, as well ass any
                                                                                           T               supplemental fire/life safety
                                                                  y capital repairs and rreplacements of (2)
           Fire protection system       Monitoring of all ll applicable portions of ffire protection systems and fire water supply
           monitoring
           Fixtures                     General maintenance
                                                    aintenance
                                                     intenance and repair
      ID
           Generator                    Maintenance,
                                                 ance,
                                                     e, testing, inspections
                                                                  inspections, permits
           HVAC                         Maintenance,
                                               nance, repair and replacement
                                                                     replace       of HVAC Systems exclusively serving Premises in
                                        accordance          manufacturer’s recommended standards, but subject to warranty period
                                             rdance with manufacturer
                                        in Section
                                           Secti 10(a) (a) of the Lease.
                                                                   Lease
                                                                   Leas May elect not to repair/replace inoperable HVAC units but
                                        subject
                                         ubject to removal requi
                                                              require
                                                              requirements under Section 21(a).
           Interior lighting            Maintenance, repair
                                                        repair,, an
                                                                 and replacement of bulbs and ballasts
           Interior/exterior pest       As needed
   NF


           control
           Interior sump pump orr lift  General maint
                                                 maintena
                                                 maintenance and repair
           stations
           Interior walls and floor
                                 loor   Maintenance, repair, and replacement of walls and flooring surfaces (non-structural)
                                        Maintenanc
                                        Maintenance
           coverings
           Janitorial                   Janitorial services, if desired
                                        Janitoria
           Kitchen appliances
                          iances        General maintenance and repair
                                        Ge
                                        Genera
           Landscapingng (recurring     Recurring services for landscape maintenance, including mowing, fertilizing, leaf
                                        Rec
                                        Recu
           services)                    removal, pruning
                                        rem
CO




           Parkingg lott sweeping
                         sw             Maintenance sweeping for debris removal
           Plumbing
               mbing – Above
                         Abo slab       General maintenance and repair
           Snow
              oww removal – grounds     Remove snow and/or treat ice
           and
             nd parking lots
           Suspended ceiling
                        ceilings and    General maintenance, repair and replacement
           hard lid ceilings
           Trash and recyclin
                        recycling       As needed
           Window
              indow washing             Washing of exterior and interior



                                                                  Exhibit D - 3
                                                                                                                 AMAZON_00044
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                                                                   EXHIBIT E




                                                                                     !
                                                    FORM OF ESTOPPEL CERTIFICATE




                                                                                  AL
                                                           ESTOPPEL CERTIFICATE


         To:       ______________________ (“Recipient”)

         Re:       Lease Agreement dated ____________ (as amended, if at all, as set forth on Exhibit
                                                                                                xhibit A,
                                                                                                xhib   A, thee “Lease
                                                                                                               “Lease”),
                                                                                                               “Lea ”), by and between
                   _________________, a ___________________ (“Landlord”), and ____________,  __________, a ___   ______
                                                                                                                 ___________________
                   (“Tenant”), for the premises described in the Lease (the “Premises”), located at __________
                                                                                                       ___________
                                                                                                       _________________________.
                   Capitalized terms used herein, but which are not defined herein, will have the meanings given to such terms in the




                                                                               TI
                   Lease.

         The undersigned, as [Tenant] [Landlord] under the Lease, hereby certifies to Recipient the follow
                                                                                                    followin
                                                                                                    following, as of the present date:

         1.    [Tenant] [Landlord] is a party to the Lease. The Lease has not been
                                                                                en amended
                                                                                       ded or modified
                                                                                              m        (excluding
                                                                                                       (          approvals, consents,
               or waivers given by Landlord in connection with the Lease) by any written instrument
                                                                                            instrumen between Tenant and Landlord
                                                                                            instrum

         2.
         3.
         4.
         5.
               except as set forth on Exhibit A.

                                                          EN
               Landlord has completed the Work except for _________________.


               Tenant has paid Base Rent and Tenant’s Proportionate
                                                                ate
                                                                   ________.
                                                                    ____
                                                                  ___________.
               Tenant is not owed any allowance except for __________________.
                                                                 te Share of Operating E
               To [Tenant’s] [Landlord’s] actual knowledge, there is no [Landlord] [T
                                                                                       Expenses through ________________.
                                                                                       Ex
                                                                                       [Tenant] default existing under the Lease (after
               expiration of applicable notice and cure period),
                                                              ), and [Tenant]
                                                             d),              [Landlord] has not sent any notice of default to [Landlord]
                                                                     [Tena t] [Landlor
               [Tenant] under the Lease which has not been n cure
                                                             cured.
                                           ID
         [Tenant’s] [Landlord’s] “actual knowledge”” means
                                                         eans the current, actual
                                                                           actu knowledge of the person executing this document on
                                                                           ac
         behalf of [Tenant] [Landlord], without any
                                                 nyy duty of investigation or inquiry.

         [Tenant’s certifications are made solely
                                               ly to estop Tenant from aasserting to or against Recipient facts or claims contrary to those
                                              ely
         stated. This estoppel certificate does not constitute an iin independent contractual undertaking or constitute representations,
         warranties or covenants or otherwise
                                          wise have legal effect other
                                                                  oth than estopping Tenant from asserting to or against Recipient any
         contrary facts or claims. This estoppel certificate does nnot modify in any way the Lease.]
                                           oppel certifi
                       NF


                                                                ____________________________________________,
                                                                a ____________________

                                                                By:
                                                                Name:
                                                                Title:
                                                                Date signed:
CO




                                                                   Exhibit E - 1
                                                                                                                  AMAZON_00045
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                                            EXHIBIT A TO ESTOPPEL CERTIFICATE
                                                    List of Lease Documents




                                                                                                  !
                                        [To be completed with delivery of Estoppel Certificate]




                                                                                      AL
                                                                         TI
                                                    EN
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                                                             Exhibit E - 2
                                                                                                  AMAZON_00046
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                                                     EXHIBIT F

                                             INTENTIONALLY DELETED




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                                                   Exhibit F - 1
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                                                     EXHIBIT G

                                             INTENTIONALLY DELETED




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                                                   Exhibit G - 1
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            AMAZON_00049
           CONFIDENTIAL
           DPL4

                                                                     EXHIBIT H

                                                 FORM OF LIMITED PARENT GUARANTY




                                                                                                                    !
                                                         LIMITED PARENT GUARANTY




                                                                                                AL
                    This Limited Parent Guaranty (this “Guaranty”), effective as of the date of the Contract
                                                                                                     ontract (as defined below),
                                                                                                                         below is
           made by Amazon.com, Inc., a Delaware corporation (“Amazon.com”), to and for the benefit efit of AG-EIP
                                                                                                           AG--EIP 1 GEOFFREY
                                                                                                           AG         GEOF
           DRIVE, L.L.C. (the “Beneficiary”). Capitalized terms not otherwise defined herein have thee meanings
                                                                                                          mea ings specifi
                                                                                                                    specified in the
           Contract (defined below).

                                                                       Recitals
           A.      Amazon.com Services LLC, a directly or indirectly wholly owned subsidiary of Amazon.co
                                                                                                        Amazon.com
                                                                                                        Amazon.c       (“Subsidiary”),




                                                                                  TI
           and Beneficiary are parties to that certain Lease Agreement (the “Contract”) for property located at 1 Geoffrey
                                                                                                                  G        Drive, Falls
           Township, Pennsylvania.
           B.      In order to be assured of payment under the Contract, Beneficiary
                                                                            neficiar ddesires
                                                                           eneficiary  esires that Amazon.com guaranty the
                                                                                               hat A
           performance of certain payment obligations as set forth herein.




           1.
                                                            EN
           owing of all present and future payment obligations, which
                                                                      Guaranty
           In consideration of the foregoing and to induce Beneficiary to
                                                                            ty
                                                                             y
                                                                        o enter into the Contract,
                      Amazon.com unconditionally and absolutely guarantees
                                                                                         Contra ct, Amazon.com agrees as follows.
                                                                            arantees to Beneficiary Su

           Subsidiary. Notwithstanding anything to the contraryy set forth in this Guaranty,
           liability under this Guaranty will be 100% of remaining   ning aggregate
                                                                                                     Subsidiary’s performance when due and
                                                                                                     S
                                                                                               accordance with the terms of the Contract by
                                                                         hich are not paid in acco
                                                                                               accor
                                                                                           Guaran Amazon.com’s maximum cumulative
                                                                                           Guara
                                                                            ggregate Base Rent (as defined in the Contract) owing under the
           Contract, but not less than the Base Rent due during    ng the final twelve (12) months
                                                                  ing                        m       of the then current term of the Contract.
           Notwithstanding the foregoing, Amazon.com shall                           Subsidiary to pay), which obligation shall not be subject
                                                                hall pay (or cause Subsidi
           to the limitation on liability set forth in this Paragraph             amounts that are required to be paid by Subsidiary pursuant
                                                              aragraph 1, (i) all amount
                                           ID
           to Section 9 of the Contract if Subsidiary elects lects to self-insure
                                                                   t self             accordance with the terms of the Contract, and (ii) all
                                                                         f-insuree in ac
           amounts which are due and payable in         n connection with any indemnification
                                                                                     in               obligations by Subsidiary in favor of
           Beneficiary pursuant to the Contract.
           2.      Under this Guaranty, Amazon.com
                                            azon
                                            azon.com    shall perform ((or cause Subsidiary to perform) all payment obligations in
           accordance with the terms and conditions
                                           nditions of the Contrac
                                                           Contract.
           3.        Amazon.com promises    es to pay all amounts guaranteed
                                                                    guar         promptly upon receipt of a written notice from Beneficiary
                      NF


           which evidences (a) Subsidiary’s   ’s non-performance
                                         iary’s  non perf            oof its payment obligations under the Contract; and (b) Beneficiary’s
           first having demanded paymentment from Subsidiary
                                      yment         Subsid       in writing,
                                                                    w         which Subsidiary has not honored. Beneficiary’s demand upon
           Subsidiary does not need                    initiatio of legal proceedings and is deemed satisfied if demand upon Subsidiary
                                     d to include the initiation
           would violate any stayy of collection
                                               ion in effect in an insolvency proceeding. Except to the extent of the demand requirement
           set forth in this Section
                                tion
                                 ion 3, Amazon.com wa    waives protest and notice of dishonor or default. This is a guaranty of payment
                                                         waiv
           only, and not of collection.
                              ollection.
                                lection.
           4.      This Guaranty is governed
                                    govern as tto its validity, construction and performance by the laws of the Commonwealth of
           Pennsylvania,                       cconflict of law provisions.
                      a, without regard to its co
           5.       mazon.com agrees that this Guaranty is a continuing guaranty and will remain in full force and effect until all
                   Amazon.com
CO




           payment
                nt obligations           Contract have been performed as set forth in the Contract, subject to Section 1 above.
                    bligations under the C
           6.        This               binding upon and inures to the benefit of Amazon.com and Beneficiary and their respective
                         is Guaranty is bin
           successors
              ccessors
              cc essors and assigns.
           7.         Amazon.com
                          zon.c      has
                                     h all rights and defenses that Subsidiary may have to any payment obligation, except that the
           liability of Amazon.com
                        Amazon.co is not affected by (a) any defense based upon an election of remedies by Beneficiary that destroys
                        Amazon
           or otherwise
               ot erwise impairs
               oth        mpair the subrogation rights of Amazon.com or the right of Amazon.com to proceed against any Subsidiary
           for  reimbursement; (b) any duty on the part of Beneficiary to disclose to Amazon.com any facts Beneficiary may know
            orr reimbursemen
           about any Subs
                       Subsidiary,
                       Subsi       it being agreed that Amazon.com is fully responsible for being and keeping informed of the financial
           condition of SSubsidiary and of all circumstances bearing on the risk of non-payment of the payment obligations; or (c) any

                                                                     Exhibit H - 1
                                                                                                                       AMAZON_00049
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           CONFIDENTIAL
           DPL4

           defense arising from the bankruptcy or insolvency of any Subsidiary.
           8.       All notices hereunder will be given in writing, will refer to this Guaranty and will be personallyy deliveredd or sent
                                                                                                                                      se
                                                                                                                                      sen
           by overnight courier, or registered or certified mail (return receipt requested). Notices to Amazon.com
                                                                                                                 m will be delivered ed at




                                                                                                                 !
           the following addresses:




                                                                                               AL
           Mail                                                              Courier

           Amazon.com, Inc.                                                  Amazon.com, Inc.
           P.O. Box 81226                                                    410 Terry Avenue North
           Seattle, WA 98108-1226                                            Seattle, WA 98109-52100
           Attn: Real Estate Manager (NA Ops: DPL4)                          Attn: Real Estate Manager
                                                                                                 nager          DPL4))
                                                                                                  ager (NA Ops: DPL4
                                                                                                                DP

           With a copy to:                                                   With a copy to:




                                                                                TI
           Amazon.com, Inc.                                                  Amazon.com, Inc.
           P.O. Box 81226                                                    410 Terry Avenue North
           Seattle, WA 98108-1226                                            Seattle, WA 98109
                                                                                          98109-5210
                                                                                          98     -5210
                                                                                                    10
           Attn: General Counsel (Real Estate (NA Ops): DPL4)                Attn: General
                                                                                      nerall Counsel (Real Es
                                                                                     enera                 Estate (NA Ops): DPL4)
                                                                                                           Esta
           Amazon.com may from time to time change such address by giving Beneficiary notice of such
                                                                                  ary noti      suc change in accordance with
           the notice provisions of the Contract.


                                            EN            AMAZON.COM,  OM, INC.,
                                                                            INC.,
                                                          a Delaware corporation


                                                          By:
                                                          Printed
                                                              nted
                                                               ted Name:
                                                          Its:
                                                            s:
                                                          Date Signed:
                                          ID
                     NF
CO




                                                                   Exhibit H - 2
                                                                                                                    AMAZON_00050
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           CONFIDENTIAL
           DPL4

                                                                    EXHIBIT I

                                                           FORM OF VISITOR NDA




                                                                                                                 !
                                                VISITOR NONDISCLOSURE AGREEMENT




                                                                                              AL
           During the course of your visit to this Amazon facility, you may receive information that is not known to thee general pub
                                                                                                                                  public
           (“Confidential Information”) relating to Amazon.com, Inc. and/or an entity that controls,, is controlled by or is uunder
           common control with such company (collectively, “Amazon”). Confidential Information        ion may concern, among other
           things, Amazon’s technology, facilities, assets, systems, customers, vendors, business   iness plans, finances andan
                                                                                                                             a     other
           information, which should be reasonably considered as confidential. Confidential Information may be co          contained in
           tangible materials such as drawings, data, specifications, reports and computer programs,
                                                                                                 ograms, or may be b in tthe nature of
           unwritten knowledge.




                                                                                TI
                                                                                           ou agree (i) all Confidenti
           In consideration of Amazon’s willingness to allow you to visit its facilities, you               Confident
                                                                                                            Confidential Information will
           remain Amazon’s exclusive property; (ii) you will not use Confidential Information
                                                                                        formation      any purpose whatsoever; (iii) you
                                                                                         ormation for an
           will not disclose Confidential Information to any individual, company orr other third party,     except as may be required by
                                                                                                    party, ex
           law; (iv) you will restrict the possession, knowledge and use of Confidential
                                                                                     onfidential Information
                                                                                                  Information to those employees and
           subcontractors who have a need to know the specific Confidential Information
                                                                                 formation
                                                                                         ion and you will enensure compliance on the part
           of these parties with this agreement; and (v) you will notify Amazon
                                                                              on immediatelyely upon discovery
                                                                                                      disco      of any unauthorized use




           continues to constitute a trade secret.
                                                          EN
           or disclosure of Confidential Information or any other breach off this agreement;

                                                                        ompany.
                                                                                     agreement; and (vi)
           materials containing Confidential Information. You also agree that you will
           confidential or proprietary to you or any other person or company.
                                                                                    w not disclose
                                                                          mpany. Your obl
           continue for five (5) years from the date of your visit; however,
                                                                                              i l
                                                                                                      ((v you will destroy all Amazon
                                                                                                      any information to Amazon that is
                                                                                         obligation to comply with this agreement will
                                                                       owever, it will survive indefinitely
                                                                                                 in           as long as the information


           If a provision of this agreement is held invalid underr any applicable law, such invalidity will not affect any other provision
           of this agreement that can be given effect without thehe invalid provision. Further,
                                                                                       Furt
                                                                                       Fur      all terms and conditions of this agreement
           will be deemed enforceable to the fullest extent    nt permissible under applicable
                                                             ent                      app
                                                                                      ap          law, and, when necessary, the court is
           requested to reform any and all terms or conditions
                                                           itions                    effect. This agreement is specifically enforceable by
                                                            tions to give them such eef
                                          ID
           Amazon. This agreement will be construed in accordance with th         internal laws of the State of Washington.
                                                                              the in

           Any failure by Amazon to enforce yourr strict performance of any
                                                                        an provision of this agreement will not constitute a waiver
           of Amazon’s right to subsequently enforce
                                               force such provision or any
                                              nforce                   a other provision of this agreement.

           This Visitor Nondisclosure Agreement
                                            ement does not replace an any other Nondisclosure Agreements with Amazon executed by
           you, your company or any otherr person/entity that you represent.
                                                                   re        Such other Nondisclosure Agreements will remain in full
           force and effect in accordance
                                       ce with their respective
                                                     res        terms.
                                                                ter
                     NF


           ____________________________________
                              ___________________
                              ____________________
           Company Name: __________________
                           ______________________
                               ____            __
           Authorized Signatory: __________________
                         natory: ______
                                 _______________
           Date: _______________________________
                       ____________
                       __________    _________
                                       ____
CO




                                                                    Exhibit I - 1
                                                                                                                   AMAZON_00051
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         CONFIDENTIAL
         DPL4

                                                        LIMITED PARENT GUARANTY
                  This Limited Parent Guaranty (this “Guaranty”), effective as of the date of the Contract (as defined        w), is m
                                                                                                                  fined below),      made
                                                                                                                                     ma
         by Amazon.com, Inc., a Delaware corporation (“Amazon.com”), to and for the benefit of AG-EIP 1 GEOFFREY DRIVE,            RIVE,




                                                                                                                     !
         L.L.C. (the “Beneficiary”). Capitalized terms not otherwise defined herein have the meanings specified
                                                                                                             ed
                                                                                                              d in tth
                                                                                                                    thee Contract (defined
                                                                                                                                       ned
         below).




                                                                                     AL
                                                                        Recitals
         A.      Amazon.com Services LLC, a directly or indirectly wholly owned subsidiary off Amazon.com
                                                                                                   mazon.com (“ (“Subsidia
                                                                                                                  Subsid
                                                                                                                (“Subsidiary”), and
         Beneficiary are parties to that certain Lease Agreement (the “Contract”) for propertyy locatedd at 1 Geoffrey Drive,
                                                                                                                       D      Falls
         Township, Pennsylvania.
         B.                                                                                   hat
                                                                                               at Amazon.com guaranty
                   In order to be assured of payment under the Contract, Beneficiary desires that            guaran the performance
         of certain payment obligations as set forth herein.




                                                                                   TI
                                                                       Guaranty
         In consideration of the foregoing and to induce Beneficiary to enter into the  Contract,
                                                                                        Contract, Amazon.com
                                                                                    hee Co         mazon.c   agrees as follows.
         1.        Amazon.com unconditionally and absolutely guarantees to Beneficiary
                                                                                    neficiary  Subsidiary’s
                                                                                           ary Sub
                                                                                               Subsidi         performance when due and owing
                                                                                                         ary’s perf
         of all present and future payment obligations, which are not paid in accordance with th       the term
                                                                                                           terms of the Contract by Subsidiary.
         Notwithstanding anything to the contrary set forth in this Guaranty,   y, Amazon.com’s maximum
                                                                                                      maximu cumulative liability under this
                                                                                                      maxim

                                                            EN
         Guaranty will be 100% of remaining aggregate Base Rent (as defined

         foregoing, Amazon.com shall pay (or cause Subsidiary to pay),
         set forth in this Paragraph 1, (i) all amounts that are required
         Subsidiary elects to self-insure in accordance with the terms
                                                                      red
                                                                    rms
                                                                     ms of
         connection with any indemnification obligations by Subsidiary
                                                                             efined
                                                                                ned in the Contract) ow
         than the Base Rent due during the final twelve (12) months of the then current
                                                                                                          owing under the Contract, but not less
                                                                                        curre term oof the Contract. Notwithstanding the
                                                                         ), which obligation shall
                                                                                               sha nnot be subject to the limitation on liability

                                                                                 Contract,, and ((ii) all amounts which are due and payable in
                                                                         o the Contract
                                                                                 Con
                                                                                         Subsidiary pursuant to Section 9 of the Contract if
                                                                       ed to be paid by Subsidia

                                                                      diary in favor of Beneficiary
                                                                  ubsidiary              Bene            pursuant to the Contract.
         2.      Under this Guaranty, Amazon.com shalll perfo
                                                            perform             Subsidiary to perform) all payment obligations in
                                                                   rm (or cause Sub
         accordance with the terms and conditions of the Contract.
         3.        Amazon.com promises to pay all amounts  mounts guaranteed promptly
                                                                                 promp
                                                                                 pr        upon receipt of a written notice from Beneficiary
                                            ID
         which evidences (a) Subsidiary’s non-performance    ance of its payment obligations
                                                        ormance                     ob          under the Contract; and (b) Beneficiary’s first
         having demanded payment from Subsidiary      iary in writing, which Subsidiary
                                                     diary                        S            has not honored. Beneficiary’s demand upon
         Subsidiary does not need to include the initiation
                                                   initia
                                                    nitiation           proceedings and is deemed satisfied if demand upon Subsidiary would
                                                          tion of legal proceed
                                                                        proceedi
         violate any stay of collection in effect in an insolvency proceed
                                                                      proceeding. Except to the extent of the demand requirement set forth in
         this Section 3, Amazon.com waivess protest and   an notice        dishonor or default. This is a guaranty of payment only, and not of
                                                                  tice of ddis
         collection.
                      NF


         4.      This Guaranty is governed
                                       verned         it validity, construction and performance by the laws of the Commonwealth of
                                            ed as to its
         Pennsylvania, without regardd to its conflict of law pr
                                                              provisions.
         5.      Amazon.com agrees
                                grees that
                                        at this Guaranty is a continuing guaranty and will remain in full force and effect until all
         payment obligations under
                              nder the Contract have been
                                                     be performed as set forth in the Contract, subject to Section 1 above.
         6.      This Guaranty
                            anty                 and inures to the benefit of Amazon.com and Beneficiary and their respective
                               y is binding upon an
         successors and assigns.
                          signs.
         7.       Amazon.com
                         zon.com has all rights anand defenses that Subsidiary may have to any payment obligation, except that the liability
         of Amazon.com om is not affected
                      com              cted bby (a) any defense based upon an election of remedies by Beneficiary that destroys or otherwise
                                  afffected
CO




         impairs the
                   he subrogation
                        sub            rights
                                         ghts of Amazon.com or the right of Amazon.com to proceed against any Subsidiary for
         reimbursement;
                 sement;nt; (b)
                            (b any duty on theth part of Beneficiary to disclose to Amazon.com any facts Beneficiary may know about any
         Subsidiary,
               diary,
                iary, it be ing agreed that Amazon.com is fully responsible for being and keeping informed of the financial condition of
                         being
         Subsidiary
             sidiary and of all circums
                                 circumstances bearing on the risk of non-payment of the payment obligations; or (c) any defense arising
         from
           om the bankruptcy or  or insolvency
                                    inso         of any Subsidiary.
         8.       All notices   hereunder will be given in writing, will refer to this Guaranty and will be personally delivered or sent by
                            es hher
         overnight
            ernigh courier,
                          r, or registered or certified mail (return receipt requested). Notices to Amazon.com will be delivered at the
         following
             owin
              wingg addresses:
                    addresses



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         Mail                                                         Courier

         Amazon.com, Inc.                                             Amazon.com, Inc.




                                                                                                L!
         P.O. Box 81226                                               410 Terry Avenue North
         Seattle, WA 98108-1226                                       Seattle, WA 98109-5210
         Attn: Real Estate Manager (NA Ops: DPL4)                     Attn: Real Estate Manager (NA Ops: DPL4)
                                                                                                     ps: DPL4
                                                                                                           L4))

         With a copy to:                                              With a copy to:




                                                                                    IA
         Amazon.com, Inc.                                             Amazon.com, Inc.
         P.O. Box 81226                                               410 Terry Avenue Northh
         Seattle, WA 98108-1226                                       Seattle, WA 98109-5210
                                                                                           10
         Attn: General Counsel (Real Estate (NA Ops): DPL4)           Attn: General Counsel
                                                                                        sel (Real Estate (NA Op
                                                                                                             Ops): DPL4)
                                                                                                             Ops
         Amazon.com may from time to time change such address by giving Beneficiary
                                                                                  y notice of such change in
                                                                                                          i accordance with the
         notice provisions of the Contract.




                                             T
                                                    AMAZON.COM, INC.,
                                                    a Delaware corporation



                                          EN        By:

                                                    Printed Name:

                                                    Its:   
                                                            
                                                               e:
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                                                    Date
                                                     ate
                                                      te Signed:
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                   Exhibit “C”
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AG-EIP 1 Geoffrey Drive, L.L.C.
c/o Equity Industrial Partners Corp.
20 Pickering Street, Second Floor
Needham, MA 02492

RE:      Early access to the property located at 1 Geoffrey Drive, Fairless Hills, Pennsylvania, for due diligence and
         move-in

To whom it may concern:

         While the lease for the                                                                      d like AG-EIP
1 Geoffrey Drive, L.L.C.                 to grant Amazon early access to the Site for the sole purpose of performing
surveys, studies, due diligence (including environmental studies), and work set forth on Exhibit A

Amazon requests access to the Site on the following terms:

         Amazon will be responsible for: (a) paying all costs of the Onsite Work, (b) complying with all laws
         applicable to the Onsite Work, (c) keeping the property free of liens relating to the Onsite Work, and (d)
         promptly repairing and restoring any damage caused by the Onsite Work.
         Notwithstanding anything herein to the contrary, in no event shall Amazon conduct any invasive testing or
         sampling without the prior written consent of Landlord, which consent shall not be unreasonably withheld,
         conditioned or delayed provided that such testing or sampling has been specifically set forth in a scope of
         work document which has been approved in advance by Landlord in writing.
         In addition, notwithstanding anything herein to the contrary, in no event shall Amazon make any alterations,
         improvements or additions to the structural components of the building at the Site or to the systems serving
         such building (as opposed to the mere installation of its furniture, fixtures or equipment therein) without the
         prior written consent of Landlord, which consent shall not be unreasonably withheld, conditioned or delayed.

         insurance coverage with limits not less than the minimum amounts r
         general liability insurance policy will cover claims for bodily injury, death and property damage and will
         include Landlord as an additional insured and such policy shall be considered primary and non-contributory
         to insurance coverage or self-insurance maintained by Landlord. Visit www.amazon.com/moi to view a

         Amazon shall
         members, managers, partners, trustees, directors, officers, employees, agents and representatives, and the
         successors and assigns of all of the foregoing (collectively, "Landlord Indemnitees"), against and from any
         and all losses, liabilities, and damages (collectively, "Claims") occasioned by, arising in connection with, or
         incident to any Onsite Work, or the presence at the Site                                      or their respective
         officers, directors, lenders, inspectors, appraisers, engineers, attorneys, representatives, agents, contractors,
         consultants, employees, servants or licensees, or arising in connection with the breach of this letter agreement
         by Amazon or its enforcement by Landlord;                                                        hereunder shall
         not apply to (i) the mere discovery of a pre-existing environmental or physical condition at the Site provided
         that such condition is not exacerbated thereby, or (ii) any and all Claims arising from or caused by the
         negligence or willful misconduct of Landlord or any Landlord Indemnitee.
         The prevailing party in any action to enforce this letter agreement will be entitled to receive from the other
         party all reasonable expenses, including legal fees and disbursements paid or incurred by the prevailing party
         in such action.
         Landlord and Amazon each waive any rights against one another arising from any loss or damage of property
         at the Site to the extent such loss or damage could be insured against by the ISO Causes of Loss-Special
         Form Coverage, including deductibles (whether or not actually insured, recovered under insurance, or self-
         insured); except that the foregoing waiver will not apply to any loss or damage cau
         negligence or willful misconduct.




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         This letter agreement does not obligate Amazon or Landlord to enter into a lease and each party accepts the
         risk that no such lease or other contract or agreement will be executed. If either Amazon or Landlord provides
         written notice to the other of its decision not to proceed with the lease, Amazon shall remove its items from
         the Site and repair and restore the Site from the Onsite Work to the condition the Site is in as of the date
         i                                           within 15 days (or a reasonable period of time, if 15 days is not
         reasonably sufficient, but in no event more than 45 days in the aggregate; provided that Amazon commences
         such removal and restoration work within such 15-day period and thereafter diligently prosecutes the same
         to completion
         automatically expire.
Thank you.

                                              [Signatures on next page.]




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Amazon.com Services LLC


By: _______________________
Name: _____________________
Title: ______________________
Date: ______________________


Landlord agrees to grant Site access to Amazon, effective as of the signature date below, on the terms described
above.

AG-EIP 1 Geoffrey Drive, L.L.C.

By:      AG-EIP Industrial 6, L.L.C., its sole member

         By:      AG Real Estate Manager, Inc., its manager


                  By:      _____________________________
                  Name:    _____________________________
                  Title:   _____________________________
                  Date:    _____________________________




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                                                     Exhibit A

SITE
         Limit site work; Leave existing gravel paving as is; restriping of pavement if it is in good condition.
         Patching where required
         Do not provide a standard AMZL canopy for exterior loading, but investigate clear span tensile structures
         (look at lease options); tensile structure must be snow rated; review for township permitting requirements;
         Consider lighting options at the tensile structures

ARCHITECTURE
      Reuse existing docks, pits, and levelers and replace dock door locks and mechanics.
      Reuse existing mezzanine office area. Remove partitions as required and provide program for breakroom,
      mothers room, multi-faith, HR, and typical offices. Patch/Repair existing finishes.
      Close off the part of the warehouse that will not be needed for MHE operation
      Provide cast-in-place concrete or Dockzilla (or equal) load out ramps. Note these will likely trigger site
      plan approval/zoning.
      Provide AMZL signage (directional, interior, and exterior wall sign); Confirm if this requires any special
      township reviews (Note: modify stock signs to meet township requirements and do not request variances)
      Reuse existing breakrooms in lieu of providing a new breakroom. This would save time on demo, new
      MEP, and fit out.
      Confirm if there are roof leaks as there are several stained ceiling panels throughout the office and break
      areas
      Highlight the Associates entrance with vinyl window film (perhaps bright Amazon blue)

MECHANICAL
     Reuse existing RTUs and service as required; Design a cooling option with fixed units and an option for
     rental units for air temperature cooling; Provide Big Ass Fans to su
     early review projects that we could not provide additional RTUs without additional structural support;
     Consider where on the ground we might place the units; Consider the addition of cooling may be a Day 2
     element to be added after Launch
     Our current plan is to reuse existing HVAC system controls to the greatest extent possible. Existing
     controls were mostly provided with the equipment they serve. For example, rooftop units have their own
     thermostats which do not appear to interface with a central control system. We will continue this
     approach. Anything new we provide will also have its own packaged controls. The alternative would be to
                                                                     Both of these approaches would be a
     significant cost increase over re-using existing
     Heating will reuse the existing units; MAU will be required and are not anticipated to be too much
     procurement lead time; Stantec is to provide specifications and quantities ahead of CD package release so
     Gilbane can start procurement

ELECTRICAL
      Zelus is capturing the interior and exterior light levels; we will re-lamp with LEDs and supplement interior
      lighting as needed (Note: this should be considered as tenant maintenance items and completed without
      permit); Consider lighting modifications will trigger energy code compliance.
      GC to modify existing lighting in field; we need to re-verify the lamp light levels after modifications are
      made.
      Current electrical service is 2000amps; this service is not sufficient to support additional warehouse AC
      even with the removal of the battery charging equipment; additional electrical service will be provided Day
      2
      New panel boards are expected to take 4-6 weeks to procure; Stantec is to provide specifications and
      quantities ahead of CD package release so Gilbane can start procurement

PLUMBING



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         We will reuse existing lines

FIRE PROTECTION/FIRE ALARM
       The sprinkler is not EFSR which is ok as this is not AMZL required; sprinklers may need to be modified at
       the office areas;
       Stantec was unable to find the main FA panel during our walk through; we may need to add one




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                   Exhibit “D”
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                              UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

GRETA ROUBERT                                             :
                                                          :
                                                 :
                                 -vs.-                    :
                :
AMAZON                                           :
                     -and-                                :       No. 2:21-cv-03091
GILBANE BUILDING COMPANY
                                         :
                                 -and-                    :
Equity Industrial Partners
                         :
                   -and              :
KELLERMEYERS BERGENSON SERVICES, LLC :

                      PLAINTIFF’S AMENDED CIVIL ACTION COMPLAINT
                           NEGLIGENCE - PREMISES LIABILITY

        1.      Plaintiff, Great Roubert, is an adult individual and at all times material hereto resided at

the above captioned address.

        2.      Defendant Amazon is a business for profit and incorporated at the captioned address and at all

times material hereto did own, maintain, control, lease, operate and/or was contractually obligated to clean, repair

and/or make safe the property located at 1 Geoffrey Drive, Fairless Hills, PA 19030.

        3.      Defendant Gilbane Building Company is a business for profit and incorporated at the captioned

address and at all times material hereto did own, maintain, control, lease, operate and/or was contractually

obligated to clean, repair and/or make safe the property located at 1 Geoffrey Drive, Fairless Hills, PA 19030.

        4.      Defendant Equity Industrial Partners is a business for profit and incorporated at the captioned

address and at all times material hereto did own, maintain, control, lease, operate and/or was contractually

obligated to clean, repair and/or make safe the property located at 1 Geoffrey Drive, Fairless Hills, PA 19030.

        5.      Defendant Kellermeyers Bergenson Services, LLC is a business for profit and incorporated at the

captioned address and at all times material hereto did own, maintain, control, lease, operate and/or was

contractually obligated to clean, repair and/or make safe the property located at 1 Geoffrey Drive, Fairless Hills,

PA 19030.
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        6.       On October 2, 2020, Plaintiff Greta Roubert was an employee of an independent contractor

invited upon the premises of the Defendants when she slipped, tripped, stumbled and fell as a result of a defective

and dangerous condition on the property in the form of a cut-off lag bolt left haphazardly and inconspicuously on

Defendants’ walking surface which caused Plaintiff to suffer serious and permanent injuries the extent of which

will be described more fully hereinafter.




        7.       Defendants knew and/or should have known of this dangerous and defective condition in light of

its location and legal duty owed to Plaintiff.

        8.       As a result of the fall, Plaintiff sustained traumatic injuries to her shoulder, knee and back which

have resulted in surgery to the shoulder and likely has permanently disabled Plaintiff.

                                                COUNT I –
                             PLAINTIFF, GRETA ROUBERT v. DEFENDANT AMAZON
                                              NEGLIGENCE


        9.       Plaintiffs incorporate by reference the allegations contained in the preceding paragraphs

as thought the same were fully set forth at length herein.
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       10.      The aforesaid incident was solely and proximately caused by the Defendant, Amazon,

their agents, servants, workmen, representatives and/or employees, which negligence consisted of, but

was not necessarily limited to the following;


                (a)   Failing to maintain said property in a safe condition;

                (b)   Failing to properly inspect and remedy the unsafe condition upon the property
                      with notice, actual or constructive, of its dangerous condition;

                (c)   Failing to give proper and adequate notice of the defective and dangerous
                      condition of said property;

                (d)   Failing to erect and maintain appropriate barriers or safeguards around the
                      defective and dangerous portion of the said property;

                (e)   Disregarding the rights and safety of those persons lawfully on their premises;

                (f)   Permitting said property to remain in a dangerous state of disrepair and neglect to
                      the prejudice of plaintiff, including but not limited to failing to properly maintain
                      the floors of the premises;

                (g)   Failing to properly train employees to recognize dangerous and defective
                      conditions about the mall and to protect business patrons;

                (h)   Negligently selecting its employees, workmen and/or supervisors;

                (i)   Hiring and employing negligent and incompetent agents, servants, workmen,
                      employees and/or sub-contractors that Defendants knew or should have known
                      were not competent and who could not properly perform their job duties;

                (j)   Permitting and allowing, by and through its agents, servants, workmen,
                      employees and/or supervisors, dangerous and hazardous conditions, to wit, a wet
                      floor surface, to exist when Defendant knew or should have known that such
                      negligence and carelessness of its workmen, employees and/or supervisors would
                      create a severe risk of physical harm to those persons walking thereon;

                (k)   Failing to set forth adequate, proper and reasonable safety standards;

                (l)   Failing to properly supervise its employees' actions, physical conduct and job
                      performance;

                (m)   Failing to properly supervise and inspect the area at all times to ensure safety to
                      all persons therein;
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                (n)    Failing to properly supervise and inspect the area at all times in an effort to
                       remove and clean up hazards which may present a dangerous condition to exist
                       thereby causing unnecessary accidents to those persons thereon;

                (o)    Failing to conduct usual, regular and normal inspections of said premises to
                       assure that said premises was kept in a safe and hazard-free condition for those
                       lawfully thereon;

                (p)    Failing to warn all persons lawfully within said facility, one of whom was
                       Plaintiff herein, of the dangerous and hazardous conditions which there and then
                       existed at the time and place of the accident herein;

                (q)    Entrusting the premises to persons and/or corporations and/or other entities or
                       associations which Defendants knew or should have known would act in a
                       negligent and careless manner as previously described in this Complaint;

                (r)    Allowing persons, corporations, associations and/or other entities to act in a
                       negligent and careless manner on the premises as previously described;

                (s)    Failing to properly supervise, control or otherwise prevent persons, corporations,
                       associations and/or other entities from conducting themselves in a negligent and
                       careless manner on said premises as previously described;

                (t)    Failing to properly investigate the qualifications of persons, corporations,
                       associations and/or other entities that were allowed to work and/or be on said
                       premises and to properly prevent said persons, corporations, associations and/or
                       other entities from acting in the negligent and careless manner as previously
                       described;


       11.      Solely as a result of the aforesaid occurrence, Plaintiff has been rendered sick, sore, lame

and prostrate and has sustained multiple injuries to the back, neck, legs, knees, limbs, feet and hands

resulting in a possible injury to the muscles, nerves, disks, bones and ligaments connected thereto; and a

shock to the nerves and nervous system. Plaintiff has endured and continues to endure great pain and

suffering and/or aggravation of pre-existing conditions.

       12.      As a further result of this accident, plaintiff has been or will be obliged to receive and

undergo medical attention and care, and to expend various sums of money and/or incur expenses for the

injuries she has suffered; and she may be obliged to continue to expend such sums for an indefinite

period of time in the future, perhaps permanently.
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       13.      As an additional result of the accident aforesaid, plaintiff has suffered injuries which are

or may be permanent in nature, and has suffered and will in the future continue to suffer great pain and

agony, and has, will and may be unable to attend to daily duties, occupations, labors and employment,

thereby losing the emoluments of her industry, and has suffered a loss, diminution and depreciation of

her earnings and future earning capacity, and which will continue for an indefinite time in the future, all

to her great and continuing detriment and loss.

                WHEREFORE, Plaintiff, Greta Roubert, hereby respectfully requests this Honorable

Court to enter judgment against Defendant, Amazon, individually, jointly and/or severally in an amount

in excess of Fifty Thousand ($50,000.00) Dollars, together with costs, attorney fees and such other relief

as this Honorable Court may deem just and appropriate.

                                           COUNT II –
              PLAINTIFF, GRETA ROUBERT v. DEFENDANT GILBAINE BUILDING COMPANY
                                         NEGLIGENCE


       13.      Plaintiffs incorporate by reference the allegations contained in the preceding paragraphs

as thought the same were fully set forth at length herein.

       14.      The aforesaid incident was solely and proximately caused by the Defendant, Gilbaine

Building Company, their agents, servants, workmen, representatives and/or employees, which

negligence consisted of, but was not necessarily limited to the following;


   a) Failing to maintain said property in a safe condition;

   b) Failing to properly inspect and remedy the unsafe condition upon the property with notice, actual
      or constructive, of its dangerous condition;

   c) Failing to give proper and adequate notice of the defective and dangerous          condition of said
      property;

   d) Failing to erect and maintain appropriate barriers or safeguards around the defective and
      dangerous portion of the said property;

   e) Disregarding the rights and safety of those persons lawfully on their premises;
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f) Permitting said property to remain in a dangerous state of disrepair and neglect to the prejudice
   of plaintiff, including but not limited to failing to properly maintain the floors of the premises;

g) Failing to properly train employees to recognize dangerous and defective conditions about the
   mall and to protect business patrons;

h) Negligently selecting its employees, workmen and/or supervisors;

i) Hiring and employing negligent and incompetent agents, servants, workmen, employees and/or
   sub-contractors that Defendants knew or should have known were not competent and who could
   not properly perform their job duties;

j) Permitting and allowing, by and through its agents, servants, workmen, employees and/or
   supervisors, dangerous and hazardous conditions, to wit, a wet floor surface, to exist when
   Defendant knew or should have known that such negligence and carelessness of its workmen,
   employees and/or supervisors would create a severe risk of physical harm to those persons
   walking thereon;

k) Failing to set forth adequate, proper and reasonable safety standards;

l) Failing to properly supervise its employees' actions, physical conduct and job performance;

m) Failing to properly supervise and inspect the area at all times to ensure safety to all persons
   therein;

n) Failing to properly supervise and inspect the area at all times in an effort to remove and clean up
   hazards which may present a dangerous condition to exist thereby causing unnecessary accidents
   to those persons thereon;

o) Failing to conduct usual, regular and normal inspections of said premises to assure that said
   premises was kept in a safe and hazard-free condition for those lawfully thereon;

p) Failing to warn all persons lawfully within said facility, one of whom was Plaintiff herein, of the
   dangerous and hazardous conditions which there and then existed at the time and place of the
   accident herein;

q) Entrusting the premises to persons and/or corporations and/or other entities or associations which
   Defendants knew or should have known would act in a negligent and careless manner as
   previously described in this Complaint;

r) Allowing persons, corporations, associations and/or other entities to act in a negligent and
   careless manner on the premises as previously described;

s) Failing to properly supervise, control or otherwise prevent persons, corporations, associations
   and/or other entities from conducting themselves in a negligent and careless manner on said
   premises as previously described;
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   t) Failing to properly investigate the qualifications of persons, corporations, associations and/or
      other entities that were allowed to work and/or be on said premises and to properly prevent said
      persons, corporations, associations and/or other entities from acting in the negligent and careless
      manner as previously described;


       15.      Solely as a result of the aforesaid occurrence, Plaintiff has been rendered sick, sore, lame

and prostrate and has sustained multiple injuries to the back, neck, legs, knees, limbs, feet and hands

resulting in a possible injury to the muscles, nerves, disks, bones and ligaments connected thereto; and a

shock to the nerves and nervous system. Plaintiff has endured and continues to endure great pain and

suffering and/or aggravation of pre-existing conditions.

       16.      As a further result of this accident, plaintiff has been or will be obliged to receive and

undergo medical attention and care, and to expend various sums of money and/or incur expenses for the

injuries she has suffered; and she may be obliged to continue to expend such sums for an indefinite

period of time in the future, perhaps permanently.

       17.      As an additional result of the accident aforesaid, plaintiff has suffered injuries which are

or may be permanent in nature, and has suffered and will in the future continue to suffer great pain and

agony, and has, will and may be unable to attend to daily duties, occupations, labors and employment,

thereby losing the emoluments of her industry, and has suffered a loss, diminution and depreciation of

her earnings and future earning capacity, and which will continue for an indefinite time in the future, all

to her great and continuing detriment and loss.

                WHEREFORE, Plaintiff, Greta Roubert, hereby respectfully requests this Honorable

Court to enter judgment against Defendant, Gilbaine Building Company, individually, jointly and/or

severally in an amount in excess of Fifty Thousand ($50,000.00) Dollars, together with costs, attorney

fees and such other relief as this Honorable Court may deem just and appropriate.
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                                          COUNT III–
             PLAINTIFF, GRETA ROUBERT v. DEFENDANT EQUITY INDUSTRIAL PARNTERS
                                         NEGLIGENCE


       18.      Plaintiffs incorporate by reference the allegations contained in the preceding paragraphs

as thought the same were fully set forth at length herein.

       19.      The aforesaid incident was solely and proximately caused by the Defendant, Equity

Industrial Partners, their agents, servants, workmen, representatives and/or employees, which negligence

consisted of, but was not necessarily limited to the following;


   a) Failing to maintain said property in a safe condition;

   b) Failing to properly inspect and remedy the unsafe condition upon the property with notice, actual
      or constructive, of its dangerous condition;

   c) Failing to give proper and adequate notice of the defective and dangerous        condition of said
      property;

   d) Failing to erect and maintain appropriate barriers or safeguards around the defective and
      dangerous portion of the said property;

   e) Disregarding the rights and safety of those persons lawfully on their premises;

   f) Permitting said property to remain in a dangerous state of disrepair and neglect to the prejudice
      of plaintiff, including but not limited to failing to properly maintain the floors of the premises;

   g) Failing to properly train employees to recognize dangerous and defective conditions about the
      mall and to protect business patrons;

   h) Negligently selecting its employees, workmen and/or supervisors;

   i) Hiring and employing negligent and incompetent agents, servants, workmen, employees and/or
      sub-contractors that Defendants knew or should have known were not competent and who could
      not properly perform their job duties;

   j) Permitting and allowing, by and through its agents, servants, workmen, employees and/or
      supervisors, dangerous and hazardous conditions, to wit, a wet floor surface, to exist when
      Defendant knew or should have known that such negligence and carelessness of its workmen,
      employees and/or supervisors would create a severe risk of physical harm to those persons
      walking thereon;

   k) Failing to set forth adequate, proper and reasonable safety standards;
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   l) Failing to properly supervise its employees' actions, physical conduct and job performance;

   m) Failing to properly supervise and inspect the area at all times to ensure safety to all persons
      therein;

   n) Failing to properly supervise and inspect the area at all times in an effort to remove and clean up
      hazards which may present a dangerous condition to exist thereby causing unnecessary accidents
      to those persons thereon;

   o) Failing to conduct usual, regular and normal inspections of said premises to assure that said
      premises was kept in a safe and hazard-free condition for those lawfully thereon;

   p) Failing to warn all persons lawfully within said facility, one of whom was Plaintiff herein, of the
      dangerous and hazardous conditions which there and then existed at the time and place of the
      accident herein;

   q) Entrusting the premises to persons and/or corporations and/or other entities or associations which
      Defendants knew or should have known would act in a negligent and careless manner as
      previously described in this Complaint;

   r) Allowing persons, corporations, associations and/or other entities to act in a negligent and
      careless manner on the premises as previously described;

   s) Failing to properly supervise, control or otherwise prevent persons, corporations, associations
      and/or other entities from conducting themselves in a negligent and careless manner on said
      premises as previously described;

   t) Failing to properly investigate the qualifications of persons, corporations, associations and/or
      other entities that were allowed to work and/or be on said premises and to properly prevent said
      persons, corporations, associations and/or other entities from acting in the negligent and careless
      manner as previously described;
      .

       20.      Solely as a result of the aforesaid occurrence, Plaintiff has been rendered sick, sore, lame

and prostrate and has sustained multiple injuries to the back, neck, legs, knees, limbs, feet and hands

resulting in a possible injury to the muscles, nerves, disks, bones and ligaments connected thereto; and a

shock to the nerves and nervous system. Plaintiff has endured and continues to endure great pain and

suffering and/or aggravation of pre-existing conditions.

       21.      As a further result of this accident, plaintiff has been or will be obliged to receive and

undergo medical attention and care, and to expend various sums of money and/or incur expenses for the

injuries she has suffered; and she may be obliged to continue to expend such sums for an indefinite
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period of time in the future, perhaps permanently.

       22.      As an additional result of the accident aforesaid, plaintiff has suffered injuries which are

or may be permanent in nature, and has suffered and will in the future continue to suffer great pain and

agony, and has, will and may be unable to attend to daily duties, occupations, labors and employment,

thereby losing the emoluments of her industry, and has suffered a loss, diminution and depreciation of

her earnings and future earning capacity, and which will continue for an indefinite time in the future, all

to her great and continuing detriment and loss.

                WHEREFORE, Plaintiff, Greta Roubert, hereby respectfully requests this Honorable

Court to enter judgment against Defendant, Equity Industrial Partners, individually, jointly and/or

severally in an amount in excess of Fifty Thousand ($50,000.00) Dollars, together with costs, attorney

fees and such other relief as this Honorable Court may deem just and appropriate.

                                          COUNT IV–
              PLAINTIFF, GRETA ROUBERT v. DEFENDANT KELLERMEYERS BERGENSONS
                                        SERVICES, LLC
                                         NEGLIGENCE


       23.      Plaintiffs incorporate by reference the allegations contained in the preceding paragraphs

as thought the same were fully set forth at length herein.

       24.      The aforesaid incident was solely and proximately caused by the Defendant,

Kellermeyers Bergensons Services, LLC, their agents, servants, workmen, representatives and/or

employees, which negligence consisted of, but was not necessarily limited to the following;


   a) Failing to maintain said property in a safe condition;

   b) Failing to properly inspect and remedy the unsafe condition upon the property with notice, actual
      or constructive, of its dangerous condition;

   c) Failing to give proper and adequate notice of the defective and dangerous          condition of said
      property;

   d) Failing to erect and maintain appropriate barriers or safeguards around the defective and
      dangerous portion of the said property;
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e) Disregarding the rights and safety of those persons lawfully on their premises;

f) Permitting said property to remain in a dangerous state of disrepair and neglect to the prejudice
   of plaintiff, including but not limited to failing to properly maintain the floors of the premises;

g) Failing to properly train employees to recognize dangerous and defective conditions about the
   mall and to protect business patrons;

h) Negligently selecting its employees, workmen and/or supervisors;

i) Hiring and employing negligent and incompetent agents, servants, workmen, employees and/or
   sub-contractors that Defendants knew or should have known were not competent and who could
   not properly perform their job duties;

j) Permitting and allowing, by and through its agents, servants, workmen, employees and/or
   supervisors, dangerous and hazardous conditions, to wit, a wet floor surface, to exist when
   Defendant knew or should have known that such negligence and carelessness of its workmen,
   employees and/or supervisors would create a severe risk of physical harm to those persons
   walking thereon;

k) Failing to set forth adequate, proper and reasonable safety standards;

l) Failing to properly supervise its employees' actions, physical conduct and job performance;

m) Failing to properly supervise and inspect the area at all times to ensure safety to all persons
   therein;

n) Failing to properly supervise and inspect the area at all times in an effort to remove and clean up
   hazards which may present a dangerous condition to exist thereby causing unnecessary accidents
   to those persons thereon;

o) Failing to conduct usual, regular and normal inspections of said premises to assure that said
   premises was kept in a safe and hazard-free condition for those lawfully thereon;

p) Failing to warn all persons lawfully within said facility, one of whom was Plaintiff herein, of the
   dangerous and hazardous conditions which there and then existed at the time and place of the
   accident herein;

q) Entrusting the premises to persons and/or corporations and/or other entities or associations which
   Defendants knew or should have known would act in a negligent and careless manner as
   previously described in this Complaint;

r) Allowing persons, corporations, associations and/or other entities to act in a negligent and
   careless manner on the premises as previously described;

s) Failing to properly supervise, control or otherwise prevent persons, corporations, associations
   and/or other entities from conducting themselves in a negligent and careless manner on said
   premises as previously described;
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   t) Failing to properly investigate the qualifications of persons, corporations, associations and/or
      other entities that were allowed to work and/or be on said premises and to properly prevent said
      persons, corporations, associations and/or other entities from acting in the negligent and careless
      manner as previously described;


       25.      Solely as a result of the aforesaid occurrence, Plaintiff has been rendered sick, sore, lame

and prostrate and has sustained multiple injuries to the back, neck, legs, knees, limbs, feet and hands

resulting in a possible injury to the muscles, nerves, disks, bones and ligaments connected thereto; and a

shock to the nerves and nervous system. Plaintiff has endured and continues to endure great pain and

suffering and/or aggravation of pre-existing conditions.

       26.      As a further result of this accident, plaintiff has been or will be obliged to receive and

undergo medical attention and care, and to expend various sums of money and/or incur expenses for the

injuries she has suffered; and she may be obliged to continue to expend such sums for an indefinite

period of time in the future, perhaps permanently.

       27.      As an additional result of the accident aforesaid, plaintiff has suffered injuries which are

or may be permanent in nature, and has suffered and will in the future continue to suffer great pain and

agony, and has, will and may be unable to attend to daily duties, occupations, labors and employment,

thereby losing the emoluments of her industry, and has suffered a loss, diminution and depreciation of

her earnings and future earning capacity, and which will continue for an indefinite time in the future, all

to her great and continuing detriment and loss.
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              WHEREFORE, Plaintiff, Greta Roubert, hereby respectfully requests this Honorable

Court to enter judgment against Defendant, Kellermeyer Bergensons Services, Inc., individually, jointly

and/or severally in an amount in excess of Fifty Thousand ($50,000.00) Dollars, together with costs,

attorney fees and such other relief as this Honorable Court may deem just and appropriate

                                                                  RODDEN RODDEN & BRESLIN,



                                                           By:    _____David Brian Rodden_______
                                                                  DAVID BRIAN RODDEN, ESQ.
                                                                  Attorney for Plaintiff
Dated: July 28, 2021
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                                           VERIFICATION

       David Brian Rodden, Esquire, attorney for Plaintiff in the foregoing matter, hereby verifies that

he has been authorized to take this Verification on his client’s behalf; is familiar with the facts and

circumstances surrounding this matter; and that the facts set forth in the foregoing document are true and

correct to the best of his knowledge, information and belief.

       Further, he is aware that any false statements made herein are subject to the penalties of 18 Pa.

C.S.A. §4904 relating to unsworn falsification made to authorities.



                                             _____David Brian Rodden_____________
                                                   David Brian Rodden, Esquire

Dated: July 29, 2021
           Case
            Case2:22-cv-04629-CMR
                 2:21-cv-03091-CMR Document
                                    Document15 Filed
                                                Filed11/18/22
                                                      07/30/21 Page
                                                                Page125
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                                                                           15




                                 CERTIFICATE OF SERVICE


       The undersigned hereby certify that a true and correct copy of the foregoing pleading has been

forwarded to all counsel of record via Pennsylvania Eastern District Court of Pennsylvania efiling

system on this same date.



                                                            RODDEN & RODDEN

                                                    By:     ____David Brian Rodden________
                                                            David Brian Rodden, Esquire
                                                            Attorney for Plaintiff(s)
Dated: July 29, 2021
JS 44 (Rev. 10/20)            Case                CIVIL
                               Case2:22-cv-04629-CMR
                                    2:21-cv-03091-CMR   COVER1 5-1
                                                      Document
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The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
         Greta Roubert                                                                                     Amazon, et al

   (b)   County of Residence of First Listed Plaintiff                                                    County of Residence of First Listed Defendant
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                          NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c)   Attorneys (Firm Name, Address, and Telephone Number)                                              Attorneys (If Known)
      David Brian Rodden
      125 North 20th Street
      214-940-2155
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government                  3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                        PERSONAL INJURY                  PERSONAL INJURY             625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                           310 Airplane                    365 Personal Injury -            of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                       315 Airplane Product                Product Liability        690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument                 Liability                  367 Health Care/                                                                                    400 State Reapportionment
  150 Recovery of Overpayment          320 Assault, Libel &                Pharmaceutical                                                PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment             Slander                        Personal Injury                                                820 Copyrights                   430 Banks and Banking
  151 Medicare Act                     330 Federal Employers’              Product Liability                                              830 Patent                       450 Commerce
  152 Recovery of Defaulted                 Liability                  368 Asbestos Personal                                              835 Patent - Abbreviated         460 Deportation
       Student Loans                   340 Marine                          Injury Product                                                     New Drug Application         470 Racketeer Influenced and
       (Excludes Veterans)             345 Marine Product                  Liability                                                      840 Trademark                        Corrupt Organizations
  153 Recovery of Overpayment               Liability                 PERSONAL PROPERTY                      LABOR                        880 Defend Trade Secrets         480 Consumer Credit
      of Veteran’s Benefits            350 Motor Vehicle               370 Other Fraud              710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
  160 Stockholders’ Suits              355 Motor Vehicle               371 Truth in Lending             Act                                                                485 Telephone Consumer
  190 Other Contract                       Product Liability           380 Other Personal           720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability   ✖   360 Other Personal                  Property Damage              Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                            Injury                      385 Property Damage          740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                       362 Personal Injury -               Product Liability        751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                           Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS            790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation                440 Other Civil Rights          Habeas Corpus:               791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                      441 Voting                      463 Alien Detainee               Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment           442 Employment                  510 Motions to Vacate                                             870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                    443 Housing/                        Sentence                                                           or Defendant)                896 Arbitration
  245 Tort Product Liability               Accommodations              530 General                                                       871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property          445 Amer. w/Disabilities -      535 Death Penalty                IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                           Employment                  Other:                       462 Naturalization Application                                             Agency Decision
                                       446 Amer. w/Disabilities -      540 Mandamus & Other         465 Other Immigration                                                  950 Constitutionality of
                                           Other                       550 Civil Rights                 Actions                                                                State Statutes
                                       448 Education                   555 Prison Condition
                                                                       560 Civil Detainee -
                                                                           Conditions of
                                                                           Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖   2 Removed from                  3      Remanded from              4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding                 State Court                          Appellate Court              Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                             (specify)                 Transfer                          Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION                     Brief description of cause:

VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes           No
VIII. RELATED CASE(S)
                                            (See instructions):
      IF ANY                                                         JUDGE                                                               DOCKET NUMBER
DATE                                                                   SIGNATURE OF ATTORNEY OF RECORD
7-30-2021                                                              David Brian Rodden
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                     APPLYING IFP                                    JUDGE                           MAG. JUDGE
JS 44 Reverse (Rev. 10/20)   Case
                              Case2:22-cv-04629-CMR
                                   2:21-cv-03091-CMR Document
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                     INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
                                                               Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follows:

I.(a)    Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
         only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identify first the agency and then
         the official, giving both name and title.
  (b)    County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
         time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing. (NOTE: In land
         condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)
  (c)    Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several attorneys, list them on an attachment, noting
         in this section "(see attachment)".

II.      Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
         in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.
         United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
         United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.
         Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
         to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant code takes
         precedence, and box 1 or 2 should be marked.
         Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
         citizenship of the different parties must be checked. (See Section III below; NOTE: federal question actions take precedence over diversity
         cases.)

III.     Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above. Mark this
         section for each principal party.

IV.      Nature of Suit. Place an "X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
         that is most applicable. Click here for: Nature of Suit Code Descriptions.

V.       Origin. Place an "X" in one of the seven boxes.
         Original Proceedings. (1) Cases which originate in the United States district courts.
         Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
         Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action. Use the date of remand as the filing
         date.
         Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
         Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
         multidistrict litigation transfers.
         Multidistrict Litigation – Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
         Section 1407.
         Multidistrict Litigation – Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
         PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7. Origin Code 7 was used for historical records and is no longer relevant due to
         changes in statue.

VI.      Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
         statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service.

VII.     Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
         Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
         Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

VIII. Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
      numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
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                   Exhibit “E”
       Case 2:22-cv-04629-CMR Document 1 Filed 11/18/22 Page 129 of 137




                             CLINTON & CLINTON
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                                          Philadelphia Office
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                                     Facsimile (267) 800-1898
                                Firm Website: www.clinton-clinton.com
                                Writer’s Direct Dial No.: (562) 216-5027
                        Writer’s E-mail Address: jmcdevitt@clinton-clinton.com




                                           October 4, 2021

Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker, LLP
Two Commerce Square
2001 Market Street
Suite 3100
Philadelphia, PA 19103

       RE:     Greta Roubert v. Amazon, et al.; United States District Court, E.D. Penna.; Case
               No. 2:21-cv-03091
               Date of Accident: 10/02/2020
               C&C File No.: 155-21-010

Dear Mr. Clemente:

        Clinton & Clinton is defending the interests of Equity Industrial Partners (“EIP”) in the
above-referenced slip and fall personal injury action. This letter will supplement the tender letter
issued to Amazon by Sompo International’s claims administrator under date of July 20, 2021. A
true and correct copy of that letter is enclosed herein.

         We write to renew and reiterate EIP’s tender to Amazon of all obligations for defense and
indemnification of EIP in regard to the claims asserted in the above-referenced lawsuit
(hereinafter “the Roubert Lawsuit). Our demand for defense and indemnification of EIP is
predicated upon the provisions contained in the Lease Agreement entered into between EIP and
Amazon for occupancy of the building and realty situated at 1 Geoffrey Drive, Falls Township,
Bucks County, Pennsylvania. Section 9(b) of that Agreement obligates Amazon to procure at
Amazon’s expense commercial general liability insurance covering the Leased Premises and
Amazon’s use thereof against claims for bodily injury or death and property damage, and include
EIP and any mortgage lienholder as an additional insured. Section 9(c) of the Lease Agreement
recites that the CGL policies procured by Amazon shall provide coverage with a per occurrence
limit of not less than $5,000,000, which limit may be satisfied by any combination of primary
and excess or umbrella policies, insure on an occurrence and not a claims-made basis, and
provide contractual liability coverage. Please advise whether Amazon has notified all relevant
liability insurers of EIP’s prior tender dated July 20, 2021. Further, we request that Amazon
provide true and complete copies of all CGL primary policies and excess or umbrella policies

  Atlanta • Austin • Birmingham • Calabasas • Dallas • Houston • Irvine
     Las Vegas • Long Beach • Los Angeles • Nashville • Philadelphia
      Sacramento • San Diego • San Francisco • Torrance • Valencia
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Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker, LLP
October 4, 2021
Page 2



that were in force on the date of the accident that is the subject of the Roubert Lawsuit. We also
ask that Amazon provide the names and the contact information for any and all claims
professionals who are handling the claims asserted against Amazon in the Roubert Lawsuit, and
furnish copies of any and all Certificates of Insurance evidencing the liability policies procured
by Amazon and in force on the date of the accident that is the subject of the Roubert Lawsuit.

        The accident that is the subject of the Roubert Lawsuit occurred on October 2, 2020. As
noted in the enclosed letter, the Lease Agreement between Amazon and EIP commenced on
September 22, 2020. Amazon had taken occupancy of the leased premises prior to the date of
Plaintiff’s accident. The Amended Complaint filed by Plaintiff alleges she was an employee of
an independent contractor who was invited upon the premises when she slipped, tripped,
stumbled, and fell as a result of a defective condition on the property in the form of a cut-off lag
bolt left haphazardly and inconspicuously on Defendants’ walking surface. As Plaintiff’s
accident occurred after Amazon took possession and control of the Leased Premises and as the
Plaintiff was an employee of an independent contractor hired by Amazon, EIP qualifies as an
additional insured under Amazon’s CGL policy or policies applicable and in force on the date of
the accident.

        In addition to our tender of defense and indemnification of EIP as an additional insured
under any relevant Amazon CGL policy or policies, we tender defense and indemnification of
EIP as a contractual indemnitee of Amazon. Section 18(a) of the Lease Agreement imposes a
broad indemnity obligation on Amazon that includes an obligation to indemnify, defend, and
hold harmless EIP and its affiliates… “from and against any and all losses, liabilities, damages,
cost, and expenses ( including reasonable attorneys’ fees… claims by third parties occasioned by
(i) death, injuries to any person or damage to, or theft or loss of, property occurring in or about
the Premises to the extent caused or alleged to be caused by the violation of Legal Requirements,
fraud, negligence or willful misconduct of tenant or of any member, partner, manager, affiliate,
contractor or subcontractor of tenant.” The entire indemnification provision contained in
XVIII(a) of the Lease Agreement is quoted in Sompo’s tender letter dated July 20, 2021.

        As you are aware, we have recently filed on behalf of EIP an answer to the amended
complaint that includes Crossclaims against Amazon for contractual indemnity and breach of
duty to insure. We will promptly withdraw those Crossclaims upon receipt of notice that
Amazon accepts this tender and agrees to pay cost and expenses incurred for defense of EIP from
date of tender.

         On behalf of EIP, Angelo Gordon & Company, and all entities associated with the
ownership and management of the property upon which this accident occurred, we hereby tender
all claims to you for handling to conclusion and to protect the interests of EIP, Angelo Gordon &
Company, and all entities listed on the Certificate of Insurance issued by and on behalf of
Amazon. Nothing in this letter should be construed as a waiver of any rights on the part of EIP
or its affiliates.
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Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker, LLP
October 4, 2021
Page 3



       Lastly, we request that Amazon respond in writing to this tender within twenty (20) days
of the date of this correspondence. We thank you in advance of your courtesy in responding
promptly to this tender letter.


                                    Very Truly Yours,

                                    CLINTON & CLINTON

                                    BY:    John F. McDevitt, Jr.
                                           John F. McDevitt, Jr., Esq.

CC:    James A. Cracolice
       Lead Resolution Specialist
       Sompo Global Risk Solutions Adjusting Unit
       P.O. Box 2971
       Clinton, IA 52733-2971
       Case 2:22-cv-04629-CMR Document 1 Filed 11/18/22 Page 132 of 137




                             CLINTON & CLINTON
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                                Firm Website: www.clinton-clinton.com
                                Writer’s Direct Dial No.: (562) 216-5027
                        Writer’s E-mail Address: jmcdevitt@clinton-clinton.com



                                          October 11, 2022

Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker LLP
Two Commerce Square
Suite 3100
2001 Market Street
Philadelphia, PA 19103

       RE:     Greta Roubert v. Amazon, et al.; U.S.D.C, Eastern District of Penna.; Civil
               Action No. 2:21-CV-03091-CMR
               Date of Accident:   October 2, 2020
               C&C File No.:       155-21-010

Dear Mr. Clemente:

        As you are aware, Clinton & Clinton is defending the interests of AG-EIP 1 Geoffrey
Drive, LLC (“AG-EIP”) in the above-referenced slip and fall personal injury action. This letter
will supplement the tender letters that were sent to Amazon by Sompo International’s claims
administrator under date of July 20, 2021, and tender letters sent by the undersigned attorney under
dates of October 4, 2021 and November 22, 2021. True and correct copies of the tender letters are
enclosed herein.

        In the letters we forwarded to you on the above-referenced dates, we tendered the defense
and indemnification of AG-EIP as an additional insured under any applicable CGL policy or
policies affording coverage to Amazon for the causes of action asserted in the First Amended
Complaint in this matter. Additionally, we tendered defense and indemnification of AG-EIP under
the indemnity provisions set forth in Section 18(a) of the Lease Agreement between AG-EIP and
Amazon, and the indemnity and additional insured provisions set forth in the Early Access
Agreement between AG-EIP and Amazon. Amazon has failed to date to respond to any of the
tender letters referenced above.

       On October 6, 2021, you produced on behalf of Amazon a copy of a CGL policy issued to
Amazon by Zurich American Insurance Company (“the Zurich Policy”) that was in force on the
date of Plaintiff’s accident. The CGL policy you produced is identified by Policy No. GLO-
7367714-01 and has effective dates of 4/1/2020 to 4/1/2021. The Zurich policy provides liability
coverage up to a per occurrence limit of $8,000,000, and identifies Amazon.com, Inc. as the named

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      Las Vegas  Long Beach  Los Angeles  Nashville  Philadelphia
       Sacramento  San Diego  San Francisco  Torrance  Valencia
       Case 2:22-cv-04629-CMR Document 1 Filed 11/18/22 Page 133 of 137




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                                Firm Website: www.clinton-clinton.com
                                Writer’s Direct Dial No.: (562) 216-5027
                        Writer’s E-mail Address: jmcdevitt@clinton-clinton.com




                                        November 22, 2021

Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker, LLP
Two Commerce Square
2001 Market Street                                                      via email
Suite 3100
Philadelphia, PA 19103

       RE:     Greta Roubert v. Amazon, et al.; United States District Court, E.D. Penna.; Case
               No. 2:21-cv-03091
               Date of Accident: 10/02/2020
               C&C File No.: 155-21-010

Dear Mr. Clemente:

        As you are aware, Clinton & Clinton is defending the interests of Equity Industrial Partners
(“EIP”) in the above referenced Lawsuit (the “Roubert Lawsuit”). This letter will supplement our
letter dated October 4, 2021, tendering to Amazon all obligations for defense and indemnification
of EIP for the claims asserted in the Roubert Lawsuit.

        In our earlier correspondence, we tendered to Amazon all obligations for defense and
indemnification of EIP in the Roubert Lawsuit. The purpose of this letter is to tender to Amazon
all obligations for defense and indemnification of all claims that are or may be asserted against
AG-EIP 1 Geoffrey Drive, LLC, in the Roubert Lawsuit. In that correspondence, we tendered to
Amazon based upon the terms of the Lease Agreement entered into between Amazon and AG-EIP
1 Geoffrey Drive, LLC for occupancy of the premises at 1 Geoffrey Drive, Falls Township, Bucks
County, Pennsylvania. The contents of that tender letter are incorporated by reference herein and
made a part hereof.

       Additionally, AG-EIP 1 Geoffrey Drive, LLC (“AG-EIP”) and EIP make demand upon
Amazon for defense and indemnification of all claims that have been or may be asserted against
them in the Roubert Lawsuit based upon the provisions of the attached Early Access Agreement
entered into between Amazon and AG-EIP for early occupancy of the leased property at 1 Geoffrey
Drive, Falls Township, Bucks County, Pennsylvania. The enclosed Agreement is signed by a
representative of Amazon on August 28, 2020, and by a representative of AG-EIP on August 31,

    Atlanta• Austin • Birmingham • Calabasas • Dallas •Houston•Irvine
 Las Vegas•Long Beach•Los Angeles•Nashville•PhiladelphiaSacramento•San
                 Diego•San Francisco•Torrance•Valencia
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Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker, LLP
November 22, 2021
Page 2



2020. The Early Access Agreement authorizes Amazon to access the lease site to perform surveys,
studies, due diligence, and work set forth in Exhibit A to that Agreement. The Early Access
Agreement contains an insurance provision obligating Amazon to maintain CGL insurance
coverage and include the landlord as an additional insured. Further, the Agreement contains the
following broadly worded indemnity provision:

       Amazon shall indemnify, defend and hold harmless Landlord and Landlord’s affiliates, and
       their respective members, managers, partners, trustees, directors, officers, employees,
       agents and representatives, and the successors and signs of all of the foregoing
       (collectively, “Landlord Indemnitees”), against and from any and all losses, liabilities, and
       damages (collectively, “Claims”) occasioned by, arising in connection with, or incident to
       any Onsite Work, or the presence at the Site of Amazon or any of its affiliates’ or their
       respective officers, directors, lenders, inspectors, appraisers, engineers, attorneys,
       representatives, agents, contractors, consultants, employees, servants or licensees, or
       arising in connection with the breach of this letter agreement by Amazon or its enforcement
       by Landlord; provided, however, that Amazon’s obligations hereunder shall not apply to
       (i) the mere discovery of a pre-existing environmental or physical condition at the Site
       provided that such condition is not exacerbated thereby, or (ii) any and all Claims arising
       from or caused by the negligence or willful misconduct of Landlord or any Landlord
       Indemnitee.

       On behalf of AG-EIP, EIP, Angelo Gordon & Company, and all other entities associated
with the ownership and management of the property whereon this accident allegedly occurred, we
hereby tender to Amazon for defense and indemnification all claims asserted against AG-EIP
and/or EIP and all other entities listed on the Certificate of Insurance issued by and on behalf of
Amazon. Nothing in this letter should be construed as a waiver of any rights on the part of AG-
EIP or EIP, or their affiliates.

         We reiterate our request that Amazon provide the identities and contact information for
any and all claims professionals who are handling the claims asserted against Amazon in the
Roubert Lawsuit, and furnish copies of any and all Certificates of Insurance evidencing the liability
policies procured by Amazon and in force on the date of the accident that is the subject of the
Roubert Lawsuit. We further request that Amazon provide a full and complete copy of any such
liability policies.

       Lastly, we request that Amazon respond in writing to this tender on or before December
13, 2021. We thank you in advance for your courtesy in responding promptly to this
correspondence.
      Case 2:22-cv-04629-CMR Document 1 Filed 11/18/22 Page 135 of 137

Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker, LLP
November 22, 2021
Page 3



                          ``            Very Truly Yours,

                                       CLINTON & CLINTON

                                 BY:     John F. McDevitt, Jr.
                                        John F. McDevitt, Jr., Esq.

CC:   James A. Cracolici
      Lead Resolution Specialist
      Sompo Global Risk Solutions Adjusting Unit
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Salvatore A. Clemente, Esq.
Wilson Elser Moskowitz Edelman & Dicker LLP
October 11, 2022
Page 2



insured. The Zurich policy includes a Self-Insured Retention Endorsement obligating Amazon to
pay a $2,000,000 per “incident” SIR, which includes payment of all defense costs. Additionally,
the Zurich policy includes an Endorsement titled ADDITIONAL INSURED – MANAGERS OR
LESSORS OF PREMISES, which pertains to all leased premises and which adds the following
as an additional insured:

       Any person or organization to whom or to which you are required to provide additional
       insured status in a written contract or written agreement executed to prior to loss, except
       where such contract or agreement is prohibited by law.

       The coverage afforded under the ADDITIONAL INSURED—MANAGERS OR
LESSORS OF PREMISES Endorsement is limited to the amount of liability insurance that the
named insured is required by the contract or agreement to provide for such additional insured.
Paragraph 9(c) of the Lease Agreement between AG-EIP and Amazon obligates Amazon to
procure and maintain commercial general liability policies that provide coverage with a per
occurrence limit of not less than $5,000,000. Paragraph 9(b) of the Lease Agreement requires that
Amazon name the landlord and mortgage lienholder as an additional insured by endorsement.

        The Early Access Agreement between Amazon and AG-EIP contains a similar obligation
on the part of Amazon to procure a commercial general liability insurance policy covering claims
for bodily injury, death and property damage and including the Landlord as an additional insured
under the policy.

       Thus, by virtue of the terms of the Early Access Agreement, Lease Agreement and the
Zurich policy, Amazon and Zurich are obligated to defend and indemnify AG-EIP with respect to
the causes of action that have been asserted in the First Amended Complaint.

         This letter is the fourth tender letter AG-EIP has directed to you and Amazon with regard
to the claims asserted against AG-EIP in the above-referenced litigation. Amazon has failed to
respond to any of the prior tender letters. We request that Amazon issue a formal written response
to this tender within twenty (20) days of the date of this correspondence. We thank you in advance
for your courtesy in complying with this request.

                                     Very Truly Yours,

                                     CLINTON & CLINTON

                                     BY:     John F. McDevitt, Jr.
                                             John F. McDevitt, Jr., Esq.
                                             Attorney for Defendant,
                                             AG-EIP 1 Geoffrey Drive, LLC
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October 11, 2022
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CC:   Daniel J. Mirarchi, Esq.

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